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     13                     UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
     14
     15 MARK COMBS, VLAD IACOB, and
        BENJAMIN NORTHEY, Individually and            Case No. 2:22-cv-01108-SVW-
     16 on Behalf of All Others Similarly Situated,   MRW
     17                           Plaintiffs,
     18 v.                                            SECURITIES CLASS ACTION
                                                      CONSOLIDATED
     19 SAFEMOON LLC, SAFEMOON US, LLC,               COMPLAINT
        SAFEMOON CONNECT, LLC,
     20 SAFEMOON LTD, SAFEMOON PROTL
        LTD, SAFEMOON MEDIA GROUP LTD,                DEMAND FOR JURY TRIAL
     21 BRADEN JOHN KARONY, JACK
        HAINES-DAVIES, RYAN ARRIAGA,
     22 SHAUN WITRIOL, HENRY “HANK”
        WYATT, JAKE PAUL, DAVID
     23 PORTNOY, DeANDRE CORTEZ WAY,
        BEN PHILLIPS, MILES PARKS
     24 McCOLLUM, and DANIEL M. KEEM,
     25                     Defendants.
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      1         Lead Plaintiff Mark, Combs, Vlad Iacob, and Benjamin Northey (collectively
      2 the “Safemoon Investor Group” or “Plaintiff”), individually and on behalf of all
      3 others similarly situated, brings this Securities Class Action Consolidated Amended
      4 Complaint (“Complaint”) against Defendants SafeMoon LLC, SafeMoon US, LLC,
      5 SafeMoon Connect, LLC, Tano LLC, SafeMoon LTD, SafeMoon Protocol LTD,
      6 and SafeMoon Media Group LTD (collectively, “SafeMoon” or the “Company”),
      7 Jake Paul, David Portnoy, DeAndre Cortez Way, Ben Phillips, Miles Parks
      8 McCollum, and Daniel M. Keem (the “Promoter Defendants”), and Individual
      9 Defendants Shaun Witriol, Ryan Arriaga, Jack Haines-Davies, Henry “Hank”
     10 Wyatt, Thomas Smith, Kyle Nagy, and the Company’s Chief Executive Officer,
     11 Braden John Karony (together with the Promotor Defendants and SafeMoon, the
     12 “Defendants”). The following allegations are based upon personal knowledge as to
     13 Plaintiff’s own facts, upon investigation by Plaintiff’s counsel, and upon information
     14 and belief where facts are solely in possession of Defendants.
     15                              NATURE OF THE CASE
     16       1.      Plaintiff brings this action on behalf of all investors who purchased
     17 SafeMoon tokens (“SAFEMOON Tokens”) between March 8, 2021 and the time of
     18 filing this Complaint, and were damaged thereby.
     19       2.      This case arises from a scheme among various unscrupulous
     20 individuals in the cryptocurrency sector to misleadingly promote and sell the digital
     21 asset associated with SafeMoon (the SAFEMOON Tokens) to unsuspecting
     22 investors.    The Company’s executives, collaborating with several celebrity
     23 promotors: (a) made false or misleading statements to investors about SafeMoon
     24 through social media advertisements and other promotional activities; and
     25 (b) disguised their control over SafeMoon and a significant percent of the
     26 SAFEMOON Tokens that were available for public trading during the Class Period
     27 (the “Float”).
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      1       3.       In furtherance of this scheme, Defendants touted the technological
      2 innovation of the Company’s token and related cryptocurrency wallet, as well as the
      3 ability for investors to make significant returns due to the favorable “tokenomics”
      4 of the SAFEMOON Tokens. In truth, Defendants marketed the SAFEMOON
      5 Tokens to investors so that they could sell their portion of the Float for a profit.
      6       4.       Defendants’ strategy was a success. The misleading promotions and
      7 celebrity endorsements were able to artificially increase the interest in and price of
      8 the SAFEMOON Tokens during the Class Period, causing investors to purchase
      9 these losing investments at inflated prices. Meanwhile, the Company’s executives,
     10 Karony and Haines-Davies, conspired with the Promoter Defendants to sell their
     11 SAFEMOON Tokens to investors for a profit.
     12       5.       Plaintiff brings this class action on behalf of herself and an objectively
     13 identifiable class consisting of all investors who purchased SafeMoon’s
     14 SAFEMOON Tokens between March 8, 2021 and the time of filing this Complaint.
     15                                        PARTIES
     16         Plaintiff
     17       6.       Plaintiff Mark Combs is a resident and citizen of Florida, living in
     18 Gainsville, Florida. As set forth in the certification pursuant to the Private Securities
     19 Litigation Reform Act of 1995 (see Dkt. #40-1), Plaintiff Combs purchased
     20 SAFEMOON Tokens during the Relevant Period and suffered investment losses as
     21 a result of Defendants’ conduct.
     22       7.       Plaintiff Vlad Iacob is a resident and citizen of California, living in San
     23 Diego, California. As set forth in the certification pursuant to the Private Securities
     24 Litigation Reform Act of 1995 (see Dkt. #40-1), Plaintiff Iacob purchased
     25 SAFEMOON Tokens during the Relevant Period and suffered investment losses as
     26 a result of Defendants’ conduct.
     27       8.       Plaintiff Benjamin Northey is a resident and citizen of Pennsylvania,
     28 living in Carlisle, Pennsylvania. As set forth in the certification pursuant to the
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      1 Private Securities Litigation Reform Act of 1995 (see Dkt. #40-1), Plaintiff Northey
      2 purchased SAFEMOON Tokens during the Relevant Period and suffered investment
      3 losses as a result of Defendants’ conduct.
      4         Defendants
      5        9.     Defendant SafeMoon LLC is a privately held company with its
      6 headquarters located at 364 N 500 E, Provo, Utah 84606.
      7       10.     Defendant SafeMoon US, LLC is a privately held company with its
      8 headquarters located at 1022 W 2200 N. Pleasant Grove, Utah 84062.
      9       11.     Defendant SafeMoon Connect, LLC is a privately held company with
     10 its headquarters located at 1022 W 2200 N. Pleasant Grove, Utah 84062.
     11       12.     Defendant Tano LLC is a privately held company with its headquarters
     12 located at 1022 W 2200 N. Pleasant Grove, Utah 84062.
     13       13.     Defendant SafeMoon LTD is a privately held company that was
     14 incorporated on April 8, 2021, with its headquarters located at 20-22, Wenlock Road,
     15 London, England, N1 7GU.1
     16       14.     Defendant SafeMoon Protocol LTD is a privately held company, that
     17 was incorporated on April 8, 2021 with its headquarters located at 20-22, Wenlock
     18 Road, London, England, N1 7GU.
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               The only listed director and shareholder for the SafeMoon entities in the
     22 United Kingdom is an Italian national, Castiliano Foini. Publicly available
        information about Foini and the UK entities is limited. However, a search of the
     23 UK’s government’s company information website indicates that a now-dissolved
        privately held company, Target Company Development Ltd (Company #
     24 12420163), was located at the same address as the SafeMoon UK entities. Notably,
        that company’s only director and shareholder was Braden John Karony’s mother,
     25 Jennifer Diane Karony (“Mrs. Karony). Similarly, according to bankruptcy filings
        submitted by Mrs. Karony and her husband (Karony’s father, Bradford J. Karony)
     26 in 2013, the Karony family home is listed as 364 N. 500 East Provo, UT 84606. See
        Summary of Schedules – Amended, Schedule C – Property Claimed, Karony, 13-
     27 13777-BFK (E.D. Va. Oct. 8, 2012). This is the same address for the SafeMoon
        LLC entity. Upon information and belief, Karony, with the aid of his parents, set up
     28 the Company’s corporate structure in a purposefully complex manner to hide the
        ownership interests in the various SafeMoon-affiliated entities in the U.S. and UK.
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      1      15.      Defendant SafeMoon Media Group LTD is a privately held company,
      2 that was incorporated on June 28, 2021, with its headquarters located at The Terrace
      3 5th Floor, 76 Wardour Street, London, United Kingdom, W1F 0UR.
      4      16.      Defendant Braden John Karony (“Karony”) is a resident and citizen of
      5 Utah, living in Provo, Utah. Karony serves as the Company’s CEO, and he exercised
      6 control over SafeMoon and directed and/or authorized, directly or indirectly, the sale
      7 and/or solicitations of SAFEMOON Tokens to the public.
      8      17.      Defendant Jack Haines-Davies (“Haines-Davies”) is a resident and
      9 citizen of the United Kingdom, living in London, England. Haines-Davies serves as
     10 the Company’s Chief Operating Officer (“COO”).
     11      18.      Defendant Ryan Arriaga (“Arriaga”) is a resident and citizen of
     12 California, living in Elk Grove, California. Arriaga has served as the Company
     13 Global Head of Products since July 2021.
     14      19.      Defendant Shaun Witriol (“Witriol”) is a resident and citizen of
     15 California, living in San Diego, California. Witriol served as a representative for the
     16 Company.
     17      20.      Defendant Henry “Hank” Wyatt (“Wyatt”) is a resident and citizen of
     18 Pennsylvania, living in Shippensburg, Pennsylvania.            Wyatt served as the
     19 Company’s Chief Technology Officer and Vice President of Research and
     20 Development.
     21      21.      Defendant Kyle Nagy (“Nagy”) is a resident and citizen of Florida,
     22 living in Vero Beach, Florida. Nagy was the founder of the Company and served as
     23 lead developer of the SAFEMOON Token.
     24      22.      Defendant Thomas Smith (“Smith”) is a resident and citizen of New
     25 Hampshire, living in Conway, New Hampshire. Smith served as the Company’s
     26 Chief Blockchain Officer.
     27      23.      Defendants Karony, Nagy, Smith, Haines-Davies, Arriaga, Witriol, and
     28 Wyatt are collectively referred to as the “Executive Defendants.”
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      1      24.       Defendant Jake Paul (“Paul”) is a resident and citizen of California,
      2 living in Calabasas, California. Paul acted as a promotor for the Company and the
      3 SAFEMOON Tokens.
      4      25.       Defendant David Portnoy (“Portnoy”) is a resident and citizen of New
      5 York, living in New York, New York. Portnoy acted as a promotor for the Company
      6 and the SAFEMOON Tokens.
      7      26.       Defendant DeAndre “Souja Boy” Cortez Way (“Way”) is a resident and
      8 citizen of California, living in Bell Canyon, California. Way acted as a promotor for
      9 SafeMoon and the SAFEMOON Tokens.
     10      27.       Defendant Ben Phillips (“Phillips”) is a resident and citizen of the
     11 United Kingdom, living in Wales, United Kingdom. Phillips acted as a promotor
     12 for the Company and the SAFEMOON Tokens.
     13      28.       Defendant Miles “Lil Yachty” Parks McCollum (“McCollum”) is a
     14 resident and citizen of Georgia, living in Smyrna, Georgia. McCollum acted as a
     15 promotor for the Company and the SAFEMOON Tokens.
     16      29.       Defendant Daniel M. Keem (“Keem”) is a resident and citizen of New
     17 York, living in Buffalo, New York. Keem acted as a promotor for the Company and
     18 the SAFEMOON Tokens.
     19      30.       Defendants Paul, Portnoy, Way, Phillips, McCollum, and Keem are
     20 collectively referred to as the “Promotor Defendants.”
     21                            JURISDICTION AND VENUE
     22      31.       The Court has jurisdiction over the subject matter of this action
     23 pursuant to §27 of the Exchange Act, 15 USC §78aa, §22 of the Securities Act, 15
     24 U.S.C. §77(v), and 28 U.S.C. §1331. This Court has supplemental jurisdiction over
     25 the state law claims pursuant to 28 U.S.C. §1367.
     26      32.       This Court may exercise jurisdiction over Defendants because they
     27 have continuous and systematic contacts with this District, do substantial business
     28 in this State and within this District, and engage in unlawful practices in this District
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      1 as described in this Complaint, so as to subject themselves to personal jurisdiction
      2 in this District, thus rendering the exercise of jurisdiction by this Court proper and
      3 necessary.
      4       33.        Venue is proper in this judicial District pursuant to 28 U.S.C. §1391(b)
      5 because certain Defendants live and/or conduct business in this District, therefore, a
      6 substantial part of the events or omissions giving rise to the claims alleged herein
      7 occurred in this District.
      8                               FACTUAL ALLEGATIONS
      9         Growth of the Crypto Sector
     10       34.        A crypto-asset is a digital asset designed to work as a medium of
     11 exchange or a store of value or both.             Crypto-assets leverage a variety of
     12 cryptographic principles to secure transactions, control the creation of additional
     13 units, and verify the transfer of the underlying digital assets.
     14       35.        Created in 2009, Bitcoin was the world’s first decentralized crypto-
     15 asset.2 With a current market capitalization of approximately $580 billion, Bitcoin
     16 is also the largest and most popular crypto-asset. Bitcoin spawned a market of other
     17 crypto-assets that, together with Bitcoin, have a current market capitalization of
     18 $1.3 trillion.
     19       36.        One of the main features that Bitcoin popularized was the use of a
     20 distributed ledger to track the ownership and transfer of every Bitcoin in existence.
     21 This distributed ledger is known as a blockchain. Blockchains are a central technical
     22 commonality across most crypto-assets. While each blockchain may be subject to
     23 different technical rules and permissions based on the preferences of its creators,
     24 they are typically designed to achieve a form of decentralization.
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     27       Bitcoin and other crypto-assets are also commonly referred to as
        “cryptocurrencies” regardless of whether they are commodities (as the term implies)
     28 or securities.
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      1     37.       There are two main ways to obtain crypto-assets. One way is to be part
      2 of the framework of incentives to validate the transactions on the blockchain, under
      3 either a “Proof of Work” or “Proof of Stake” scheme. Users who expend resources
      4 to validate the blockchain get rewarded with newly minted tokens. This process is
      5 colloquially referred to as “mining” for Proof of Work blockchains or “validating”
      6 for Proof of Stake blockchains.
      7     38.       A second and more common way to obtain crypto-assets is to acquire
      8 them from someone else. This often involves acquiring them through online crypto-
      9 asset exchanges. These exchanges are similar to traditional exchanges in that they
     10 provide a convenient marketplace to match buyers and sellers of virtual currencies.
     11     39.       Bitcoin, for a time, was the only crypto-asset available on exchanges.
     12 As crypto-assets grew in popularity, however, exchanges began listing other crypto-
     13 assets as well and trading volumes expanded. In early 2013, daily Bitcoin trading
     14 volumes hovered between $1 million and $25 million. By the end of 2017, daily
     15 Bitcoin trading volumes ranged between $200 million and $3.8 billion, and reached
     16 over $80 billion in 2022.
     17     40.       Ethereum is the second-most popular crypto-asset, with a market
     18 capitalization of approximately $250 billion. Ethereum was designed to enable
     19 “smart contract” functionality. A smart contract is a program that verifies and
     20 enforces the negotiation or performance of a contract. Smart contracts can be self-
     21 executing and self-enforcing, which theoretically reduces the transaction costs
     22 associated with traditional contracting.
     23     41.       For example, a smart contract enables two parties to submit ether to a
     24 secure destination and automatically distribute the ether at the end of the month
     25 without any third-party action. The smart contract self-executes with instructions
     26 written in its code which get executed when the specified conditions are met. Since
     27 Ethereum first introduced the concept of smart contracts, many other companies
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      1 have sought to create crypto-assets that improve on and compete with Ethereum in
      2 the smart contract ecosystem.
      3     42.       Interest in crypto-assets began to accelerate towards the end of 2016,
      4 with prices growing at a rate historically unprecedented for any asset class. Over
      5 the course of 2017 alone, Bitcoin’s price increased from approximately $1,000 to
      6 approximately $20,000.        On January 1, 2017, Ethereum was trading at
      7 approximately $8 per ether. Approximately one year later, it was trading at over
      8 $1,400 per ether ‒ a return of approximately 17,000 percent over that period.
      9     43.       This enthusiasm for crypto-assets prompted many entrepreneurs to
     10 raise funds through initial coin offerings (“ICOs”). Between 2017 and 2018, ICOs
     11 raised nearly $20 billion. None of these ICOs was registered with the Securities
     12 Exchange Commission (“SEC”).
     13     44.       Token issuers typically released a “whitepaper” describing the project
     14 and terms of the ICO. These whitepapers advertise the sale of tokens or coins
     15 through the ICO. The whitepapers typically contained vastly less information than
     16 a registration statement filed with the SEC would usually include. For example,
     17 whitepapers do not typically include a “plain English” description of the offering; a
     18 list of key risk factors; a description of important information and incentives
     19 concerning management; warnings about relying on forward-looking statements; an
     20 explanation of how the proceeds from the offering will be used; or a standardized
     21 format that investors can readily follow.
     22     45.       More recently, another trend concerning crypto-assets has boomed.
     23 Over the past few years, the popularity of decentralized finance, known as “DeFi,”
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      1 has exploded.3      DeFi “is an emerging financial technology based on secure
      2 distributed ledgers similar to those used by cryptocurrencies.”4
      3       46.      One increasingly popular application of DeFi is decentralized
      4 exchanges ‒ crypto-asset exchanges that “facilitate peer-to-peer trading by relying
      5 on automated smart contracts to execute trades without an intermediary.”5
      6 Decentralized exchanges commonly rely on “liquidity pools,” which provide “a
      7 mechanism by which users can pool their assets” in a decentralized exchange’s
      8 “smart contracts to provide asset liquidity for traders to swap between currencies.”6
      9 Specifically, a “liquidity pool is a crowdsourced pool of cryptocurrencies or tokens
     10 locked in a smart contract that is used to facilitate trades between the assets on a
     11 decentralized exchange.”7
     12       47.      In a liquidity pool, users “called liquidity providers (LP) add an equal
     13 value of two tokens in a pool to create a market. In exchange for providing their
     14 funds, they earn trading fees from the trades that happen in their pool, proportional
     15 to their share of the total liquidity.”8 For traders, liquidity pools provide a market
     16 for exchanging one type of crypto-asset for another.
     17
     18   3
                 Natalie Zhang, How decentralized finance works, and why it’s taking on Wall
          Street, CNBC (Sep. 17, 2021), https://www.cnbc.com/2021/09/17/how-
     19   decentralized-finance-works-and-why-its-taking-on-wall-street.html.
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     20          Rakesh Sharma, Decentralized Finance (DeFi) Definition, Investopedia, (Jun.
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          Decentralized%20finance%20(DeFi)%20is%20an,financial%20products%2C%20a
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                 https://www.gemini.com/cryptopedia/decentralized-exchange-dex-crypto#
     23   section-decentralized-exchanges-vs-centralized-exchanges. (last visited Jun. 28,
          2022).
     24   6
                 https://www.gemini.com/cryptopedia/what-is-a-liquidity-pool-crypto-market-
     25   liquidity#section-the-role-of-crypto-liquidity-pools-in-de-fi. (last visited Jun. 28,
          2022).
     26   7
                 https://www.gemini.com/cryptopedia/what-is-a-liquidity-pool-crypto-market-
          liquidity#section-the-role-of-crypto-liquidity-pools-in-de-fi. (last visited Jun. 28,
     27   2022).
          8
     28          https://academy.binance.com/en/articles/what-are-liquidity-pools-in-defi.
          (last visited Jun. 28, 2022).
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      1         SafeMoon Background
      2       48.     The SAFEMOON Token is a speculative digital token created in March
      3 2021 by a group of cryptocurrency developers and investors, including, but not
      4 limited to, the Executive Defendants.
      5       49.     A “token” is a financial product that is contractually based (via a
      6 “smart” contract) and is created and uploaded permanently to a given blockchain.9
      7 When investors purchase these products/contracts on a given blockchain, their
      8 expectation is that the general buying, selling, and exchanging of these tokens will
      9 function according to the terms of the original smart contract and in a manner similar
     10 to other tokens on the same blockchain. Thus, when a token owner transfers assets
     11 from one wallet address to another new wallet address, on the same blockchain, the
     12 owner reasonably expects that those assets will actually be transferred to the new
     13 wallet address. This expectation is much like an industry standard in that the same
     14 expectation applies to all current blockchains and tokens, not just the SafeMoon
     15 blockchain.
     16       50.     The SAFEMOON Tokens in particular are blockchain-based digital
     17 assets known as “BEP-20 tokens” that are created using the Binance Smart Chain
     18 mainnet blockchain. After a BEP-20 token is created, it can be traded, spent, or
     19 otherwise transacted with.
     20       51.     The name “SafeMoon” is derived from the phrase, “Safely To The
     21 Moon,” which suggests that the token is meant not to rise only but to rise safely.10
     22       52.     In the beginning of 2021, Nagy began working as primary developer
     23 (“dev”) of the SAFEMOON Tokens. Shortly thereafter, Nagy recruited another
     24 developer, Thomas (“Papa”) Smith, to assist in the development the SAFEMOON
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              A “blockchain” refers to a decentralized, digital database that stores
        transactions and other forms of data.
     27 10
              Benjamin Godfrey, What is SafeMoon and can the crypto newcomer reach
     28 the  moon?,   FORKAST (Nov. 26, 2021), https://forkast.news/what-is-safemoon-
        crypto-can-it-reach-the-moon/.
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      1 Tokens. Together, Nagy and Smith wrote the code for SafeMoon smart contract and
      2 Protocol Deployer wallet that eventually launched the digital asset, SAFEMOON
      3 Token. During this process, Nagy was able to disperse significant amounts of the
      4 SAFEMOON Tokens (worth hundreds of millions of dollars) to various undisclosed
      5 wallets under his or Smith’s control.11 He nevertheless promised investors from the
      6 outset: “no rug is possible. #safemoon join us on our journey safely to the moon.”
      7        53.    Nagy and Smith eventually met with Karony and Haines-Davies to
      8 discuss a partnership for the sale of the SAFEMOON Tokens. Nagy and Smith
      9 would continue to work as the developers of the SAFEMOON Tokens, while Karony
     10 and Haines-Davies would operate as the fledgling company’s management and
     11 marketing team. Smith was also tasked with using his public profile to market the
     12 SAFEMOON Tokens. Nagy, however, purposefully chose to hide his identity,
     13 operating publicly under the handle of “SafeMoonDev” instead.
     14        54.    In the early days of the Company’s formation in March 2021, Karony
     15 held a meeting with Witriol wherein Witriol indicated his interest in being a part of
     16 the SafeMoon team. According to Witriol, at the end of the meeting, Karony
     17 welcomed him onto the SafeMoon team, saying “You’re in.”12
     18        55.    Witriol also publicly stated that he has been a part of SafeMoon since
     19 “day one or day two.”13 According to Karony, “There’s individuals who took the
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     23          These wallets are a part of a larger interconnected web of cryptocurrency
          wallets that repeatedly interact with one another. Upon information and belief,
     24   Nagy’s Deployer Wallet is at the center of this web, and he transferred millions of
          dollars-worth of SAFEMOON Tokens from this wallet to these undisclosed wallets,
     25   for the purpose of selling the SAFEMOON Tokens later, as a part of the scheme
          alleged herein. See https://miro.com/app/board/o9J_lx5kv5k=/?MoveToWidget=
     26   3074457363957861693&cot=14.
          12
                 Witriol, SafeMoon LIVE: Shaun Witriol ON BLOCKCHAIN, FUTURE,
     27   PRICE, AND MORE!, YouTube (June 5, 2021), https://www.youtube.com/watch?
          v=HBiY2SIQCqw.
     28   13
                 Id.
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      1 risk early on and acquired SAFEMOON Tokens and now they are reaping their
      2 benefit . . . it’s kinda like with Apple in the early days.”14
      3        56.     The Company’s “core” team consisted of Karony, as the CEO; Haines-
      4 Davies, as the COO; Wyatt, as the CTO; Smith, as the Chief Blockchain Officer;
      5 Trevor Church, the Community Manager; Witriol, as a part of the online marketing
      6 team (also with Smith and Haines-Davies); and Jacob Smith, as another developer.15
      7        57.     On March 8, 2021, the Executive Defendants launched the
      8 SAFEMOON Tokens with a transaction volume of $149,427 and a price of
      9 $0.0000000004, according to data from CoinMarketCap.
     10        58.     “SafeMoon deployed with 1 quadrillion tokens (15 zeroes) and
     11 perpetually burns supply, alluding to rising scarcity. . . . [As of May 19, 2021],
     12 there’s roughly 584 trillion SAFE in circulation (after 223 trillion went to “devs”),
     13 which means it’s currently burning 2.9 trillion [SAFEMOON Tokens] per day on
     14 average.”16
     15        59.     The tokens reserved for the “devs” were sent to wallet addresses owned
     16 and/or controlled.
     17        60.     The following are some of the wallet addresses, upon information and
     18 belief, that are owned/controlled by various Executive Defendants and were used
     19 both to fraudulently transfer and/or sell SAFEMOON Tokens during the Relevant
     20 Period and to otherwise extract value out of the Safemoon liquidity pool, which is
     21 described in more detail below:
     22                a. Karony
     23                    0xd51d1d5503dcff819e214faa66c3b6f0ebb06abe
     24
          14
     25        Protos Staff. FBI ties and Ponzi games – here’s what SafeMoon doesn’t want
        you to know, PROTOS (May 19, 2021), https://protos.com/safemoon-fbi-ties-ponzi-
     26 games-crypto-protocol-dave-portnoy-shill/.
        15
               Altcoin Overview: What is SafeMoon? And is it Actually a Safe Investment?,
     27 MINTDICE (Nov. 11, 2021), https://mintdice.medium.com/altcoin-overview-what-
        is-safemoon-and-is-it-actually-a-safe-investment-a8e23ea27b2c.
     28 16
               Id.
                                                 12
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      1                 0x666cfedc8455886f4fd606cacac0c1f6fdea0984
      2                 0x35Abddd20Be12C385C4961E28513e6b27967Ae4C
      3                 0x82B7503bFfD8aEa31AEa5EE14fB01959191Af45B
      4                 0x0514a89b8bac595e323603cc3c0a1cb765e99eb2
      5                 0xcb6b64740e60e107e15f78384a68c1a954afb9bd
      6                 0x7be8076f4ea4a4ad08075c2508e481d6c946d12b
      7              b. Nagy
      8                 0xa121d56d44be198f010ad55b88cd2161cfe2273c
      9                 0xe266c8e4afc8a06ad0707597f736272e694323e0
     10                 0xf8e645a4540f4a20037a76a9348161f8b86d94ec
     11                 0xbd96898865929cb5c5d883c3162d1b3510a2ce73
     12                 0xC95063D946242f26074A76C8A2E94c9D735dfc78
     13                 0x819c9853eb5b1f164bd026a96cca9a9acdccdc23
     14                 0xe281d781cceb1a89b2a19296fd834d262ddf288e
     15                 0xb254fa1b023e9a430d5e85219979c8457da3ce2f
     16                 0x43d809fde541922658e4ba84e95e80a37e6dc1c4
     17                 0xda9a0aa8c78c356c5007602d70a7fec5329f3399
     18                 0x08c922033588028b3597c9df4c9afbd2ca3da2eb
     19                   0xc13a6d7c9718b7a09affd9bd300bb2c4a5a37135
     20                 0xcd67f7e01e13e21c1c78da396d74120a82e4ca14
     21                 0x244d5cfdd0b6082eed6d8e7070419a97c5545240
     22                 0x1dcda7d1e407c03cfb9da602aeebe4a46449fe88
     23                 0xc86f1479cc87c7fc9338a0696360a16a3cd1034b
     24              c. Smith
     25                 0x05d1c1defa31c257d3206f2af99aa16dbbf05d46
     26                 0x5c0c255516423b64b21e5a2c7aaa8ab6bf3d0d91
     27                 0x79c4af7c43f500b9ccba9396d079cc03dfcafda1
     28                 0x293dae9e9c468c32efe98cab95e81e8af516c2a7
                                       13
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      1                   0xaed9589d4be340a5410881310f1eee576911af8f
      2                   0xba8a7a205ad0804747b3d64acd93880c9e653b5d
      3                   0xfd7260b8f94b2da1d65b231f0e3bfc42cec98e76
      4                   0xc1c550ebc5b16647214575ce3970a14ee6c3e062
      5               d. Wyatt
      6                   0x02de75df6F7F607Cba6AJc1140B3A7dD672badA
      7        61.    Karony received SAFEMOON Tokens from both Nagy and later the
      8 liquidity pool itself in the wallet addresses under his ownership and/or control
      9 including, but not limited to, Wallet Address 0xd51d1d5503dcff819e214faa66c3b6
     10 f0ebb06abe (Karony Wallet 1). According to Karony, this was his wallet by way of
     11 Tano (which is owned by Karony):17
     12
     13
     14
     15
     16        62.    As discussed further below, the Karony Wallet 1 received millions of
     17 dollars’ worth of digital assets from the crypto exchange Bitmart. These digital
     18 assets came from the transaction fees charged by Bitmart, which were supposed to
     19 fund the Safemoon liquidity pool, but instead were rerouted to Karony Wallet 1.
     20        63.    In addition, starting on March 5, 2021, and in the months that followed,
     21 Nagy withdrew millions of dollars in total from Safemoon’s liquidity pool. Neither
     22 the Company nor the Executive Defendants ever disclosed Nagy’s or Karony’s
     23 misappropriation of funds. Indeed, as explained below, it was not until April 2022
     24 that investors learned of this misconduct.
     25        64.    SAFEMOON Tokens were first made available to investors on a
     26 decentralized cryptocurrency exchange, PancakeSwap.
     27
     28   17
               https://twitter.com/papacthulu/status/1521169641783152642?s=20&t=I7P
          nptkNxfP9yC4_Yhrqng.
                                                  14
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      1        65.      At the time of launch, and throughout the Class Period, the
      2 SAFEMOON Tokens were sold pursuant to a three-page “whitepaper” titled,
      3 “SafeMoon: A Deflationary Reflection Token with Automated Liquidity
      4 Acquisition.”18 Whitepapers in cryptocurrency are documents released by the
      5 founders of the project that are supposed to give investors technical information
      6 about its concept, and a roadmap for how it plans to grow and succeed, serving
      7 essentially the same purpose as a registration statement.
      8        66.      The SafeMoon whitepaper described, among other things, how the
      9 favorable “tokenomics” for SAFEMOON Tokens “may afford far superior benefits”
     10 to investors.
     11        67.      First, the Company outlined its goal to “solve the problems of prior
     12 cryptocurrencies including mining rewards, farming rewards, and liquidity
     13 provisioning” by providing “an easy alternative to mining rewards” in the form of
     14 “allowing users to participate in a smart contract token reflection to produce tokens
     15 inside their own wallet.” Additionally, the Company pointed to the challenge of
     16 “maintain[ing] liquidity on decentralized exchanges” and proposed “utilizing a
     17 smart contract function to automatically capture liquidity to be used on the
     18 decentralized exchanges and held in custody independent from user possession.”
     19        68.      Finally, the SafeMoon whitepaper makes the following statements
     20 about the burn of the SAFEMOON Tokens:
     21          [A] smart contract that provides the capability to burn tokens can
     22          promote scarcity by reducing the total supply.            Together, the
     23          combination of these tokenomics may afford far superior benefits for
     24          the community within the decentralized venue.           Allowing these
     25          functions to be amplified and dependent on volume provides an ideal
     26          incentive to expedite adoption and foster new use cases. . . .
     27                                    *      *      *
     28
          18
                 https://safemoon.net/whitepaper.pdf (last visited Feb. 28, 2022).
                                                  15
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      1          In a decentralized smart chain environment, contract functions can be
      2          utilized to achieve token scarcity.      To do this, we propose also
      3          distributing rewards to the burn address, which is publicly verifiable for
      4          all participants to see. We can then track the depreciating supply in
      5          real-time for added transparency. In our effort to establish a baseline
      6          token burn rate, we find that these values are dependent on three
      7          important factors: reflection rate, token quantity, and market volume.
      8          The rate of reflection rewards is proportional to the total supply in each
      9          holder’s wallet address. 19
     10        69.      In plain terms, the Company’s purported purposes are the same as any
     11 other company trying to sell its financial products to investors: offer dividend-like
     12 “reflection” rewards for investors that hold the SAFEMOON Tokens (holders are
     13 charged a transaction fee of about 5%, which is distributed among the SAFEMOON
     14 Token holders); ensure that there is enough liquidity for SAFEMOON Tokens to be
     15 traded on exchanges; and minimize dilution of the Company’s market cap.
     16 Furthermore, like other decentralized finance projects, the Company depends on:
     17          a liquidity pool to encourage holders to “stake” tokens to acquire more
     18          ‒ similar to a bond that matures, but with a volatile crypto. What
     19          SafeMoon claims to do differently is distribute what it calls “static
     20          rewards” to its now 2 million holders. Static rewards push to alleviate
     21          downward sell pressure from earlier adopters, who are inclined to dump
     22          their tokens once yield falls. SafeMoon’s static rewards are, more or
     23          less, a system that penalizes buyers for anything but holding their
     24          tokens. Anyone that sends SafeMoon to another wallet is “charged” a
     25          10% fee ‒ half is burned and the rest given to other holders.20
     26
     27
          19
                 Id.
     28   20
                 See fn.14, supra.
                                            16
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      1        70.    In addition to the three-page whitepaper described above, the Company
      2 also marketed and sold SAFEMOON Tokens pursuant to a longer whitepaper,
      3 published before the Tokens publicly launched (the “Long Whitepaper”). The Long
      4 Whitepaper is consistent with the shorter whitepaper but provides additional detail
      5 and an even rosier description of the prospect of the price of SAFEMOON Tokens.
      6        71.    Indeed, the Long Whitepaper ‒ alluding to the price increases implicit
      7 in the name “SafeMoon” ‒ is littered with space-themed imagery, including a full-
      8 page picture of an astronaut on the cover page.21 The Long Whitepaper explains that
      9 the protocol on which the SAFEMOON Token is designed “to drive the price to
     10 stratospheric all time highs” through so-called static rewards that “encourage[]
     11 holders to hang onto their tokens,” and thus to discourage selling.
     12        72.    According to the Long Whitepaper, the SAFEMOON Token’s protocol
     13 “employs 3 simple functions: Reflection + LP acquisition + Burn.” Each time a
     14 SAFEMOON Token is traded, “the transaction is taxed a 10% fee.” SafeMoon has
     15 stated that the purpose of this “tax” is to “encourage long-term holding” by
     16 disincentivizing existing tokenholders from selling their SAFEMOON Tokens.
     17        73.    Of the 10% taxed from each transaction, half is purportedly transferred
     18 by SafeMoon into liquidity pools containing BNB, Binance’s token, and
     19 SAFEMOON Tokens. Specifically, of the 5% that is purportedly allocated to
     20 liquidity pools, 2.5% is sold by SafeMoon on the market for BNB. That BNB is
     21 placed into liquidity pools along with the remaining 2.5% of the SAFEMOON
     22 Tokens. The purpose of the liquidity pools, according to the Long Whitepaper, is to
     23 “support[] the price floor of the token.”
     24        74.    The remaining 5% generated from SafeMoon’s 10% tax is
     25 “redistributed to all existing holders” by SafeMoon. These payments are referred to
     26
     27
          21
     28         https://whitepaper.io/document/694/safemoon-whitepaper. (last visited Jun.
          28, 2022).
                                                 17
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      1 as “Reflections.”     Arriaga has publicly compared these Reflections to stock
      2 dividends.
      3        75.     Critically, as explained in a separate whitepaper issued by SafeMoon
      4 (the “Short Whitepaper”), Reflections would be allocated pro rata among all
      5 tokenholders, including a “burn address,” i.e., an address containing SAFEMOON
      6 Tokens that would be removed from circulation.22 The Long Whitepaper explained
      7 that, at launch, the total supply of SAFEMOON Tokens would be one quadrillion,
      8 but 223 trillion would be allocated to the “burn address.” As a result, at the outset,
      9 approximately 22% of all Reflections generated from each SAFEMOON Token
     10 transaction would be paid to the “burn address” and removed from circulation.
     11        76.     Because a certain percentage of each SAFEMOON Token transacted is
     12 “burned,” the supply of SAFEMOON is designed to decrease over time. Moreover,
     13 the protocol underlying SAFEMOON Tokens is designed to permit SafeMoon to
     14 engage in “manual burns” of SAFEMOON Tokens, meaning that SafeMoon can
     15 unilaterally destroy SAFEMOON Tokens, and thus reduce supply at will.
     16 According to the Long Whitepaper, “with the manual burn function and a
     17 depreciating supply, even a small holder at the beginning could potentially walk
     18 away with big money at the end of the token’s lifespan.” Indeed, immediately
     19 following that sentence, the Long Whitepaper includes a graph comparing supply
     20 and price, and showing that price rises steadily as supply decreases.             The
     21 unmistakable intended inference is that the price of SAFEMOON Tokens will
     22 increase as the supply decreases over time.
     23        77.     Not only does the Long Whitepaper suggest that the price of
     24 SAFEMOON Tokens will increase over time, it claims that SafeMoon has a “Step-
     25 by-Step Plan to Ensure 100% Safety.” At step 1, “Dev Burned All Tokens in Dev
     26 Wallet Prior to Launch.” At step 2, there is a “Fair Launch on DxSale.” At step 3,
     27
     28   22
                 https://safemoon.com/whitepaper.pdf. (last visited Jun. 28, 2022).
                                                 18
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      1 the “LP Locked on DxLocker for 4 years.” At step 4, “LP Generated With Every
      2 Trade & Locked on Pancake.”
      3        78.    The latter two steps indicate that SAFEMOON Tokens placed into the
      4 liquidity pools cannot be withdrawn by SafeMoon for a period of four years. Indeed,
      5 shortly after launching the SAFEMOON Tokens, SafeMoon similarly represented
      6 on its Twitter page that it had “locked” the liquidity pools, stating on March 19:
      7 “The moon just became even more #SAFU. Now completed is the 4 year lock on
      8 the second LP. We now have 2 locked LP expiring on May 1, 2025.” According to
      9 Binance Academy, “SAFU” stands for the Secure Asset Fund for Users and is used
     10 colloquially to mean “funds are safe.”23
     11        79.    The upshot from the foregoing marketing materials is that: (i) the
     12 supply of SAFEMOON Tokens will continually decrease; (ii) the price of
     13 SAFEMOON Tokens will increase as that supply decreases; and (iii) the Company
     14 will ensure that a market for trading SAFEMOON Tokens exists in the form of
     15 locked liquidity pools. In other words, an investor who buys and holds SAFEMOON
     16 Tokens will be rewarded with profits.
     17        80.    On the Company’s website, there is a “buying guide” section that shows
     18 investors how to purchase the SAFEMOON Tokens in four steps. Notably, only
     19 steps one to three have actual instructions on the mechanics of acquiring
     20 SAFEMOON Tokens. Step four in its entirety states: “HODL! All that’s left now
     21 is to HODL and see your balance grow from reflections!”24
     22        81.    Unlike some crypto-assets that have a real-world purpose (known as
     23 “utility tokens”), SAFEMOON Tokens have no real-world purpose. Nasdaq, for
     24 example, has noted: “[I]t doesn’t have any use cases or advantages over other
     25
     26
     27   23
               https://academy.binance.com/en/glossary/secure-asset-fund-for-users.    (last
        visited Jun. 28, 2022).
     28 24
               https://safemoon.net/buy (last visited Feb. 28, 2022).
                                                  19
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      1 cryptocurrencies.”25    Others have likewise observed that “Safemoon has no
      2 particular use.”26
      3        82.    In addition, in contrast to decentralized crypto-assets like ether, 50% or
      4 more of SAFEMOON Tokens are owned by SafeMoon itself.27 Moreover, as of
      5 early March 2022, the ten largest holders controlled nearly 30% of the supply of
      6 SAFEMOON tokens.28
      7        83.    As of early March 2022, the Company had two products.29 The first is
      8 a wallet, called the SafeMoon Wallet, which provides a “secure place to store and
      9 trade your SafeMoon.”        The second is the “SafeMoon Protocol Contract.”
     10 SafeMoon’s website indicates that SafeMoon plans to launch two additional
     11 products in the future, a “hardware ‘cold’ wallet for safely storing and using your
     12 crypto” and an “exchange” that “will bring tokenomics to all of crypto on its
     13 platform.”
     14        84.    The SafeMoon Protocol Contract is the software on which the
     15 SAFEMOON Token runs. The Company is responsible for writing, maintaining,
     16 modifying, and implementing that software. For example, in May 2021, CertiK
     17 performed an audit of the software. In response to certain critiques and flaws
     18 identified by the auditors, SafeMoon indicated the extent to which it would modify
     19 code and make other changes to address those critiques and flaws, thereby
     20 demonstrating its control over that software.30
     21
     22
          25
               https://www.nasdaq.com/articles/8-things-to-know-before-you-buy-
     23 safemoon-2021-07-10 (last visited Jun. 28, 2022).
        26
     24        https://forkast.news/what-is-safemoon-crypto-can-it-reach-the-moon/ (last
        visited Jun. 28, 2022).
     25 27     https://www.business-powerhouse.com/what-is-safemoon-and-why-is-it-
        taking-crypto-market-by-storm (last visited Jun. 28, 2022).
     26 28
               https://coinmarketcap.com/currencies/safemoon/holders/ (last visited Jun. 28,
     27 2022).
        29
               https://safemoon.com/products (last visited Jun. 28, 2022).
     28 30
               https://www.certik.com/projects/safemoon (last visited Jun. 28, 2022).
                                                 20
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      1        85.      SafeMoon is also responsible for marketing SAFEMOON Tokens,
      2 which it does relentlessly on social media. SafeMoon stated on its Instagram account
      3 on April 4, that its “Marketing campaign” had begun. Indeed, as CoinDesk notes,
      4 SafeMoon is “shilled endlessly on Twitter.”31 SafeMoon has explained on Twitter
      5 that it has a “small dedicated marketing team.”
      6        86.      In addition to marketing SAFEMOON tokens and developing and
      7 launching its products, SafeMoon is also responsible for securing exchange listings,
      8 and thus markets, for SAFEMOON Tokens. For example, on March 17, Karony
      9 noted that they had “talked with WhiteBit,” an exchange. On April 2, 2021, Karony
     10 announced via Twitter that SafeMoon’s team had “[b]een working our A**’s off for
     11 the #SafeMoon community day and night” and that he was “[g]lad to finally be able
     12 to share the good news regarding @WhiteBit6 and @BitMartExchange listings.”
     13 On April 5, 2021, Karony tweeted: “Binance next. I’m giving the #SAFEMOON
     14 community 120% of my energy until we hit the moon and I’ll never stop.”
     15          The Pump – Defendants Lure Investors in with Misleading Promotions
     16        87.      SafeMoon’s homepage, safemoon.com, promotes the sale of
     17 SAFEMOON Tokens. That page, which includes a video of a Rocketship taking off
     18 in the background, prominently displays a button that enables visitors to “Buy”
     19 SAFEMOON Tokens, as well as another button that explains “How to Buy”
     20 SAFEMOON Tokens.
     21        88.      Clicking the “How to Buy” button leads to a “Buying Guide,” which
     22 outlines four steps for purchasing SAFEMOON Tokens. The first step is to “Create
     23 a Wallet.” The second step is to “Purchase BNB.” The third step is to “Swap BNB
     24 for SafeMoon.” The fourth (and final) step is to “HODL!” At that point, according
     25 to the guide, “All that’s left now is to HODL and see your balance grow from
     26 reflections!”
     27
          31
     28         https://www.coindesk.com/markets/2021/05/18/dave-portnoy-just-wants-to-
          have-fun/ (last visited Jun. 28, 2022).
                                                  21
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      1        89.     As explained by Binance Academy, “HODL is a term commonly used
      2 by cryptocurrency investors that refuse to sell their cryptocurrency regardless of the
      3 price increasing or decreasing.”32
      4        90.     Beginning in March 2021, the Company ‒ through its Twitter page and
      5 other social media platforms ‒ promoted itself and SAFEMOON Tokens. As a result
      6 of these promotions, as well as celebrity endorsements described further below, the
      7 volume of SAFEMOON Tokens traded on a daily basis exploded from
      8 approximately $150,000 on March 9, 2021 to over $240 million on May 19, 2021.
      9 The tweets catalogued below are just a sample of the many, many tweets from the
     10 Company and its executives promoting SAFEMOON Tokens and other Company
     11 products over that period and the months that followed.
     12        91.     On March 1, 2021, the Company’s Twitter account tweeted for the first
     13 time. The tweet stated: “Welcome to the show. . . . Stick around for some amazing
     14 things.” On March 6, 2021, the Company’s Twitter account announced a “Flash
     15 Giveaway” of 100 billion SAFEMOON tokens to “5 lucky winners who”:
     16 (i) ”Follow @safemoon and @defishiller”; (ii) “Like and RT”; and (iii) “Tag 3
     17 friends!” The tweet stated: “Grab a big bag of $SAFEMOON. . . . We are just
     18 getting started! Now listed on #PancakeSwap!”
     19        92.     In the second half of March 2021, as further discussed below, the
     20 Company retweeted a number of endorsements from celebrities. During that same
     21 period, the Company tweeted instructions on how to buy SAFEMOON Tokens, the
     22 amount of SAFEMOON Tokens that had been burned to date, and updates regarding
     23 the number of Twitter users that were following the Company’s account. Given the
     24 Long Whitepaper’s reference to decreasing supply resulting in higher prices, the
     25 Company’s tweets regarding the amount of SAFEMOON Tokens burned were
     26 clearly intended to imply that the price of SAFEMOON Tokens would increase.
     27
     28   32
                 https://academy.binance.com/en/glossary/hodl (last visited Jun. 28, 2022).
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      1     93.       On April 3, 2021, the Company tweeted:         “396,384,506,514,787
      2 BURNT.” In response, Karony tweeted: “New ATH .. Check. Continual burns ..
      3 also check. Moon… #Imminent.” The acronym “ATH” refers to all-time high price.
      4 The same day, Karony tweeted: “Amazing! Almost a 1 Billion Dollar market
      5 cap!!!” The same day, SafeMoon tweeted: “Next week we put together our plan of
      6 action to list on #Binance.” Binance is the world’s largest crypto-asset exchange by
      7 trading volume.
      8     94.       On April 5, 2021, the Company announced via Twitter that
      9 SAFEMOON Tokens would be listed on BitMart, a crypto-asset exchange. In
     10 response to that announcement, Karony tweeted: “It has been a bunch of long nights
     11 for the team, but it’s amazing to see the results.” That day, Karony also tweeted:
     12 “I’m giving the #SAFEMOON community 120% of my energy until we hit the moon
     13 and I’ll never stop.”
     14     95.       On April 14, 2021, the Company’s Twitter account posted a short video
     15 titled “How to Hold #SAFEMOON,” which explained the process of buying
     16 SAFEMOON Tokens. The same day, the account stated that SAFEMOON was
     17 “[t]he number 1 searched Cryptocurrency in the world within the last 30 days.”
     18     96.       On April 15, 2021, the Company’s Twitter account posted that there
     19 were then “400K HOLDERS!” The following day, the Company posted an image
     20 titled “ALL #SAFEMOON HOLDERS RIGHT NOW.” The image included three
     21 charts ‒ one titled “Bull Market,” one titled “Bear Market,” and the third titled
     22 “Moon Market.” The third chart included a vertical line, indicating that the price
     23 was going straight up. That day, the account also posted a screenshot of a text
     24 exchange in which one person explains to another that, with SAFEMOON tokens,
     25 “[t]he longer you hold the more you get rewarded.”
     26     97.       On April 17, 2021, the Company’s Twitter account posted an image
     27 titled “WHY HOLDING REWARDS YOU.” The image was a graph indicating that
     28 “Tokenomics Growth” increases exponentially with “Holding Time.” The same
                                         23
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      1 day, the Company’s Twitter account announced that there were then “500k
      2 HOLDERS.”
      3     98.       On April 18, 2021 the Company’s Twitter account stated that
      4 SAFEMOON was the “NUMBER 1 SEARCHED CRYPTO IN THE WORLD,” and
      5 indicated that, less than 50 days in, 400 trillion SAFEMOON Tokens had been
      6 burned, there were 500,000 tokenholders, there were 100,000 Twitter followers, and
      7 the market capitalization for SAFEMOON Tokens was $1.1 billion. By the end of
      8 that day, the Company’s Twitter account had 150,000 followers. The Company’s
      9 Twitter account also announced that day that there were “2 New exchange listings
     10 on the horizon,” that there were “a lot of exchanges reaching out to list
     11 #SAFEMOON,” and that SafeMoon would “only make the right choices to benefit
     12 HOLDERS.”
     13     99.       On April 19, 2021, the Company’s account tweeted: “ARE YOU A
     14 #SAFEMOON HOLDER.” The next day, the Company tweeted a video, indicating
     15 that there were 700,000 holders, 200,000 Twitter followers, that SAFEMOON was
     16 the “No. 1 searched crypto,” and that it was “trending” on Twitter “every day.” Also
     17 on April 20, the Company tweeted: “Let’s take a bull to the #SAFEMOON” and
     18 posted a picture stating “SAFEMOON BULL RUN” and “ONLY A MATTER OF
     19 TIME.” The Company also tweeted that day “DUMMY PROOF” instructions for
     20 “How to Acquire #SAFEMOON,” and indicated that there were then 800,000
     21 followers but that trading volumes were so high that “Binance smart chain #BSC
     22 broke.”
     23    100.       On April 21, 2021, the Company tweeted that there were then “900K
     24 HOLDERS” and “300K FOLLOWERS.” The Company also announced via Twitter
     25 that there was a “NEW LISTING,” indicating that SAFEMOON Tokens would be
     26 listed on MXC. In response to a significant price decrease that day, the Company
     27 tweeted: “That wasn’t a dip today . . . we went back to earth for a bigger rocket and
     28 more passengers.” (Emojis omitted.) Haines-Davies retweeted that message. By
                                         24
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      1 the end of the day, the Company tweeted that there were one million SAFEMOON
      2 tokenholders. The Company also tweeted that day: “Rome wasn’t built in a day,
      3 #SAFEMOON was.”
      4        101.   On April 22, 2021, in response to continuing price volatility, Witriol
      5 tweeted: “Hey #SAFEMOON It’s all a part of the process! Sit back and relax!”
      6 Referencing a popular 1990s song, he then tweeted:          “We #hodl they hatin’
      7 patrolling, trying to catch me ridin’ dirty.” The same day, the Company tweeted:
      8 “WHO’S HOLDING?!” and “In other words HOLD ON TIGHT.” The Company
      9 also tweeted: “We won’t let any TROLL, HATER, FUD33 SPREADER on this
     10 ship,” and that the SAFEMOON token was “52 DAYS OLD,” there were “1.1
     11 Million HOLDERS” and “340k followers,” that SAFEMOON was “Trending 5 days
     12 in a row,” that “410 Trillion Tokens” had been burned, and that the “Market cap
     13 Reached $5 Bil.”        In addition, the Company announced via Twitter that
     14 “#SAFEMOON was listed on @ZBG_Exchange Fully tradable in 24HR.” The
     15 Company retweeted the following tweet from “MisterCrypto”: “Once the Market
     16 gets back to normal guess what?!! #safemoon will be on the 3rd Exchange that has
     17 the highest Volume of trading per day! Let that sink in for a min now breath and let
     18 those diamond hands Shine.”       “Diamond hands” refers “to holding a volatile
     19 investment even when there’s pressure to sell.”34
     20        102.   On April 22, 2021, Karony tweeted: “I think we are setting a records
     21 for speeds and longest times without sleep” and “The team and I have been working
     22 hard all night on a multitude of tasks.”      Karony revealed later that day that
     23 SafeMoon’s team was working on getting SAFEMOON Tokens listed on ZBG.
     24
     25
          33
              The acronym “FUD,” explained further below, stands for “Fear, Uncertainty,
     26 and Doubt.”
        34
     27       https://www.fool.com/investing/stock-market/market-sectors/financials/
        cryptocurrency-stocks/diamond-hands/#:~:text=%22Diamond%20hands%22%20is
     28 %20a%20slang,as%20cryptocurrency%20and%20meme%20stocks (last visited
        Jun. 28, 2022).
                                               25
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      1    103.       On April 23, 2021, the Company announced via Twitter that
      2 SAFEMOON Tokens would be listed on crypto-asset exchanges Gate.io, Hotbit, and
      3 LetsExchange. As part of its announcement regarding LetsExchange, the Company
      4 tweeted: “[Y]ou can now trade #SAFEMOON for any coin listed by Let’s Exchange
      5 including” Bitcoin and other well-known crypto-assets. That day, the Company
      6 tweeted an old post from someone named Greg Shoen that stated: “I wish I had kept
      7 my 1,700 BTC @ $0.06 instead of selling them at $0.30, now that they’re $8.00.”
      8 Above that post, the Company tweeted: “Wonder how many Gregg’s happened over
      9 the last 48 hours #SAFEMOON don’t be Gregg.” Karony indicated via Twitter on
     10 that day that he had been “[w]orking all day” to get SAFEMOON Tokens listed on
     11 LetsExchange.io.
     12    104.       On April 24, 2021, the Company tweeted once again “HOW TO
     13 ACQUIRE #SAFEMOON.” The Company announced via Twitter that day that
     14 there were then 1.3 million holders, and made a number of other optimistic
     15 statements regarding the price of SAFEMOON tokens, including “What lives on the
     16 moon safely . . . someone who HOLDS #SAFEMOON” and “Feeling BULLISH.”
     17 SafeMoon tweeted that day that it was “THIS WEEKS MOST VIEWED CRYPTO
     18 CURRENCY according to [CoinMarketCap]” and was “the MOST VIRAL
     19 CRYPTO CURRENCY on the planet.”
     20    105.       On April 25, 2021, the Company tweeted: “41% of the total
     21 #SAFEMOON has been BURNED GONE! NEVER COMING BACK.” (Emojis
     22 omitted.)     SafeMoon announced that day via Twitter that it had “400k
     23 FOLLOWERS” and, the following day, that “Exchanges are flooding through the
     24 doors ready to list safemoon, bigger ones are taking longer but worth the wait,
     25 regardless all credible and in the top 50.”
     26    106.       On April 26, 2021, the Company tweeted: “We can see the moon,
     27 HOLD on it’s about to get exciting” and posted instructions for obtaining
     28 SAFEMOON tokens on Pancake Swap.
                                         26
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      1    107.       On April 27, 2021, the Company tweeted that SAFEMOON was the
      2 “fastest growing crypto on the planet” and that, in sixty days, it was “already listed
      3 on 6+ Exchanges with 3bil+ Market cap!”
      4    108.       On April 28, 2021, the Company announced via Twitter that it would
      5 soon be on the Burency Exchange, “the Biggest Crypto trading platform in Middle
      6 East.”
      7    109.       On April 29, 2021, the Company once again tweeted instructions for
      8 how to acquire SAFEMOON tokens, stating that it was “now available on 7
      9 EXCHANGES” and was “Still number 1 searched crypto in the world 7 days in a
     10 row.” That day, the Company also announced that there were then “1.4 MILLION
     11 HOLDERS.” Karony tweeted on that day: “Jack and I are working to get SafeMoon
     12 everywhere.”
     13    110.       On April 30, 2021, the Company tweeted: “WOW! 1.5 MILLION
     14 #SAFEMOON HOLDERS! . . . THE MOON IS IN SIGHT.”
     15    111.       On May 1, 2021, the Company tweeted instructions for “The
     16 QUICKEST way to HOLD #SAFEMOON via @MXC_Exchange” and asserted, via
     17 Twitter, that “IF YOU HOLD #SAFEMOON YOU ARE GROWING DAILY
     18 FROM TOKENOMICS . . . UP OR DOWN YOU’RE STILL GOING UP IN
     19 TOKENS.”
     20    112.       On May 5, 2021, the Company tweeted an image titled “SAFEMOON
     21 TOKENOMICS.” It showed a variety of cars, boats, and planes placed along an
     22 upward sloping line graph. In the top right corner, on top-of-the-line graph, there
     23 was a Rocketship.
     24    113.       On May 6, 2021, the Company announced via Twitter that there were
     25 then 1.6 million tokenholders and 500,000 Twitter followers.           That day, the
     26 Company tweeted a short promotional video, with the following words flashing on
     27 the screen: “SAFEMOON,” “Most Viral Crypto,” “Big Upcoming Projects,” “8
     28 New Exchanges,” “Tokenomics” “Rewards, More Every Day,” “1,500,000
                                         27
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      1 Holders,” “Certik Audit Approved, “412 TR Burnt,” “500k Twitter Followers,” and
      2 “SafeMoon Wallet Coming Soon.”
      3    114.       On May 8, 2021, the Company tweeted an image that stated: “Don’t
      4 put your eggs in one basket. . . . Keep them in a safe.” The next day, SafeMoon
      5 announced that there were then 1.8 million SAFEMOON tokenholders. That day,
      6 Karony tweeted: “I hope everyone has figured out that #SAFEMOON isn’t just a
      7 crypto, it’s an evolution.”
      8    115.       On May 10, 2021, the Company re-posted a video with instructions on
      9 “HOW TO ACQUIRE #SAFEMOON.” Above the video, the Company tweeted:
     10 “We see a lot of new holders looking to join #SAFEMOON but ask ‘how do I buy
     11 safemoon’ can we ask you RT and spread the word for the ones who need a little
     12 guidance.” That day, the Company also tweeted a video of a billboard in Times
     13 Square advertising SafeMoon as “The World’s Fastest Growing Cryptocurrency.”
     14 That day, the trading volume for SAFEMOON Tokens increased to approximately
     15 $195 million; the previous day, it was $140 million.
     16    116.       On May 11, 2021, the Company announced another exchange listing
     17 and that there were then 1.9 million SAFEMOON tokenholders. On May 15, 2021,
     18 the Company announced via Twitter that it had 700,000 followers.
     19    117.       On May 18, 2021 and May 19, 2021, the Company announced that
     20 SAFEMOON Tokens would be listed on two additional exchanges, and posted
     21 another video on “HOW TO ACQUIRE #SAFEMOON.” On May 19, the Company
     22 also tweeted: “JUST POPPING BACK TO PICK UP SOME MORE HOLDERS,”
     23 “WHO’S HOLDING?!,” and “What goes up must go down . . . and what goes down
     24 MUST GO UP!” The price of SAFEMOON Tokens had fallen sharply that day. In
     25 addition, the Company tweeted on May 19: “SHOUTOUT TO ALL DIAMOND
     26 HANDS!” and “HOLDING IS REWARDING WITH TOKENOMICS.” Karony
     27 likewise tweeted that day: “It was days like these that shook out a lot of early BTC
     28 folks. I got Hardman Hands for all crypto.”
                                         28
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      1        118.   On May 20, 2021, Karony provided a list on Twitter of exchanges that
      2 had listed SAFEMOON Tokens, as well as a list of exchanges that had not yet listed
      3 the tokens. With respect to exchanges in the latter category, he stated: “We will
      4 continue to work with their listing and tech teams to get tokenomics implemented.”
      5 On May 22, 2021, the Company announced via Twitter that it had 800,000 followers
      6 and that there were then 2.25 million SAFEMOON tokenholders.
      7        119.   On May 26, 2021, the Company announced that there were then 2.5
      8 million SAFEMOON tokenholders and tweeted an image that stated: “BULLISH
      9 OR BEARISH TOKENOMICS WINS.”
     10        120.   On May 31, 2021, the Company announced via Twitter that another
     11 exchange, bitbns, had listed SAFEMOON Tokens, and tweeted an image captioned
     12 “NO RUG PULLS HERE.”              (A “rug pull” is “a malicious maneuver in the
     13 cryptocurrency industry where crypto developers abandon a project and run away
     14 with investors’ funds.”35)
     15        121.   On June 3, 2021, with both the price of SAFEMOON Tokens and the
     16 trading volume significantly lower than it had been just a few weeks earlier, the
     17 Company tweeted “HOLDING IS REWARDING” and “WE’RE ALL IN THIS
     18 TOGETHER!” On June 8, 2021, the Company tweeted, once again, instructions for
     19 “WHERE AND HOW TO ACQUIRE #SAFEMOON” and instructed its many
     20 followers to “Like and RT to spread the word.” That day, the Company also tweeted:
     21 “WHEN YOU UNDERSTAND THE VALUE OF HOLDING #SAFEMOON THE
     22 REST IS HISTORY.”
     23        122.   On June 16, 2021, with price and volume continuing to lag, the
     24 Company tweeted an image captioned:            “WE’RE REACHING THE MOON
     25 TOGETHER.” The image was an upward sloping graph that was being climbed by
     26
     27
          35
     28         https://coinmarketcap.com/alexandria/glossary/rug-pull. (last visited Jun. 28,
          2022).
                                                29
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      1 people with increasingly large bags of money.        The next day, the Company
      2 announced that tokens would be listed on another exchange.
      3    123.       On June 24, 2021, the Company tweeted:         “ONLY DIAMOND
      4 HANDS WILL MAKE IT TO THE #SAFEMOON.” On July 4, 2021, the Company
      5 tweeted    instructions   for    “HOW    TO   ACQUIRE      #SAFEMOON        WITH
      6 @MetaMask.”
      7    124.       On July 12, 2021 and July 13, 2021, the Company tweeted: “WHO’S
      8 HOLDING? And “DIAMOND HANDS ONLY.” On July 13, 2021, the Company
      9 posted a video of animated bulls running. At the end of the video, the words “Bull
     10 Run” were shown. Above the video, SafeMoon tweeted: “WHO’S THINKING
     11 WHAT WE’RE THINKING.” And on July 19, 2021, the Company tweeted an
     12 image indicating that SAFEMOON tokens were the “MOST HELD TOKENS ON
     13 BINANCE SMART CHAIN.”
     14    125.       On August 16, 2021, the Company tweeted: “SHOUTOUT TO ALL
     15 DIAMOND HANDS,” “LET’S DO THIS #SAFEMOON1MILLION LIKE AND
     16 RT AND FOLLOW,” and “IF WE HIT 1 MILLION . . . MARKETING WILL
     17 ‘CONSIDER’ STOP USING CAPS.” On August 19, 2021, the Company tweeted:
     18 “1 MILLION #SAFEMOON FOLLOWERS!                    2.7 MILLION #SAFEMOON
     19 HOLDERS!”
     20    126.       On August 27, 2021, the Company retweeted a tweet from Karony that
     21 stated:    “Buy button.”        The following day, the Company tweeted:      “The
     22 #SAFEMOON BUY BUTTON” and posted a video advertising SafeMoon’s crypto
     23 wallet, which would, according to the video, including an “in app buy button.”
     24    127.       On September 13, 2021, the Company announced on Twitter that the
     25 SafeMoon Wallet was “LIVE on Google Play!!” SafeMoon’s tweet included a link
     26 to download the app.
     27    128.       On October 6, 2021, the Company tweeted that the SafeMoon Wallet
     28 was “LIVE on iOS.” The Company’s tweet included a link to download the app.
                                         30
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      1    129.       On October 7, 2021, the Company tweeted: “In the last 12 hours the
      2 #SAFEMOONWALLET rocketed up the App Store chart” to “#10 in the US.”
      3    130.       On October 16, 2021, the Company tweeted: “Only diamond hands
      4 hold the #SAFEMOONWALLET.” The next day, the Company announced via
      5 Twitter     that   there   had       already   been   “350,000+   downloads     for
      6 #SAFEMOONWALLET between iOS and Android.”                   On October 29, 2021,
      7 SafeMoon announced that there had been 400,000+ downloads, and on October 31,
      8 2021, the Company announced that there had been 500,000+ downloads and more
      9 than 100,000 new SAFEMOON tokenholders in the last 24 hours. On November 6,
     10 2021, the Company announced via Twitter that there were then 2.85 million
     11 SAFEMOON tokenholders.
     12    131.       To boost the Company’s own marketing efforts, the Executive
     13 Defendants also actively recruited and retained the Promoter Defendants to serve as
     14 the promotors of the SAFEMOON Tokens in March 2021 and beyond.
     15    132.       As observed in the article FBI ties and Ponzi games – here’s what
     16 SafeMoon doesn’t want you to know:
     17        SafeMoon embodies meme token hype better than almost any crypto in
     18        history. In just two months, SafeMoon has engineered $4 billion
     19        market value inflated by influencers like Jake Paul, [and] Soulja
     20        Boy. . . . But what SafeMoon resembles most is the crypto-powered
     21        Ponzi games once popular on Ethereum, like Proof-of-Weak Hands 3D
     22        (PoWH3D).
     23                                  *       *     *
     24        These games ‒ which are now bleeding into the Binance Smart Chain
     25        ecosystem ‒ are designed to mimic real-life Ponzi schemes. And so,
     26        just like the Ethereum-based Ponzi games that came before it ‒ the
     27
     28
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      1           earliest to buy SafeMoon hypothetically stands to make the most profit
      2           ‒ but only if they can lure enough players to follow suit.36
      3        133.     As discussed further below, the Company and the Executive
      4 Defendants repeatedly touted the “burn” and “tokenomics” of the SAFEMOON
      5 Tokens, as part of their marketing strategy.
      6        134.     In fact, the fourth point in the SafeMoon whitepaper is dedicated to
      7 “Depreciating Supply & Burn Address.” The opening line of that section states: “In
      8 a decentralized smart chain environment, contract functions can be utilized to
      9 achieve token scarcity.”37
     10        135.     “SafeMoon’s supply gimmick is integral to its value proposition:
     11 scarcity inflates as supply deflates, which implies value.”38 However, the price of
     12 the SAFEMOON Tokens is “determined by market demand – exactly what makes
     13 celebrity endorsements so critical to SafeMoon’s success.”39
     14        136.     Upon information and belief, all of the Promoter Defendants received
     15 SAFEMOON Tokens and/or other forms of consideration as part or all of their
     16 compensation for promoting SafeMoon.
     17        137.     For example, a combined search of the Binance Blockchain Explorer
     18 (“BSCscan”),40 the Ethereum Blockchain Explorer (“Etherscan”),41 and the non-
     19 fungible token marketplace OpenSea shows that a wallet owned and controlled by
     20 Paul received approximately 50 billion SAFEMOON Tokens on March 26, 2021.
     21
     22
     23
          36
                See fn.14, supra.
     24   37
                See fn.18, supra.
     25   38
                See fn.14, supra.
          39
     26         Id.
          40
                BSCscan allows users to explore and search the Binance blockchain for
     27   transactions, wallet addresses, tokens, and prices.
          41
     28         Etherscan does the same thing as BSCscan except on the Ethereum
          blockchain.
                                                    32
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      1        138.   In particular, a wallet owned and/or controlled by the SafeMoon
      2 deployer transferred 50.4 billion SafeMoon to wallet address 0x4b7d7b on March
      3 26, 2021. The price of the tokens was approximately $0.0000003951 at the time.
      4        139.   The following day, March 27, 2021, Paul (as discussed further below)
      5 posted a SafeMoon promotion to his personal Twitter account. Paul promoted
      6 SafeMoon at least three more times between April and May. Notably, in Paul’s May
      7 16, 2021 post promoting SafeMoon, he also mentions a new cryptocurrency he was
      8 promoting at the time: Yummy coin.
      9        140.   On June 17, 2021, the 0x4b7d7b wallet used the decentralized exchange
     10 on the Binance Smart Chain, PancakeSwap, via a “Center.io” wallet, to swap over
     11 48 billion SAFEMOON Tokens to $190,314.35 USDC. The difference between the
     12 50.4 billion SAFEMOON Tokens and the swapped 48 billion SAFEMOON Tokens
     13 is due the Company’s 10% tax since, unlike Karony, Paul’s wallet was not exempt
     14 from fees.
     15        141.   Four minutes later, the 0x4b7d7b wallet transferred the USDC to wallet
     16 address 0x28dfb. A search for the 0x28dfb address on the OpenSea marketplace
     17 reveals that this wallet belongs to “Problem Child.” Paul is widely known by his
     18 “fight name,” Problem Child.42
     19        142.   On June 22, 2021, the Problem Child Wallet transferred 484,521.44
     20 USDC to wallet address 0x37a3549. A review of the transactions in that wallet
     21 shows that the 0x37a3549 wallet has no use other than to hold the USDC. All other
     22 transactions are simply random token “airdrops” into the 0x37a3549. In other
     23 words, the inflow and outflow of the sum of USDC is the 0x37a3549 wallet’s only
     24 purpose.
     25        143.   On January 4, 2022, the 0x37a3549 wallet transferred the totality of the
     26 USDC holding to an exchange wallet.
     27
          42
     28         https://www.essentiallysports.com/boxing-news-jake-paul-boxing-nickname
          -why-is-he-called-the-problem-child/ (last visited Feb. 28, 2022).
                                                  33
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      1        144.   An examination of the other portion of the USDC in the 0x37a3549
      2 wallet ($484,521.44 total USDC – $190,314.35 paid for Paul’s SafeMoon
      3 promotions = $294.206.96 remaining) confirms that this wallet is under Paul’s
      4 ownership/control. Approximately, $294,000 was provided by a separate wallet to
      5 the Problem Child wallet. The providing wallet, 0x3eaea6, gained its USDC value
      6 via a series of three swaps of YUMMY tokens in Center.io. These swaps occurred
      7 between June 16, 2021 and June 17, 2021. The YUMMY tokens were received
      8 between May 13-15 in five transfers. Paul first tweeted about YUMMY on May 16,
      9 2021.43
     10        145.   These complicated transactions demonstrate a pattern by which Paul,
     11 and other promotors including the Promoter Defendants, are given tokens as a
     12 payment for promotions, they go out and post about the token on social media, then
     13 turn around and sell the tokens for profit as investors buy in. The entire purpose of
     14 this paid promotion is for pumping and dumping the token based on the value created
     15 by the Promoter Defendants’ direct action.
     16        146.   Each of the Promotor Defendants are sophisticated public figures with
     17 familiarity and experience with endorsement contracts. Upon information and
     18 belief, they all received a similar disbursement of tokens from the SafeMoon
     19 deployer wallet and cashed out shortly after making engaging in their promotional
     20 activities in a similar manner to Paul.
     21        147.   This is why Haines-Davies was a vital part of the Executive
     22 Defendants’ plan for marketing the SAFEMOON Tokens. Prior to joining the
     23 Company, Haines-Davies managed a UK-based YouTube celebrity, Ben Phillips,
     24 from 2017 until March 2021 (i.e., the month that the SAFEMOON Tokens
     25 launched). Phillips also dated Haines-Davies’ sister, Georgia Haines for over three
     26 years. Upon information and belief, Haines-Davies leveraged the contacts and
     27
     28   43
                Paul (@jakepaul), Twitter (May 16, 2021), https://twitter.com/
          jakepaul/status/1393967703598194692?s=20&t=veoX77 c74MdN5qdv4CfGKg.
                                              34
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      1 experience he gained from managing Phillips to recruit other celebrities to promote
      2 the SAFEMOON Tokens in exchange for a portion of the Float. Of course, Phillips
      3 was also recruited by Haines-Davies to act as a promoter of the SAFEMOON Token.
      4        148.   For example, on March 19, 2021, in a now-deleted post on his official
      5 Twitter account, Phillips feigned ignorance about SafeMoon (despite his manager
      6 Haines-Davies’ personal connection as SafeMoon’s COO) and asked his followers:
      7 “I keep seeing #SafeMoon everywhere anyone know about it? Is it gonna pop? Or
      8 . . . has it got Big #Doge energy.”44 Phillips did not disclose his connection to the
      9 Company but instead sought to convince investors that the “buzz” about SafeMoon
     10 was organically created as opposed to manufactured by Defendants themselves.
     11        149.   In addition, Phillips and another SAFEMOON Token promoter, Jake
     12 Paul, have reportedly “discussed creating a cryptocurrency” together,45 and Paul and
     13 fellow Promoter Defendant David Portnoy are long-time collaborators, with Paul
     14 appearing in a “Team Portnoy” video in 2017.46
     15        150.   Similarly, a series of transactions linked to Defendant Keem’s official
     16 OpenSea wallet address 0xF85089157fd4C6F7547929BEbD73bA822DAc9A82
     17 (“Keem Wallet”) show multiple transfers of large amounts of SAFEMOON Tokens
     18 from both Phillips and Nagy (via the Deployer Wallet) shortly before and/or after
     19 Keem publicly promoted Safemoon to his followers on Twitter.
     20        151.   As the other Promoter Defendants were being recruited by Haines-
     21 Davies and Phillips, the Company was making statements to investors about the
     22 “token burn” for SAFEMOON Tokens. In particular, on March 21, 2021, the
     23
          44
     24          See https://www.reddit.com/r/SafeMoon/comments/m8mjpk/safemoontweet
          _by_ben_phillips_benphillipsuk/ (last visited Feb. 28, 2022).
     25   45
                 Billy Bambrough, Exclusive: YouTube Starts Jake Paul And Ben Phillips
          ‘Discussed’ Creating A Cryptocurrency As Bitcoin And Dogecoin Mania Spreads,
     26   Forbes (Feb. 17, 2021, 06:10am EST), https://www.forbes.com/sites/
          billybambrough/2021/02/17/exclusive-youtube-star-jake-paul-discussed-creating-
     27   own-cryptocurrency-as-Bitcoin-and-dogecoin-mania-spreads/?sh=3d7d62591b21.
          46
     28          https://www.youtube.com/watch?v=UoGAI-VwTt0. a decentralized smart
          chain environment, contract functions can be utilized to achieve token scarcity
                                                  35
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      1 Company released a statement via its official Twitter account, stating that
      2 841,685,253,836 SAFEMOON Tokens “have been burnt in the last 24 hours alone.
      3 That’s over 800 billion tokens permanently removed from the circulating supply!”47
      4        152.   Then on March 22, 2021, the Company announced that “over 1.1
      5 trillion tokens [were] permanently removed from the circulating supply” and that
      6 this amount of tokens were “burnt in the last 24 hours alone.”48
      7        153.   By stressing the “burn” of the SAFEMOON Token supply in a short
      8 period of time, Karony signaled to investors that the value of SAFEMOON Token
      9 would increase as more SAFEMOON Tokens are burned.
     10        154.   Karony endorsed the Company’s announcement on his personal Twitter
     11 account that same day.49
     12        155.   On March 23, 2021, Smith received a message from an investor, James
     13 “Ginger,” who was interested in joining the SafeMoon team as a moderator for the
     14 Company’s official Discord account. Smith introduced Ginger to the Company’s
     15 Community Manager, Trevor Grant, and brought Ginger on board.
     16        156.   Upon information and belief, around the same time, Wyatt, Ginger,
     17 Trevor Grant and other SafeMoon social media moderators had a live-streamed
     18 meeting on Discord. In a recording of this meeting that was previously available on
     19 YouTube, the group can be seen discussing how to hide their record logs and delete
     20 their message history on Discord. In particular, Grant advised the group that if they
     21 deleted their account “then it would take 30 days for it to just vanish from their
     22 servers.” The group then discussed whether or not their records would be subject to
     23 disclosure, and Wyatt stated: “I doubt a subpoena is gonna pull up your deleted
     24
          47
     25        @SafeMoon 2.0          , Twitter (Mar. 21, 2021), https://t.co/pCeZQidEMi:
        “Burn baby burn.           .”
     26 48     @SafeMoon 2.0        , Twitter (Mar. 22, 2021), https://t.co/tZ1kvS2Xdw: “Not
        sure if this is what they meant when they said #SAFEMOON was fire . . . #Burna
     27 #DeFi #BSC.”
        49
     28         Re-tweet of id., by Karony: https://twitter.com/safemoon/status/
        1374045413834072070?cxt=HHwWjICtzcPBy5EmAAAA.
                                                  36
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      1 messages.” One member of the group “x90” cautioned the others that the Discord
      2 server would likely still save the messages and more importantly “you also gotta be
      3 careful because if they believe you delete out of intent to, ya know, hide evidence,
      4 that’s at that point tampering with evidence.” Wyatt dismisses this warning and
      5 continues on: “No, if your’re deleting it before being subpoenaed, you’re not
      6 deleting evidence of anything. You’re just fucking deleting your messages. If he’s
      7 not subpoenaed, and he deleted it before being subpoenaed then he’s not hiding shit
      8 . . . he’s using a feature on the software that they offer to everybody. He’s allowed
      9 to delete whatever the fuck he wants.” Wyatt goes on to state: “The funny thing is
     10 . . . I can delete all my messages with Safemoon Dev [aka Nagy] and Thomas [Smith]
     11 up until piggy wasn’t a thing then I can just stop it. Which is what I’ll do.”
     12        157.   On March 25, 2021, on the SafeMoon official Reddit page, a previously
     13 recorded live stream AMA with Phillips was posted. In that AMA, Phillips touts the
     14 growth of the SafeMoon community and favorably compares the SAFEMOON
     15 Tokens to other hot cryptocurrencies like Dogecoin.50 At the end of the clip, Phillips
     16 is “welcomed” to “the team” by Karony and Smith, and SafeMoon Community
     17 Manager, Trevor Church.51
     18        158.   That same day in a now deleted post52 on Twitter, Phillips promoted the
     19 SAFEMOON Tokens to his millions of followers:
     20
     21
     22
     23
     24   50
                 @u/Eljefe_bezos. A.M.A NEWS‼ Ben Phillips has been added to the
     25   SAFEMOON team. So much great news in this live stream. UPVOTE TO SHOW
          HIM        SOME     LOVE:      SafeMoon,      REDDIT     (Mar.    25,    2021),
     26   https://www.reddit.com/r/SafeMoon/comments/md6gew/ama_news_ben_phillips_
          has_been_added_to_the/.
     27   51
                 Id.
          52
     28          This post was captured in the FBI Ties and Ponzi Games article. See fn.7,
          supra.
                                                 37
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      1        159.    On March 27, 2021, social media influencer and boxer, Paul, published
      2 the following post53 promoting SAFEMOON to his 4.1 million Twitter followers:
      3
      4
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      6
      7
      8
      9
     10
     11
     12
               160.    That same day, Karony and Smith also republished the aforementioned
     13
          Paul post on their personal Twitter accounts.54 Paul would later use the same
     14
          upward-sloping graph in an April 3, 2021 tweet, where he claimed to have “Predicted
     15
          DOGE,” a reference to Dogecoin.
     16
               161.    On March 29, 2021, musician, Miles “Lil Yachty” Parks McCollum,
     17
          promoted SAFEMOON in a tweet that stated “#safemoonisthenewdogecoin.”55 At
     18
          the time, the referenced cryptocurrency token (Dogecoin) had a massive increase in
     19
          the price of that token. McCollum compared SAFEMOON Tokens to this other hot
     20
          cryptocurrency in order to mislead investors into believing that SAFEMOON would
     21
          similarly increase in price.
     22
               162.    Notably, Paul publicly endorsed McCollum’s statement about the
     23
          SAFEMOON Token’s expected price increase by tweeting out “factssss” as a reply
     24
     25
          53
     26        Paul (@jakepaul), Twitter (Mar. 27, 2021), https://t.co/r9DCQG0pmQ:
        “Everyone needs #SAFEMOON or this will be you      .”
     27 54
               Id.
        55
     28        McCollum (@lilyachty), Twitter (Mar. 29, 2021), https://twitter.com/
        lilyachty/status/1376669875918286848: #safemoonisthenewdogecoin     .”
                                             38
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      1 to McCollum’s SafeMoon promotion.56 The SafeMoon twitter account also replied
      2 positively to McCollum’s post.57
      3        163.   Likewise, Karony and Smith also promoted McCollum’s post on their
      4 personal Twitter accounts on March 29, 2021.58
      5        164.   Two days later, on March 31, 2021, McCollum continued his
      6 promotional activities for SafeMoon, repeating “#SAFEMOON” on this Twitter
      7 account.59 Once again, Karony and Smith endorsed McCollum’s March 31, 2021
      8 tweet on their personal Twitter accounts.60 Karony also retweeted a tweet from
      9 Keem that day, which stated: “#SAFEMOON.”
     10        165.   That same day, Karony offered “Congrats to the winners!
     11 #SAFEMOON” in reply to a now-deleted Twitter post from Ben Phillips.61
     12        166.   Also on March 31, 2021, both the official SafeMoon Twitter account
     13 and Karony’s personal Twitter account promoted a post with a picture suggesting
     14 that SAFEMOON Tokens were going up in price with the caption indicating that
     15 this rise was “IMMINENT.”62
     16
     17
          56
     18          Paul (@jakepaul), Twitter (Mar. 29, 2021), https://twitter.com/jakepaul/
          status/1376690168875339780: “@lilyachty factssss.”
     19   57
                 @SafeMoon 2.0         , Twitter (Mar. 29, 2021), https://t.co/ 8SnqxKmuj7:
          “@jakepaul @lilyachty.”
     20   58
                 Karony (@CptHodl), Twitter (Mar. 29, 2021), https://twitter.com/CptHodl/
     21   status/1376676389676519435?cxt=HHwWlsCwlb3495omAAAA:                         “Hey!”;
          McCollum (@lilyachty), Twitter (Mar. 29, 2021), https://twitter.com/lilyachty/
     22   status/1376669875918286848?s=20&t=ag5TXmcQakZZcLhD4-Kn_w:“#safe
          moonisthenewdogecoin.”
     23   59
                 See, e.g., McCollum (@lilyachty), Twitter (Mar. 31, 2021), https://
          twitter.com/lilyachty/status/1377293537264418818:            “#SAFEMOON#SAFE
     24   MOON#SAFEMOON.”
          60
     25          McCollum (@lilyachty), Twitter (Mar. 31, 2021), https://twitter.com/
          lilyachty/status/1377293537264418818?s=20&t=ag5TXmcQakZZcLhD4-Kn_w:
     26   “#SAFEMOON #SAFEMOON #SAFEMOON.”
          61
                 Karony (@CptHodl), Twitter (Mar. 31, 2021), https://twitter.com/CptHodl/
     27   status/1377401899050098688: “Congrats to the winners! #SAFEMOON.”
          62
     28          See @SafeMoon 2.0        , Twitter (Mar. 31, 2021), https://t.co/iSYlX4vdCA:
          ““IMMINENT” #SAFEMOOM                .”
                                                    39
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      1        167.   On April 2, 2021, McCollum again promoted SafeMoon to retail
      2 investors, stating in a Twitter post: “I told y’all safe moon was going up lol.”63
      3        168.   That same day, Smith re-tweeted a SafeMoon promotion from
      4 YouTube influencer, Keemstar (i.e., Defendant Keem).64
      5        169.   On April 3, 2021, SafeMoon announced on its Facebook page that it
      6 had “got” several celebrity promotors to work with the Company, including Paul and
      7 McCollum.65
      8        170.   That same day, the Company announced that 396 trillion SAFEMOON
      9 Tokens were “burnt” and “gone.”66 Karony reposted the token announcement on his
     10 personal Twitter account and noted in the caption that the supply of SAFEMOON
     11 Tokens would receive “continual burns” and that the price of the SAFEMOON
     12 Tokens was at an all-time high (“ATH”) and would be going to the “moon”
     13 imminently.67 In an apparent attempt to provide some type of disclaimer to these
     14 statements, Karony, in closing, stated: “Not financial advice, you do you.”68
     15        171.   Defendant Keem also promoted Safemoon on April 3, 2021,
     16 announcing that the SAFEMOON Tokens were exponentially increasing in price:
     17
     18
     19
          63
               McCollum (@lilyachty), Twitter (Apr. 2, 2021), https://twitter.com/lilyachty/
     20 status/1378051154416963586?lang=en: “I told y’all safe moon was goin up lol.”
        64
     21      Keem (@KEEMSTAR), Twitter (Apr. 1, 2021), https://twitter.com/
        KEEMSTAR/status/1377848102162468864?s=20&t=ag5TXmcQakZZcLhD4-
     22 Kn_w.
        65
               SafeMoon (@SafeMoonOfficial), Facebook (Apr. 3, 2021), https://
     23 www.facebook.com/101527008681710/posts/so-we-got-jake-paul-lil-yachty-
        keemstar-ben-phillips-and-tenille-dashwood-anyone/118723846962026/: “So we
     24 got Jake Paul, Lil Yachty, Keemstar, Ben Phillips . . . .”
        66
     25        @SafeMoon 2.0        , Twitter (Apr. 3, 2021), https://t.co/LJKCnIbrM8:
        “396,384,506,514,787 BURNT         GONE      #SAFEMOON.”
     26 67
               Karony (@CptHodl), Twitter (Apr. 3, 2021), https://twitter.com/
        CptHodl/status/1378383282832875523?cxt=HHwWhoC5md6SgKEmAAAA:
     27 “New ATH. Check. Continual burns. also check. Moon . . . #Imminent Not financial
        advice, you do you. #SafeMoon #FairLaunch #DeFi.”
     28 68
               Id.
                                               40
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      1 “Just checked my #SAFEMOON She gone               ”69 The official Safemoon account
      2 replied, thanking Keem “for believing in us day 1 . . . we are working ever so hard
      3 to meet the visions and goals so everyone support means the world.             .” The
      4 Company did not, however, disclose that Keem was a paid promotor for Safemoon
      5 and not simply just an investor that “supported” and “believed in” Safemoon.
      6        172.   On April 4, 2021, the Company published the “Safemoon Road Map”
      7 for all four quarters of 2021 as four separate posts on its account on the social media
      8 platform, Instagram. These road maps for each quarter gave investors a false
      9 impression of the Company’s future prospects.
     10        173.   The caption to the Company’s post about the first quarter’s successes
     11 bragged: “Q1 Complete . . . Cough . . . we the best . . . cough.”70 The post itself
     12 listed six accomplishments for Q1. Significantly, the Company stated that its
     13 “marketing campaign” had begun.71
     14        174.   In the post for the second quarter of 2021, there was a list of 16 action
     15 items that the Company was looking at for Q2.72 Most importantly, the Company
     16 stated that it intended to “complete” the SafeMoon wallet and “begin architecting”
     17 the SafeMoon exchange and related NFT exchange within the second quarter of
     18 2021.73
     19
     20
     21
     22
          69
     23         Keem (@KEEMSTAR), Twitter (Apr. 3, 2021), https://twitter.com/
          keemstar/status/1378490464379228168?lang=en.
     24   70
                @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
          p/CNPShnjn03i/?utm_source=ig_web_copy_link: “Q1 COMPLETE. . . . Cough . ..
     25   we the best . . . cough #SAFEMOON           .”
          71
     26         Id.
          72
                @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
     27   p/CNPScNDHbkB/?utm_source=ig_web_copy_link: “Q2 Currently working on
          this! With your support anything possible.”
     28   73
                Id.
                                                 41
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      1        175.   The post for the Company’s Instagram post providing details about the
      2 third quarter of 2021 included eight action items.74 One of those items stated:
      3 “Finish NFT Exchange.”75
      4        176.   The first bullet point for the Company’s post about the “SAFEMOON
      5 Road Map” for the fourth quarter of 2021 declared that the Company would “finish
      6 SafeMoon exchange.”76
      7        177.   In only nine days after the SafeMoon marketing campaign began in
      8 earnest, the promotion efforts of Paul and McCollum, along with those of the
      9 Company and Executive Defendants during the same time period, caused investors
     10 to purchase SAFEMOON Tokens in droves and drastically increased the trading
     11 volume over those days. For example, from March 27, 2021 to April 4, 2021, the
     12 trading volume leaped from $7 million to $68.7 million – a staggering 875%
     13 increase. Over the same time period, the price of SAFEMOON Tokens increased
     14 from $0.00000039 to $0.00000157 ‒ i.e., it more than quadrupled.
     15        178.   Over the next 10 days, the trading volume for the SAFEMOON Tokens
     16 began to die down. Despite the continued promotional activities by the Company
     17 and the Executive Defendants, the trading volume dropped from $43.9 million on
     18 April 5, 2021 to an interim low of only $8.9 million on April 15, 2021. Nevertheless,
     19 the Promotor Defendants and the Executive Defendants continued their scheme
     20 misleadingly promoting the SAFEMOON Tokens.
     21        179.   For example, on April 5, 2021, the Company’s official Twitter account
     22 announced that the SAFEMOON Tokens would be listed and tradable on Bitmart, a
     23 digital asset exchange, that same day. The Company failed to disclose that unlike
     24
          74
     25      @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
        p/CNPSNJOn4oH/?utm_source=ig_web_copy_link: “Q3 Now where cooking.
     26          .”
        75
             Id.
     27 76
             @safemoonhq, Instagram (Apr. 4, 2021), https://www.instagram.com/
     28 p/CNPSJOLHKcC/?utm_source=ig_web_copy_link: “Q4 Who knows this might be
        merged into Q3    .”
                                        42
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      1 other exchanges, Bitmart would send the automatic 5% transaction fee that normally
      2 goes to the liquidity pool directly to Karony via the Karony Wallet 1. According to
      3 transactions on the blockchain, Karony Wallet 1 has received approximately
      4 $15 million in Tether from the Bitmart exchange. In other words, instead of
      5 depositing funds into liquidity pools ‒ as promised ‒ the Company and Karony
      6 siphoned those funds for themselves.
      7        180.    When this fact was later disclosed in a YouTube video published on
      8 April 18, 2022, the price of SAFEMOON Tokens fell by 25%. The same YouTube
      9 channel subsequently released videos elaborating on the Company’s seizure of funds
     10 that were represented to have been locked in liquidity pools on April 21, 2022, and
     11 April 28, 2022. These videos also disclosed that Nagy had withdrawn millions of
     12 dollars in SAFEMOON Tokens from liquidity pools starting as early as March 5,
     13 2021 ‒ something that would have been impossible if the pools were “locked.” The
     14 net effect of these disclosures was stark: the price of SAFEMOON Tokens fell by
     15 more than 30% between April 17, 2022 and April 29, 2022.
     16        181.    Undaunted, Defendants continued the scheme to promote Safemoon in
     17 order to continue to bring in the liquidity needed to sell off their portions of the Float.
     18 For example, on April 6, 2021, Keem was on Twitter promoting Safemoon to his
     19 millions of followers and advising investors to “HODL da #SAFEMOON” because
     20 “12 months from now looks good.”77 He also tweeted that day: “if you notice the
     21 amount of coins are different that’s because you gain more #safeMoon coins by
     22 holding. It’s kind of like dividends.” Two days later, on April 8, 2021, the Keem
     23 Wallet received 100 billion SAFEMOON Tokens from Ben Philips’ Wallet. Less
     24 than five hours later, over the course of two transactions Keem sold all of those
     25 tokens, plus 30 billion more SAFEMOON Tokens that Keem had previously been
     26 given by the Deployer Wallet, for approximately $118,000 in Wrapped BNB tokens.
     27
          77
     28       Keem (@KEEMSTAR), Twitter (Apr. 5, 2021), https://twitter.com/
          KEEMSTAR/status/1379288040041017347.
                                          43
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      1 Keem did not disclose any financial relationship or promotional payments that he
      2 received from SafeMoon and/or Philips. Similarly, Keem did not disclose that he
      3 was not looking “12 months from now” at the long-term growth prospects for
      4 Safemoon but rather was planning on selling (and did) at the first opportunity. Keem
      5 has reportedly admitted previously to “scamming people with crypto coin.”78
      6        182.   On April 7, 2021, the official SafeMoon Twitter account posted a video
      7 from Karony, wherein he provided an update “on all our progress.79 In particular,
      8 Karony stated that SafeMoon was in the middle of a two-part process of creating its
      9 own cryptocurrency exchange.         The first part would be the creation of a
     10 SAFEMOON wallet. Karony advised investors that the Company was working on
     11 a “designated wallet” which “would be a better place for you to hold your
     12 SAFEMOON [Tokens].”80 The second part would be for the Company to create the
     13 exchange itself. According to Karony, the Company’s developers were in the
     14 process of using the “most innovative” features for the exchange, including creating
     15 a sub-exchange for non-fungible tokens (“NFTs”).81
     16        183.   The following day, both the Company and Karony posted on social
     17 media that “400 TRILLION TOKENS BURNT GONE! NEVER COMING
     18 BACK.”82
     19
     20
     21
     22   78
                See https://www.youtube.com/watch?v=aQ5OirKhC2k. (last visited Jun. 28,
     23   2022).
          79
                @SafeMoon 2.0        , Twitter (Apr. 7, 2021), https://t.co/zB7NPJcfyx:
     24   “Update from our CEO @CptHodl as he talks over the next moves for
          #SAFEMOON future and current and touches on exciting projects in the works.
     25          .”
          80
     26         Id.
          81
                Id.
     27   82
                Karony (@CptHodl), Twitter (Apr. 8, 2021), https://t.co/yWNdDIMS3k:
     28   “400 Trillion! Wow #SAFEMOON #FairLaunch #DeFi”; “400 TRILLION
          TOKENS BURNT GONE! NEVER COMING BACK #SAFEMOON                            .”
                                               44
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      1        184.   On April 10, 2021, the Company’s Twitter account published the
      2 following post:83
      3
      4
      5
      6
      7
      8
      9        185.   Karony replied to the Company’s boastful post about how it planned to
     10 reveal SafeMoon’s “boldest innovation yet” with a single word reference to
     11 “Cryptonomics,” i.e., the SAFEMOON Token’s tokenomics.84
     12        186.   Apparently realizing that the Company’s ability to reach new and
     13 unsuspecting investors for the purpose of luring them into purchasing SAFEMOON
     14 Tokens was decreasing rapidly, the Executive Defendants went back to what worked
     15 previously: celebrity endorsements. In an effort to inflate trading volume back up
     16 again, and ultimately facilitate the sale of their portion of the Float, the Executive
     17 Defendants and the Company went on to recruit new celebrities to act as promoters
     18 for the SAFEMOON Tokens. These efforts were once again successful and would,
     19 in short order, exponentially increase the trading volume for the SAFEMOON
     20 Tokens.
     21        187.   For example, on April 17, 2021, musician and producer, DeAndre
     22 “Souja Boy” Cortez Way, announced to his 5.4 million followers on Twitter that he
     23 had a public address for SAFEMOON tokens. Notably, around this time, Way
     24
          83
               @SafeMoon 2.0       , Twitter (Apr. 10, 2021), https://twitter.com/safemoon/
     25 status/1380886849850376194: “Tomorrow we reveal quite possibly our boldest
        innovation yet. A lot of you know #SAFEMOON Exchange has been our vision
     26 since the beginning, so we invite you to join our CEO as he discusses why this may
        be one of the biggest moves within crypto space to date.”
     27 84
               Karony (@CptHodl), Twitter (Apr. 10, 2021), https://twitter.com/CptHodl/
     28 status/1380887019304411136?cxt=HHwWgICzybDb8qkmAAAA:
        ““Cryptonomics.””
                                                 45
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      1 inadvertently disclosed that he was receiving incentive payments to promote a very
      2 similar crypto project called SaferMars: “They raising 240k, if they raise it after you
      3 tweet – will get you 24k.”85 Way has a dubious history when it comes to previous
      4 similar promotional activities.86
      5        188.   Keem was also active on social media on April 17, 2021, announcing
      6 to his Twitter followers that “#SafeMoon is flying right now!” and that he regretted
      7 not putting his extra spending cash “into more #Safemoon Rocket[s]” instead of his
      8 friend and fellow Promoter Defendant, Jake Paul’s pay-per-view boxing match
      9 taking place that day.
     10        189.   On April 18, 2021, SafeMoon representative, Witriol, bragged about
     11 the Company’s marketing success (of which he was a key contributor) specifically
     12 in California. In particular, Witriol posted a screenshot indicating that the hashtag
     13 “#SAFEMOON” was “Trending in California” on Twitter with almost 99,000 posts.
     14 In the accompanying message, Witriol, among other statements promoting
     15 SAFEMOON Tokens in California, used the same misleading promotional phrase –
     16 “#safemoonisthenewdogecoin – that McCollum had previously used to promote the
     17 SAFEMOON Tokens. The entire message87 is as follows:
     18
     19
     20
     21
     22   85
               https://www.coindesk.com/policy/2021/05/27/soulja-boy-tells-em-he-got-paid-
     23   to-tweet/. (last visited Jun. 28, 2022).
          86
                 See, e.g., Tarply Hitt, Rapper Souja Boy Owns up to (Some of) His Wild
     24   Scams: ‘I Was Always Tricking People’, DAILY BEAST (Sept. 18, 2019),
          https://www.thedailybeast.com/rapper-soulja-boy-owns-up-to-some-of-his-wild-
     25   scams-i-was-always-tricking-people (detailing Way’s long history of misleading
          and “scamming” consumers).
     26   87
                 Witriol (@ShaunWitriol), Twitter (Apr. 18, 2021), https://t.co/CfuLibxpLe:
     27   “     #safemoon This is only in California! Let’s get this going across the     !
          Together we can do it all! You guys are amazing!                 #safemoonfamily
     28   #safemooncommunity #safemoonisthenewdogecoin #doge #bnb #binance #btc
          #bitcoin #cryptocurrency #usa #safemoonarmy.”
                                                   46
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      1
      2
      3
      4
      5
      6
      7
               190.    That same day, Keem urged investors to “CHECK YOUR
      8
          #SAFEMOON RIGHT NOW!” because the “price is going through the damn roof!,”
      9
          cheering them on “bro we’re rich!”88 Keem went on to state: “Truly believe in
     10
          #SAFEMOON & not for this quick          boom. I’m long. People at @safemoon are
     11
          doing some much good stuff. Love the roadmap. Huge community already. Feels
     12
          like the start of something huge. In a world of 100,000 new crypto coins. This one
     13
          sticks out!”89
     14
               191.    On April 20, 2021, Way again promoted SafeMoon to his followers and
     15
          potential investors on Twitter.90 Way did not disclose any financial relationship or
     16
          promotional payments that he received from SafeMoon.
     17
               192.    These celebrity promotions paid off. Between April 17, 2021 and April
     18
          20, 2021, the price of SAFEMOON Tokens increased from $0.00000155 to
     19
          $0.00001180 ‒ i.e., by more than tenfold.
     20
               193.    On April 21, 2021, the Company itself joined in the promotion of
     21
          SAFEMOON Tokens, posting the proclamation on Twitter:91
     22
     23
          88
               Keem (@KEEMSTAR), Twitter (Apr. 18, 2021), https://twitter.com/
     24 KEEMSTAR/status/1383976698098507785.
        89
     25        Keem (@KEEMSTAR), Twitter (Apr. 18, 2021), https://twitter.com/
        KEEMSTAR/status/1383938130835775489.
     26 90     Way (@souljaboy), Twitter (Apr. 19, 2021), https://twitter.com/souljaboy/
        status/1384095418376613893?lang=en: “Safemoon.”
     27 91
               @SafeMoon 2.0     , Twitter (Apr. 21, 2021), https://twitter.com/safemoon/
     28 status/1384759982831374337:  “Rome wasn’t built in a day, #SAFEMOON was.
            .”
                                              47
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               194.     The Company also posted, and Haines-Davies reposted on his personal
      7
          Twitter account, the following message92 downplaying the drop in the price of the
      8
          SAFEMOON Token from the preceding day and encouraging new retail investors
      9
          to purchase SAFEMOON Tokens:
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               195.     This price drop was caused by insider and promoter sales, and by the
     17
          release of a report from Obelisk, which published a research paper that day titled
     18
          “Can You Trust SafeMoon?”93 After noting that “SafeMoon was advertised as ‘anti-
     19
          rugpull’ and as having its liquidity locked for 4 years,” the paper explained:
     20
                  With the massive market capitalization that SafeMoon has amassed, the
     21
                  reflected fees that ended up being added in liquidity have also come to
     22
                  be worth a lot. One of the main issues with the whole project is that
     23
                  while users are [led] to believe that the Liquidity Provider tokens
     24
     25
     26   92
               @SafeMoon 2.0        , Twitter (Apr. 21, 2021), https://twitter.com/safemoon/
        status/1384897219137056780: “That wasn’t a dip today . . . we went back to earth
     27     for a bigger rocket        and more passengers       #SAFEMOON.”
        93
     28        https://obelisk.medium.com/can-you-trust-safemoon-bf2b2db76d16.          (last
        visited Jun. 28, 2022).
                                                 48
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      1           (essentially the receipt for having provided liquidity) are in fact locked
      2           and inaccessible from the founders, the exact opposite happens.
      3 (Id.)
      4        196.     In particular, Obelisk found that SafeMoon can do “anything it wanted
      5 at any time” with SAFEMOON Tokens that were supposedly locked in liquidity
      6 pools. In other words, contrary to its prior representations, SafeMoon did not “lock”
      7 SAFEMOON tokens in liquidity pools; SafeMoon could withdraw those tokens as
      8 it pleased.
      9        197.     In response to concerns from investors, on April 21, 2021, Karony
     10 stated in a series of all-caps tweets: “THE LP LOCK IS NOT AUTOMATIC BUT
     11 AUTOMATED. AUTOMATED AND AUTOMATIC ARE NOT THE SAME
     12 THING.         THIS IS ONE FOR BOTH SECURITY AND LONGEVITY OF
     13 #SAFEMOON. WE ARE FOCUSED ON THE FUTURE, AND UNDERSTAND
     14 THAT SITUATIONS ARISE WHICH MAY REQUIRE THE USE OF THE LP.
     15 USES          INCLUDE:          SEEDING     OTHER      EXCHANGES         AND      DEX’S,
     16 DEVELOPMENT COSTS OF FUTURE SAFEMOON INNOVATIONS.”
     17 (Arriaga likewise admitted, in a June 2, 2021, YouTube video, that SafeMoon
     18 intentionally decided not to lock the liquidity pools because it wanted to maintain
     19 flexibility to use those funds for other purposes.94 There can, accordingly, be no
     20 doubt that SafeMoon did not in fact “lock” the liquidity pools.)
     21        198.     On the news that SafeMoon’s team could in fact draw on the liquidity
     22 pools, the price of SAFEMOON Tokens fell to $0.00000641 by the end of the day
     23 on April 21, 2021, and further to $0.00000376 by the end of the day on April 22,
     24 2021. This represented a 72.95% decrease in price from the high on April 20, 2021.
     25        199.     On      April     22,     2021,    Witriol     again     promoted      the
     26 “#safemoonisthenewdogecoin” hashtag on his Twitter account, advising investors to
     27
          94
     28         https://www.youtube.com/watch?v=rB1m7NiaekA. (last visited Jun. 28,
          2022).
                                              49
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      1 not sell their SAFEMOON Tokens because the severe price drop that occurred that
      2 same day was “all a part of the process! Sit back and relax!”95 As noted above,
      3 Witriol’s post then made reference to a 1990s rap song (with an attached clip of the
      4 music video for added emphasis) with a parody of the lyrics: “We #hodl they hatin’
      5 patrolling, trying to catch me ridin’ dirty” in an apparent effort to: (1) dismiss any
      6 legitimate criticisms of the Company or those involved in the project; and
      7 (2) reassure investors and the “#SafeMoonCommunity” that the SAFEMOON
      8 Tokens were still a good investment. The following is the post in its entirety (with
      9 a still shot of the GIF that Witriol attached to his post):96
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     17
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     19
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     21
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     23
     24
     25
          95
              Witriol (@ShaunWitriol), Twitter (Apr. 22, 2021), https://t.co/
     26 BcGzO7Vhwq: “Hey #SAFEMOON It’s all a part of the process! Sit back and
        relax! “We #hodl they hatin’ patrolling, trying to catch me ridin’ dirty”
     27 #SafeMoonCommunity #safemoonarmy #safemoonisthenewdogecoin #BNB
        #BSC.”
     28 96
              Id.
                                               50
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      1        200.   The trading volume for the SAFEMOON Token exploded as a result of
      2 promotional activities of Way, Witriol, and Keem on Twitter and the Company’s
      3 announcements around the same time. On April 17, 2021, the volume reached
      4 $17.5 million – approximately 70% higher than the previous day.97 On April 18,
      5 2021 (i.e., the same day that Witriol made statements about SAFEMOON’s
      6 popularity in California specifically) the trading volume jumped another 36% up to
      7 $23.9 million.98 Then on April 19th, that volume more than tripled, reaching
      8 $68.8 million.99    Over the following three days, the Company’s continued
      9 promotions pushed the trading volume for SAFEMOON Tokens exponentially
     10 higher. On April 20, 2021, the volume jumped to $144.7 million, with it increasing
     11 further to $173.3 million on April 21, 2021, and then temporarily peaking at
     12 $191.6 million on April 22, 2021.
     13        201.   Ultimately, the promotional efforts by the Company, Keem, Way, and
     14 Witriol, caused a staggering 1,691% increase in trading volume between April 16,
     15 2021 and April 22, 2021. During this same time, Defendants used the increased
     16 volume as exit liquidity to sell off their own SAFEMOON Token holdings. For
     17 example, on April 19, 2021, the Keem Wallet received 16.7 billion SAFEMOON
     18 Tokens from the Dev Wallet and then promptly sold those tokens on April 21, 2021,
     19 along with others Keem had originally received from the Dev Wallet.100 Keem
     20 received approximately $885,252 worth of Wrapped BNB in this transaction.
     21 Notably, only three days earlier Keem had told investors that he was “long” on
     22 Safemoon. Similarly, between the 16th and 22nd of April 2021, Phillips sold around
     23
     24
     25   97
              https://coinmarketcap.com/currencies/safemoon/historical-data/. (last visited
        Jun. 28, 2022).
     26 98
              Id.
     27 99
              Id.
        100
     28       In total, the Keem Wall sold 192,833,148,674 SAFEMOON Tokens on April
        21, 2021.
                                                51
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      1 885 billion tokens for around $8 million in Wrapped BNB.101 These sales exerted
      2 downward pressure on the price of SAFEMOON Tokens.
      3     202.      The day following this massive uptick in trading volume and interest in
      4 the SAFEMOON Token, April 23, 2021, the Company sought to continue the
      5 momentum and announced “NEW EXCHANGE ABOUT TO DROP! Hold on!”102
      6 Karony later endorsed this post with a reply saying “Yes.”103
      7     203.      This promotion apparently worked. On April 27, 2021, the Company
      8 announced it had reached it had raised enough capital from investors to fund the
      9 long-promised SafeMoon exchange.
     10     204.      During the same time, on April 24, 2021, the Company quietly created
     11 a second liquidity pool (“version two” or “V2”) for the purpose of facilitating BNB
     12 token and SafeMoon token swaps.
     13     205.      On May 1, 2021, Karony advised SAFEMOON Token investors about
     14 an “update” on the status of the SAFEMOON wallet. Karony teased “all the
     15 features” that were available on the wallet and promised to show the user interface
     16 to investors. Karony also gave a “new hint” about the wallet, namely that the wallet
     17 was “a component of Operation Pheonix.”104
     18     206.      In addition to using the celebrity power of the Promoter Defendants,
     19 the Executive Defendants sought to instill confidence in investors by pointing to an
     20
     21
          101
               https://bscscan.com/token/0x8076c74c5e3f5852037f31ff0093eeb8c8add8d3
     22 ?a=0xa66800b4cca86a26d6096a5e2eb0784205aedcb8 (last visited June 28, 2022).
        102
     23        @SafeMoon 2.0          , Twitter (Apr. 23, 2021), https://twitter.com/
        safemoon/status/1385695682665881601?s=20&t=TiHysl-LrvOAIcJW4uBntQ.
     24 103    Karony (@CptHodl), Twitter (Apr. 23, 2021), https://twitter.com/
        CptHodl/status/1385696422889246728?s=20&t=TiHysl-LrvOAIcJW4uBntQ.
     25 104
               Karony (@CptHodl), Twitter (May 1, 2021), https://twitter.com/CptHodl/
     26 status/1388543343194484737?cxt=HHwWgsC55Yq0jMUmAAAA:                     “Looking
        forward to tomorrow’s update on the wallet. We cannot go into all the features, but
     27 we will be showing the UI to you. New hint: the wallet is a component of Operation
        Pheonix.         #SAFEMOONARMY #SAFEMOON #Evolution”; Smith
     28 (@papacthulu),     Twitter (May 3, 2021), https://twitter.com/papacthulu/status/
        1389320201699794951?s=20&t=ag5TXmcQakZZcLhD4-Kn_w.
                                               52
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      1 audit it had conducted from a Singapore-based company, CertiK.105 The audit report
      2 created by CertiK (the “CertiK report”) on May 3, 2021, discovered that the
      3 Company’s developers had built an “addLiquidity function” into the SafeMoon
      4 protocol to reward a single “_owner” address with significant sums of SAFE tokens
      5 over time. According to the CertiK report: “As a result, overtime the _owner address
      6 will accumulate a significant portion of LP tokens” (worth approximately $2.6
      7 billion in May 2021).106 “If the _owner is an EOA (Externally Owned Account),
      8 mishandling of its private key can have devastating consequences to the project as a
      9 whole.”107
     10     207.      Nasdaq explained the significance of this finding: “[a]n owner address
     11 will acquire the liquidity pool tokens generated by the Safemoon-BNB pool,” which
     12 “gives the owner control over tokens funded by Safemoon’s seller fee.”108 In other
     13 words, the Company and the Executive Defendants had access to tokens supposedly
     14 locked in liquidity pools.
     15     208.      As Jasper Lawler, head of research at London Capital Group to the
     16 Financial Post, noted in an article in the International Business Times, “The manual
     17 burns, alongside the [C]ompany having a pretty large stake in the [SAFEMOON
     18 Tokens], just speaks to me of a manipulation risk. Whenever there’s some sort of
     19 mechanism to stop selling, that’s a bit of a warning sign.”
     20     209.      Another cryptocurrency blog described the problem with the manual
     21 burns as follows: “the creators [i.e., the Executive Defendants] can choose to burn
     22 as much of the coin as they want, whenever they want, as this is basically like
     23 trusting the US government not to over inflate the currency. Yes, they have the
     24
     25
          105
              https://www.certik.com/projects/safemoon (last visited June 28, 2022).
     26 106
              Id.
     27 107
              Id.
        108
     28       https://www.nasdaq.com/articles/should-you-or-anyone-buy-safemoon-2021
        -05-29.
                                               53
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      1 power to no over inflate the US dollar, but do they use it? Not always. See the
      2 problem?”
      3     210.      CertiK suggested that the project could mitigate that risk by assigning
      4 such privileged roles to multisig wallets, introducing a DAO, and even time-locking
      5 the centralized wallet. CertiK reported that the Company nevertheless rejected that
      6 advice. Instead, the Company provided a statement to CertiK indicating that the
      7 Executive Defendants would not pull funds from the liquidity pools, even though
      8 they could technically pull those funds:
      9         In regards to owner control, we are a fair launch governed by a central
     10         board which is subject to governmental regulations and law. We are a
     11         legally registered entity in accordance to the law and jurisdiction in
     12         which we operate. SafeMoon is very different from other projects, and
     13         our differences provide more security for the community vs.
     14         anonymous teams and projects. Risks in regard to “rug pulls” or
     15         anything else is mitigated due to the fact that every member of
     16         SafeMoon would be subject to litigation and likely a swift prison
     17         sentence. Additionally, outside of the law, our social lives would be in
     18         ruin, and we would not be able to show our faces in public again, let
     19         alone get another job. This should be taken into account when looking
     20         at the SafeMoon project as a whole.109
     21     211.      Around this time, moreover, the Company misleadingly tweeted that it
     22 had been “approved” by CertiK.
     23     212.      On or about May 5, 2021, the Company, via its Reddit social media
     24 account, took in funds raised from “the community” to pay for multiple billboards
     25 that promoted the SAFEMOON Tokens as the “World’s Fastest Growing
     26
     27
     28   109
                https://www.certik.com/projects/safemoon. (last visited Jun. 28, 2022).
                                                 54
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      1 Cryptrocurrency” with the “Fastest Growing Crypto Community on Earth.” The
      2 following picture was posted on the Company’s Reddit account “r/SafeMoon”:110
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            213.      On May 10, 2021, the Company’s official Twitter account posted a
     16
          video showing a different six-story billboard display with a SafeMoon advertisement
     17
          with the caption: “#SAFEMOON has landed in Times Square! Thanks to the
     18
          community who raised the funds to make this possible, we are overwhelmed with
     19
          the billboard action across the globe . . . the message is strong. #SAFEMOON
     20
          ARMY.”111
     21
            214.      The trading volume of SAFEMOON Tokens saw a significant increase
     22
          following the Company’s promotional efforts, rising over 46% from $136.2 million
     23
     24
     25   110
               @u/onadrifft. SAFEMOON AT TIMES SQUARE, NEW YORK                             ,
        Reddit     (May       5, 2021),       https://www.reddit.com/r/SafeMoon/comments/
     26 n5bkvi/safemoon_at_times_square_new_york/.
        111
     27        @SafeMoon 2.0          , Twitter (May 10, 2021), https://t.co/yAb0i78OnG:
        “        #SAFEMOON has landed in Times Square! Thanks to the community who
     28 raised the funds to make this possible, we are overwhelmed with the billboard action
        across the globe . . . the message is strong. #SAFEMOONARMY.”
                                                   55
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      1 on May 9, 2021 to $199.3 million on May 10, 2021.112 While this spike in volume
      2 was occurring, Defendants were selling. For example, Keem sold 45.9 billion for
      3 approximately $334,232 over the course of four transactions on May 9, 2022.
      4     215.     On May 13, 2021, Paul promoted SAFEMOON Tokens in an exchange
      5 he had with Grammy award winning rapper Juicy J on Twitter:113
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     13     216.     Then on May 15, 2021, Paul bragged about his earlier promotion of the
     14 SAFEMOON Tokens:114
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     21     217.     On May 15, 2021, Phillips promoted the SAFEMOON Tokens in a
     22 now-deleted post on Twitter by bluntly stating, “YES I HOLD #SAFEMOON NO
     23 SHIT! I ALSO HOLD . . . . (not holding advice).”115
     24
          112
               https://www.certik.com/projects/safemoon (last visited Jun. 28, 2022).
     25 113
               Paul (@jakepaul), Twitter (May 13, 2021), https://twitter.com/jakepaul/
     26 status/1392962577714528256?lang=en:       “@therealjuicyj YOU SAY NO TO
        SAFEMOON JUICY J CANT CANT CANT.”
     27 114    Paul (@jakepaul), Twitter (May 15, 2021), https://twitter.com/jakepaul/
        status/1393719812547878913?lang=en.
     28 115
               See fn.14, supra.
                                                56
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      1     218.      Paul’s promotional activities created a corresponding increase in people
      2 trading the SAFEMOON Tokens. In particular, the trading volume of SAFEMOON
      3 Tokens that spiked as a result of the promotional efforts of both the Company and
      4 Paul went from $123 million on May 12, 2021 to $152.7 million on May 13, 2021
      5 (+24%). Then, following a steep drop off in trading volume on the next trading day,
      6 Paul’s May 15th tweet pumped the trading volume up again from $36.6 million on
      7 May 14, 2021 to $51.7 million on May 15, 2021 (an increase of 41% from the
      8 previous day).
      9     219.      On May 16, 2021, Karony tweeted that the Company was preparing to
     10 start a new project called “Operation Pheonix” in the Gambia. According to Karony,
     11 the Company was in talks with the Gambia for government approval of SafeMoon.116
     12     220.      Upon information and belief, this entire trip to the Gambia was a farce
     13 orchestrated by Karony, with the assistance of his parents, to increase the perceived
     14 status of SafeMoon and increase the trading volume in SAFEMOON Tokens.
     15     221.      On May 18, 2021, Promoter Defendant Portnoy, founder of the
     16 Barstool Sports blog, posted a video promoting the SAFEMOON Tokens. Portnoy
     17 posted the same video to his 2.6 million followers on Twitter. This promotion was
     18 watched by at least 1.5 million people the day Portnoy posted it online and was
     19 featured on Fox Business the following day. In the video, Portnoy recommended to
     20 his followers: “If it is a Ponzi, get in on the ground floor. To the Moon, safely we
     21 go.” He further discloses that he had purchased $40,000 in SAFEMOON Tokens
     22 and that “he will not sell in the near future.” Within an hour of Portnoy’s post, the
     23 price of SAFEMOON Tokens rose about 18%. Portnoy tweeted later that day: “Ps
     24 - #safemoon is up 25% since I adopted it” and “Rules of #SAFEMOON”: “Always
     25 tell people you bought it,” “Never sell it,” “Get pucks in deep,” and “Make memes.”
     26
          116
     27        Karony (@CptHodl), Twitter (May 16, 2021), https://twitter.com/CptHodl/
        status/1394051218293538827?s=20&t=lqpTdy. M2xWE4M69nsVxoRA: “There’s
     28 so much excitement around Operation Pheonix, I wanted to recap that we are
        working to the ongoing conversations about SafeMoon in The Gambia.”
                                               57
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      1     222.      The same day, Portnoy stated that he was looking into having his
      2 company, Barstool Sports, accept SAFEMOON Tokens. Portnoy was criticized for
      3 his promotion of SAFEMOON Tokens, by well-known finance/social media
      4 personality WSBChairman: “You are one of the biggest financial influencers in the
      5 world. People can lo[]se their homes or lives from the shit you’re promoting.”117
      6 Portnoy dismissed the criticism and posted a video imitating his critics as crying and
      7 stated: “Yo, buddy. Get yourself fucking together. I didn’t fucking say anything.
      8 Why so like fucking mean and crying like a baby.”
      9     223.      Portnoy’s promotional video was massively successful in increasing the
     10 trading volume of the SAFEMOON Tokens. In particular, the trading volume of
     11 SAFEMOON Tokens soared over 650% in a single day as a result of Portnoy’s
     12 efforts, going from $29.9 million on May 18, 2021 to $226.4 million on May 19,
     13 2021.118 On May 19, 2021, Portnoy reiterated in a now deleted tweet: “I’m in it for
     14 the long haul anyway. #DiamondHands.” He would similarly state on May 23, 2021
     15 on Twitter: “I only buy. Never sell.”119
     16     224.      On or about May 20, 2021, Ginger resigned his moderator position with
     17 the Company in order to join on a separate cryptocurrency project that Smith, Wyatt,
     18 Church, and Nagy were working on: the Piggy Token. In particular, Ginger was
     19 invited to serve as the moderator for the soon-to-be-formed social media account for
     20 the Piggy Tokens. Ginger took the position and worked with Smith, Wyatt, and
     21 Nagy for months before eventually leaving after accusing Smith and Nagy, in
     22 particular, of defrauding Piggy Token investors (and himself).
     23
     24
     25   117
             https://twitter.com/WSBChairman/status/1394431354021027840?s=20&t=
     26 auD5a5qR2oSethxyHYYQ3A.         (last visited Jun. 28, 2022).
        118
             https://bscscan.com/token/0x8076c74c5e3f5852037f31ff0093eeb8c8add8d3
     27 ?a=0xa66800b4cca86a26d6096a5e2eb0784205aedcb8. (last visited June 27, 2022).
        119
     28      https://twitter.com/stoolpresidente/status/1396534971813318660?s=20&t=
        BP8McMV7rZe9LfhBpXeKnw.
                                                  58
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      1     225.      On May 22, 2021, an auditing company, HashEx, published an audit
      2 report on the Company’s smart contracts that was created for a SAFEMOON Token
      3 investor (the “HashEx report”).120 The stated purpose of the audit was to “identify
      4 potential security issues with smart contracts” and “formally check the logic behind
      5 given smart contracts.”121 The HashEx report ultimately found the Company’s smart
      6 contracts had two “critical” and three “high” severity security issues/vulnerabilities
      7 with the SAFEMOON Token that could be exploited for fraudulent purposes. The
      8 HashEx report defines an issue as critical “if it may cause unlimited losses or breaks
      9 the workflow of the contract and could be easily triggered.” High severity issues are
     10 defined as those that “may lead to limited losses or break interaction with users or
     11 other contracts under very specific conditions.” One of the critical severity issues
     12 that the HashEx report identified was related to SafeMoon’s “Ownable contract.”
     13 Notably, as part of the analysis of this critical severity vulnerability, the HashEx
     14 report disclosed that the SAFEMOON Token contract was merely a modified
     15 version of another, publicly available Ownable contract from OpenZepplin.122
     16     226.      Around the same time, commentators began to raise concerns that
     17 SafeMoon was a Ponzi Scheme. For example, on May 19, 2021, Fortune noted:
     18 “Critics, though, have taken aim at SafeMoon, saying the team that owns it owns the
     19 majority of the liquidity and have likened it to a Ponzi scheme.”123 The same day,
     20 an article on Protos stated: “But what SafeMoon resembles most is the crypto-
     21 powered Ponzi games once popular on Ethereum, like Proof-of-Weak Hands 3D
     22 (PoWH3d). These games ‒ which are now bleeding into the Binance Smart Chain
     23
     24
          120
               Polly Traore, Safemoon smart contract audit report, HASHEX (May 22,
     25 2021),      https://blog.hashex.org/safemoon-smart-contract-audit-report-8e4b843a3
        75d.
     26 121
               Id.
     27 122
               Id.
        123
     28        https://fortune.com/2021/05/19/crypto-crash-safemoon-price-fluctuations-
        volatility-cryptocurrency/. (last visited Jun. 28, 2022).
                                                   59
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      1 ecosystem ‒ are designed to mimic real-life Ponzi schemes.”124 An article from May
      2 30, 2021, in Entrepreneur likewise observed:
      3         SafeMoon has also been compared to Bitconnect, which turned out to
      4         be nothing but a Ponzi Scheme, where any profits made in the future
      5         would be based on someone paying more for the token than you did
      6         further down the line. This would mean that early adopters would be
      7         the main beneficiary of the system, leaving only the scraps for late
      8         joiners. As cryptocurrency investor and influencer Lark Davis said:
      9         “Remember, just because you make money off a Ponzi does not change
     10         the fact that it is a Ponzi.”125
     11     227.       Shortly after the HashEx report was released, and as criticism of
     12 SafeMoon was mounting, Arriaga began working on the Company’s behalf. While
     13 he officially joined the Company as its Global Head of Products in July 2021,
     14 Arriaga had been operating as an undisclosed promotor of the SAFEMOON Tokens
     15 prior to taking on this titled position. Arriaga, using “The Fud Hound” as a
     16 pseudonym,126 worked as the de facto public relations/damage control officer for the
     17 Company since at least May 24, 2021.127
     18     228.       Arriaga’s primary job was to attack and discredit anyone publicly
     19 spreading fear, uncertainty, or doubt (aka “FUD”) about the Company or the
     20 SAFEMOON Tokens.
     21     229.       On May 24, 2021, Arriaga created “The FUD Hound” YouTube page.
     22 Although he explained his channel was to be “dedicated to exposing opportunists
     23
          124
               https://protos.com/safemoon-fbi-ties-ponzi-games-crypto-protocol-dave-
     24 portnoy-shill/ (last visited Jun. 28, 2022).
        125
     25        https://www.entrepreneur.com/article/372691 (last visited Jun. 28, 2022).
        126
               Upon information and belief, Arriaga also used the username
     26 “u/Influencer_CEO_Techy” as another alias to anonymously promote and hype the
        SAFEMOON Tokens to users on the social media platform, Reddit.
     27 127
               The Safemoon Hound (@TheFudHound), Twitter (May 24, 2021),
     28 https://twitter.com/TheFudHound/status/1396917364642385920?cxt=HHwWgMC
        swaS87OImAAAA: “Thank you               .”
                                                   60
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      1 and shillers of FUD,” his videos were nothing more than promotions of
      2 SAFEMOON Tokens that sought to rebut specific criticisms of the Company.
      3 Indeed, each of Arriaga’s six videos as “The FUD Hound” concerned SafeMoon.
      4     230.      On May 24, 2021, Arriaga uploaded an approximately 30-minute video
      5 titled “Safemoon Reedemed! [sic]”128 The video’s description also provided the
      6 following statement from Arriaga:
      7         Safemoon FUD is the newest desperation tactic that some YouTubers
      8         and opportunists are taking advantage of. Many people who scream
      9         “Ponzi Scheme” or “Scam” before doing their own research are those
     10         that can easily be discredited for their lazy and half-baked analysis. In
     11         this video is an example of such.
     12         Remember, there are YouTube opportunists everywhere, most will ride
     13         a trend or movement to which they know nothing about in order to get
     14         views and hopefully pick up some naïve subscribers along the way.
     15         They care not about the damage and destruction they cause for they are
     16         only in the game for themselves.
     17         I expose these people for who they are. Enjoy.
     18     231.      In the Safemoon Reedemed! Video, there are clips of videos from other
     19 YouTube channels warning young and naïve investors to stay away from projects
     20 like SafeMoon because it could be a scam and/or displays “Ponzi scheme”
     21 characteristics. Arriaga cynically accuses these other video creators of manipulating
     22 the emotions of investors and then proceeds to undermine those warnings in an effort
     23 to maintain positive sentiment towards the Company and the SAFEMOON Tokens.
     24     232.      In particular, Arriaga stated:
     25         My mission is to analyze and expose those that use FUD to manipulate
     26         you for their own personal gain. Now I came across this video on
     27
     28   128
                 The FUD Hound, Safemoon Reedemed!, YouTube (May 24, 2021),
          https://www.youtube.com/watch?v=ARuxp8Va0bw.
                                             61
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      1         Youtube and I was shocked at how inaccurate, sloppy, and fallacious
      2         this person’s arguments were when concerning a new popular
      3         cryptocurrency called SAFEMOON. SAFEMOON, if you haven’t
      4         heard, is absolutely killing it on the headlines and is gaining organic
      5         steam like we haven’t witnessed since Bitcoin. But with that comes a
      6         whole lot of predators and opportunists that will emerge from the
      7         shadows and ride the coattails of a movement to try to be seen and
      8         heard, no matter the damage they cause. So without further ado, let’s
      9         have a few good laughs at the discredited points this Youtuber makes
     10         regarding SAFEMOON being a Ponzi Scheme.
     11 (Id.)
     12    233.       In the video, Arriaga mocks the critic and claims that he “doesn’t
     13 understand basic finance or basic financial markets.” Arriaga proceeds to analogize
     14 SAFEMOON tokens to stocks, asserting that, like a stock, SafeMoon cannot be a
     15 Ponzi Scheme, because the value of tokens will also rise if the project succeeds:
     16         Look at any asset class in the world. You can well define it as a Ponzi
     17         scheme, however you can’t with stocks because they’re based on
     18         intrinsic value. They’re based on the intrinsic value of a company. So
     19         as the company does well and it releases features, guess what? The
     20         stock goes up. As the company does bad or has bad PR, the stock goes
     21         down. Now, just because you got into a company before IPO does that
     22         mean that you got into a Ponzi scheme? No, no, that actually doesn’t.
     23         Now you don’t need your Series A to understand this very basic
     24         concept. So when you don’t understand finance like this person right
     25         here and then you throw up a video on YouTube so you can try to ride
     26         the coattails of a movement and pick up subscribers along the way,
     27         doesn’t really make you right, it just makes you wildly inaccurate and
     28         shows that you don’t know anything about finance. . .
                                         62
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      1         I wouldn’t call SafeMoon a Ponzi Scheme because SafeMoon has
      2         intrinsic value. You can see it on the road map. Just like any other
      3         startup in the world. For example, just because I raise money for my
      4         startup based on a business plan and I have no company built yet, do
      5         you think that that the investors who invested in me are going to call
      6         me a Ponzi Scheme in the time that it takes me to actually build out a
      7         technological product or build out a product? No, they’re not going to
      8         call me a Ponzi Scheme, they’re going to say, hey, you need the capital
      9         so you can start building your vision, so you can start building those
     10         features. This is the exact same thing that cryptocurrency allows new
     11         entrepreneurs to do. They allow companies, new companies, new
     12         vision of a concept to be launched and then be built on a particular
     13         blockchain or a particular token.
     14         Now in this particular example, we’re talking about SafeMoon. And
     15         with SafeMoon, what they’ve done is they said, hey, we have a road
     16         map, thank you for investing in this coin, thank you for investing in this
     17         product. This is what we plan to get done. And everything that they’ve
     18         planned to get done, along the way, their goals have been hit. Guess
     19         what? With a Ponzi Scheme, there are no goals to be hit, there are no
     20         products to be released.
     21 (Id.)
     22    234.       With respect to SafeMoon’s 10% transaction tax (which, as noted
     23 above, is intended to discourage existing holders from selling), Arriaga states: “Let
     24 me go ahead and school [the critic] on something here. This is also a concept that’s
     25 used in the real world. It’s called stock dividends bud and it’s a redistributing stock
     26 back to holders.” (Id.)
     27    235.       At the end of the video, Arriaga further attacked the critic and issued a
     28 threat to future critics of SafeMoon:
                                         63
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      1         I was able to hop on YouTube and then find your little FUD video,
      2         trying to point fingers and call SafeMoon a Ponzi Scheme, when you
      3         don’t even have the most basic concepts of understanding about the
      4         cryptocurrency space. You see something wrong with that? People
      5         who are watching this, people like this, they push out content because
      6         they’re opportunists. They want to get follows, they want to get views,
      7         they want to pique the Youtube algorithms for their own game and it
      8         doesn’t matter what kind of damage and destruction they do to
      9         everything else. They just want to get content out there because they’re
     10         thinking about themselves. Be careful, there are FUDsters like this
     11         everywhere. And no matter who you are or where you’re from, I will
     12         find you. And I will expose you.
     13 (Id.)
     14    236.        The following day, May 25, 2021, the @TheFudHound Twitter account
     15 was created. Arriaga uploaded his first video and immediately began threatening
     16 so-called FUDsters.
     17    237.        For example, in one of his later tweets on May 25, 2021, Arriaga stated
     18 that      he   had   the   “Next   #SAFEMOON         FUDster    in   the   crosshairs.
     19 #SAFEMOONARMY will love Expose #2. The hound is on the scent, next video
     20 will be even better.”       Arriaga announced that “Project #StoptheFUD started
     21 yesterday” and threatened potential naysayers: “We are #SafeMoonCommunity
     22 think before you post misinfo because I won’t hold back.”
     23    238.        May 28, 2021, Arriaga released his next video as “The FUD Hound,”
     24 titled “Safemoon redeemed, once again.” Like his previous video, “Safemoon
     25 redeemed, once again” addresses a particular video criticizing SafeMoon:
     26         Sadly, the video I’m about to critique has almost 700,000 views at the
     27         time of this filming. That means that thousands or even hundreds of
     28         thousands of interested investors who have viewed this video and may
                                          64
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      1         be unfamiliar with SafeMoon are now influenced by bad logic and
      2         inaccurate information. This is where I clear the air and I expose those
      3         that put popularity before others and cause irreparable damage on well-
      4         meaning companies and movements because they haven’t performed
      5         their own basic research.
      6 (Id.)
      7     239.      In his video, Arriaga claims that SAFEMOON “is one of the very very
      8 few cryptocurrencies that serve to enrich the people rather than serve to enrich a
      9 small group of investors that got in early.” (Id.) To support his claim that
     10 SAFEMOON Tokens are valuable assets, he ‒ once again ‒ compares SAFEMOON
     11 Tokens to stock: “Just like Tesla, the product here is the company in which
     12 SAFEMOON coin represents, much like how a stock represents liquidity for Tesla.”
     13     240.      On May 31, 2021, the Company posted a short video to its social media
     14 accounts generally promoting the SafeMoon “TOKENOMICS” with images
     15 indicating that investors would be happy to receive the SafeMoon Reflections.129
     16     241.      In another post that day, the Company continued its efforts to promote
     17 SafeMoon’s “tokenomics” to investors, announcing that “Another exchange has
     18 enabled #SAFEMOON tokenomics.”130
     19     242.      Notably, throughout May 2021 and June 2021, as the price of the
     20 SAFEMOON Tokens were near the all-time highs, Smith continued to sell off large
     21 portions of his SAFEMOON Token holdings and/or slowly draining SafeMoon’s
     22 liquidity pool along with other Executive Defendants like Nagy and Karony. In
     23 particular, Smith sold at least over 80 billion of his pre-mined SAFEMOON Tokens
     24 for 900 BNB over this time period.
     25
     26   129
             @SafeMoon 2.0   , Twitter (May 31, 2021), https://t.co/RXFOFdpZ2C:
        “TOKENOMICS        #SAFEMOON.”
     27 130
             @SafeMoon 2.0   , Twitter (May 312, 2021), https://t.co/NNKuwT3irY:
     28 “ANOTHER   EXCHANGE    HAS ENABLED #SAFEMOON TOKENOMICS.
        @bitbns.”
                                         65
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      1     243.      Upon information and belief, one of Smith’s wallet addresses is
      2 0x05d1C1 (“Smith Wallet 1”).131 Using this wallet as a starting point, a BSCscan
      3 search of Smith’s transactions from this wallet show a series of transfers to other
      4 undisclosed wallets under his control and/or ownership.
      5     244.      For example, Smith Wallet 1 sent 100 Binance Coin (“BNB”) – upon
      6 information and belief, these BNB tokens were either siphoned from the SafeMoon
      7 liquidity pool by Smith or a part of Smith’s pre-sale SAFEMOON Tokens – to wallet
      8 address 0x05c02 (“Smith Wallet 2”).132 An hour later, Smith Wallet 2 transferred
      9 99.99 BNB to a third wallet address that has received funds from Smith several
     10 times: 0x21d45.
     11     245.      At the time of this filing, wallet address 0x05c02 has over $110 million
     12 in various Binance-pegged tokens – with almost $39 million in BNB alone.133 Much,
     13 if not all, of this money can be traced via the immutable blockchain back to Smith’s
     14 conduct as a developer and selling of SAFEMOON Tokens.
     15     246.      On June 1, 2021, the Company attempted to reassure SAFEMOON
     16 Token investors, after four consecutive days of decreasing trading volume and
     17 downward selling pressure had caused the price of the SAFEMOON Tokens to drop.
     18 In a play on investors’ emotions and feelings of goodwill, the Company published a
     19 post on Twitter that stated, “No rug pulls here,” above a picture of several puppies
     20 with photoshopped SafeMoon badges.134
     21
     22
     23
     24   131
                https://bscscan.com/address/0x05d1c1defa31c257d3206f2af99aa16dbbf05
          d46 (last visited Feb. 28, 2022).
     25   132
                https://bscscan.com/address/0x5c0c255516423b64b21e5a2c7aaa8ab6bf3d
     26   0d91 (last visited Feb. 28, 2022).
          133
                https://bscscan.com/address/0x21d45650db732ce5df77685d6021d7d5d1d
     27   a807f (last visited Feb. 28, 2022).
          134
     28         @SafeMoon 2.0         , Twitter (June 1, 2021), https://t.co/r4ZpbmEoME: “
          #SAFEMOON SECURITY REPORTING FOR DUTY!                              .”
                                                    66
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      1     247.      On June 2, 2021, Arriaga published a video titled, “Hashex Safemoon
      2 Audit DEBUNKED,” in response to the criticisms leveled in the Hashex report.135
      3 In the caption to this video, Arriaga stated:
      4         Hashex audit on Safemoon exposed in this expose. Is a SafeMoon
      5         Blockchain a possibility? I analyze a little of who Hashex is as well as
      6         their independent critical audit finds that were publicized and used to
      7         discredit SafeMoon. However, there are some holes in this logic as
      8         well as “who” Hashex is. While uncovering holes in the Hashex audit,
      9         I take you down the rabbit hole and reveal how SafeMoon has
     10         positioned itself to keep hold of its cards should they decide that a
     11         SafeMoon Blockchain is something to pursue.               SafeMoon is
     12         encountering FUD from all directions. This may be due to the
     13         immense threat SafeMoon poses to those already in power positions
     14         in the Blockchain space.
     15 [Emphasis added.]
     16     248.      In the video itself, Arriaga downplayed the findings of the Hashex
     17 report, calling it, among other things, a “cheap shot” and dismissing the audit’s
     18 finding that there was a critical issue in the code for the SAFEMOON Token that
     19 could result in the liquidity pool being drained.
     20     249.      Arriaga also stated that the Company had purposefully not “locked” the
     21 liquidity pool so that the Company would have the flexibility to deploy the capital
     22 within the liquidity pool to fund “innovative” projects instead of it being unavailable
     23 because it was locked up elsewhere.136
     24
     25   135
               Arriaga, Hashex Safemoon Audit DEBUNKED!, YouTube (June 2, 2021),
        https://www.youtube.com/watch?v=rB1m7NiaekA.
     26 136
               This statement by Arriaga demonstrates that the Company’s earlier social
     27 media   posts about having two liquidity pools locked until 2025 were misleading and
        simply meant to trick investors who were worried about the ability of insiders like
     28 the Executive and Promoter Defendants to run off with their money into believing
        that their investments in SAFEMOON Tokens were safe.
                                                  67
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      1     250.      The promotional efforts of the Company and Arriaga were successful
      2 insomuch as trading volume rose approximately 40%, from $17.8 million on June 1,
      3 2021, to $29.6 million on June 2, 2021.
      4     251.      On June 3, 2021, the Company again promoted the “tokenomics” of the
      5 SAFEMOON Tokens and promised investors that “Holding is Rewarding.”137
      6 Another Twitter post from the Company that same day indicated that investors
      7 needed to “HODL” since “WE’RE ALL IN THIS TOGETHER! #SAFEMOON.”138
      8     252.      The next day, the Company’s Twitter account resumed its efforts to
      9 reassure investors and stabilize the trading volume of SAFEMOON Tokens. In
     10 particular, the Company posted an animated video of a SafeMoon “FUD Monster”
     11 being revealed to be a rat that runs away when exposed. The caption for this post
     12 states: “FUD MONSTER IN REALITY . . . #SAFEMOON#FAMILYNOT
     13 FUD.”139
     14     253.      On June 5, 2021, Witriol was interviewed on a question-and-answer
     15 video that was uploaded to YouTube. During the interview, Witriol is identified as
     16 the “go to” person with the Company who knows “what’s going on” with
     17 SafeMoon.140 Witriol also touted the “tokenomics” of the SAFEMOON Tokens and
     18 that there is “a lot to look forward to” with the Company. He assured investors that
     19 there was a “low chance of a rug pull” because Karony would “lose his credentials”
     20 with the Department of Defense.141
     21     254.      On June 6, 2021, the Company thanked SafeMoon investors and
     22 boasted that SafeMoon was poised to increase significantly in price: “Above all
     23
          137
     24          @SafeMoon 2.0      , Twitter (June 3, 2021), https://t.co/6cvThDmJ2Y:
          “HOLDING IS REWARDING                #SAFEMOON.”
     25   138
                 @SafeMoon 2.0    , Twitter (June 3, 2021), https://t.co/U1nYcRokGu.
          139
     26          @SafeMoon 2.0      , Twitter (June 4, 2021), https://t.co/T9GHP81D87:
          “FUD MONSTER IN REALITY. . .                #SAFEMOON #FAMILYNOTFUD
     27   https://t.co/T9GHP81D87.”
          140
                 See fn.5, supra.
     28   141
                 Id.
                                                68
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      1 other projects and tokens, SafeMoon has proved one thing . . . cryptocurrency may
      2 be young but very much on route to the moon.”142
      3     255.      On June 7, 2021, Karony announced that the Company had “identified
      4 glaring security gaps with a lot of wallet providers” and was in the process of
      5 “integrating game changing encryption into the wallet.”                Karony then
      6 unambiguously declared that, “The SafeMoon wallet will be one of / if not the
      7 strongest wallets on the market. #SAFEMOON is the #Evolution!”143
      8     256.      Karony went on to state that, “[w]e have come to the conclusion that
      9 it’s just better to do things yourself,” indicating to investors that SafeMoon decided
     10 to create its own wallet due to the vulnerabilities in existing cryptocurrency
     11 wallets.144 Karony also alluded to the “crypto world” being “ironically archaic, and
     12 toxic,” and hinting that “someone” was copying SafeMoon while simultaneously
     13 trying to “cyber bully and attack” Defendants.
     14     257.      That same day, June 7, 2021, Arriaga released another so-called exposé
     15 video that attacks another YouTuber for warning investors that the SAFEMOON
     16 Tokens were a “$500 million dollar scam” and generally “shilling FUD about well-
     17 meaning companies” like SafeMoon.145
     18
     19   142
                 @SafeMoon 2.0         , Twitter (June 6, 2021), https://twitter.com/safemoon/
          status/1401617178638622724?s=20&t=4i0FP5_ox1QpuQ-AX5Otzw: “To all our
     20   loyal HOLDERS! Thank you . . . you have been there on our ups and our downs,
          #SAFEMOON is a community. . . a family. Above all other projects and tokens
     21   safemoon has proved one thing. . . cryptocurrency maybe young but very much on
          route to the moon         .”
     22   143
                 Karony (@CptHodl), Twitter (June 7, 2021), https://twitter.com/CptHodl
     23   /status/1401904812409696257?s=20&t=0JHKaogN0eltPoTdU6K_6g: “We also
          identified glaring security gaps with a lot of wallet providers. We are integrating
     24   game changing encryption into the wallet. The SafeMoon wallet will be one of / if
          not the strongest wallets on the market. #SAFEMOON is the #Evolution!”
     25   144
                 Karony (@CptHodl), Twitter (June 7, 2021), https://twitter.com/CptHodl/
          status/1401909541105774598: “We have come to the conclusion that it’s just better
     26   to do things yourself. The crypto world is ironically archaic, and toxic. Someone
          copies what you did, then repeatedly tries to cyber bully and attack you. Stop. When
     27   one wins we all win. Other tokens are not the enemy.”
          145
     28          Arriaga, Safemoon redeemed a 3rd time, YouTube (June 7, 2021),
          https://www.youtube.com/watch?v=G8QJm6_aKgw.
                                                    69
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      1     258.      These various efforts by Arriaga at damage control allowed Defendants
      2 to increase and/or stabilize the trading volume for a short period of time.
      3     259.      On June 11, 2021, Karony announced that he was “[h]appy to say [the
      4 SafeMoon team is] smashing out our internal deadlines.” Karony then hinted at
      5 imminent release dates for promised features for “the Wallet, exchange and more
      6 importantly Operation Pheonix.”
      7     260.      In another public post from the same day, the Company’s official
      8 Twitter account bragged, “WE SAID WE’D BRING YOU A SHOW! THE
      9 #SAFEMOONWALLET IS JUST THE BEGINNING . . . .”146
     10     261.      On June 13, 2021, Karony, in an apparent effort to have investors
     11 associate SAFEMOON with the popular cryptocurrency Dogecoin and its unofficial
     12 ambassador, Elon Musk, cited to the Company’s Chief Blockchain Officer, Thomas
     13 Smith, and his being “involved with the Doge Coin x SpaceX partnership.”147
     14     262.      That same day, Arriaga released a purported exposé video titled,
     15 “Crypto Genesis spreads FUD about SafeMoon – DEBUNKED,” wherein he again
     16 dismissed criticisms about SafeMoon as invalid “FUD” and threatened to expose
     17 anyone speaking negatively about the Company.148
     18     263.      On June 21, 2021, Arriaga released his sixth and final video on the FUD
     19 Hound YouTube channel, which was titled, “Matt Wallace bashes Safemoon and
     20
     21
     22   146
                 @SafeMoon 2.0      , Twitter (June 7, 2021), https://twitter.com/safemoon/
     23   status/1403431640777510916?s=20&t=HSZFEiryLjHn9PrjFQP1xw: “WE SAID
          WE’D BRING YOU A SHOW! THE #SAFEMOONWALLET IS JUST THE
     24   BEGINNING. . .         .”
          147
                 Karony (@CptHodl), Twitter (June 13, 2021), https://twitter.com/CptHodl/
     25   status/1404104687566086149?cxt=HHwWioCzncXxsPwmAAAA: “We have no
          issues with Doge Coin. Fun fact, the SafeMoon Chief Blockchain Officer was
     26   involved with the Doge Coin x SpaceX partnership. So yes, you will be able to hold
          Doge on #SAFEMOONWALLET.                That’s where I’ll be holding mine.
     27   #SAFEMOON is the #Evolution!”
          148
     28          Arriaga, Crypto Genesis spreads FUD about Safemoon – DEBUNKED,
          YouTube (June 13, 2021), https://www.youtube.com/watch?v=zSbbt_JralU.
                                                 70
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      1 then gets destroyed!” with a laughing face emoji.149 In the caption to the video,
      2 Arriaga claims that SafeMoon critic Matt Wallace’s research was “lazy and
      3 misleading.” Then, in an apparent attempt to persuade investors into ignoring
      4 Wallace’s warnings about the SAFEMOON Tokens, Arriaga attempted to whip up
      5 a mob mentality within the SafeMoon community, by encouraging them to “witness
      6 [Wallace] getting owned on a live-stream as he comes unprepared with zero facts”
      7 and to “[w]atch this epic display of failure as this FUDster gets exposed.”150
      8     264.      In July 2021, Arriaga “officially” joined the Company as its Global
      9 Head of Products.
     10     265.      On July 14, 2021, Witriol participated in an “Ask Me Anything”
     11 interview (“AMA”) wherein he made numerous statements on behalf of the
     12 Company.151 For example, in response to a question from a SAFEMOON Token
     13 investor about the Company’s prospects, Witriol stated that he was “more excited
     14 now than when I joined the team” and that investors were “gonna like what you
     15 hear” in the near future.152
     16     266.      Witriol went on to declare that he was “[m]ore bullish now than I was
     17 two weeks ago before I joined the team.”153 This statement is at odds with Witriol’s
     18 earlier comments that he was with the Company since “day one or day two” when
     19 he met with Karony.154         Upon information and belief, Witriol knew that his
     20 statements about the Company’s prospects and him only joining the Company “two
     21 weeks ago” were false when he made them. In particular, Witriol appears to have
     22
     23
          149
            Arriaga, Matt Wallace bashes Safemoon and then gets destroyed!    ,
     24 YouTube (June 21, 2021), https://www.youtube.com/watch?v=z0qVSbwSnEc.
        150
     25     Id.
        151
            SAFEMOON SHAUN WITRIOL TWITTER SPACES AMA (FULL) 7/14/21,
     26 YouTube (July 15, 2021), https://www.youtube.com/watch?v=ow0M9bh1mNE.
        152
     27     Id.
        153
            Id.
     28 154
            See fn. 5, supra.
                                              71
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      1 made the latter statement in an effort to distance himself from the Company and the
      2 other Executive Defendants.
      3     267.          Within a month of Witriol’s AMA interview and in the final weeks
      4 before the promised launch of the SafeMoon wallet (i.e., August 2021), Witriol left
      5 the Company.
      6     268.          Around the same time, the price of SAFEMOON Tokens was dropping
      7 precipitously due to immense downward selling pressure for large holders.
      8 “SafeMoon has witnessed whales dumping in large proportions from June to July
      9 2021.”155 As reported in the International Business Times article, “Mysterious
     10 SafeMoon Investor Dumps 2.4 Trillion Coins, Value Falls 28% in the Day’s Trade,”
     11 the value of the SAFEMOON Tokens dropped 28% on July 31, 2021 in “the largest
     12 sell-off for July 2021,” caused by a “domino effect of panic selling.” In response to
     13 this, Phillips took to Twitter on August 2, 2021, to talk tough to the unknown whale
     14 who        sold    the   2.4   trillion   SAFEMOON   Tokens     stating,   “F***ING
     15 IRRESPONSIBLE WHALE. . . I HOPE YOU GET HIT BY A BUS.”156 Neither
     16 the Company, nor the Executive Defendants denounced Phillips’ statement or even
     17 commented on it at all.
     18     269.          The price and trading volume for the SAFEMOON Tokens began to
     19 stabilize after the Company and the Executive Defendants began promoting the
     20 scheduled SafeMoon wallet launch more aggressively in the lead up.
     21
     22
     23
     24
          155
              Vinod DSouza, Crypto Influencer Ben Phillips Wishes Death to SafeMoon
     25 Whale: ‘I Hope you Get Hit by a Bus,’, INTERNATIONAL BUSINESS TIMES (Aug. 2,
        2021),    https://www.ibtimes.sg/crypto-influencer-ben-phillips-wishes-death-safe
     26 moon-whale-i-hope-you-get-hit-by-bus-59293.
        156
     27       See Vinod DSouza, Mysterious SafeMoon Investor Dumps 2.4 Trillion Coins,
        Value Falls 28% in the Day’s Trade,’ INTERNATIONAL BUSINESS TIMES (July 31,
     28 2021), https://www.ibtimes.sg/mysterious-safemoon-investor-dumps-2-4-trillion-
        coins-value-falls-28-days-trade-59232.
                                               72
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      1     270.      On August 14, 2021, the Company’s Twitter account posted a minute-
      2 long video advertisement for the SafeMoon wallet.157 The video told investors that:
      3                    “It’s time to get serious about the SAFEMOON wallet”
      4                    “We take intuitive design, and strive for perfection”
      5                    “The future of trading is here”
      6                    “Ease of use built for all”
      7                    “Full Launch 28th of August”
      8                    “Available on Android and iOS”
      9     271.      Following the release of this commercial, trading volume for
     10 SAFEMOON Tokens almost quadrupled from $11.4 million on August 14, 2021
     11 to $43.7 million on August 16, 2021.
     12     272.      On August 20, 2021, Way touted the financial benefits of investing in
     13 SafeMoon (and SafeMoon-related services like the SAFEMOON Tokens?) to his
     14 Twitter followers, stating, among other things, that he was “getting paid out in
     15 @SafeMoon constantly. . . .”158
     16     273.      The trading volume for SAFEMOON Tokens increased following
     17 Way’s promotion, going from $14.6 million on August 19, 2021, to $20.8 million
     18 on August 20, 2021 (a 42% increase).159
     19     274.      On August 19, 2021 and August 24, 2021, Karony stated, on his
     20 personal Twitter account, that he was “Looking forward to #SAFEMOONWALLET
     21 launch on August 28th!”160
     22
          157
     23          @SafeMoon 2.0         , Twitter (Aug. 14, 2021), https://t.co/atarzOUuX7:
          “THANK YOU FOR ALL THE SUPPORT ON THE JOURNEY TO THE
     24   #SAFEMOONWALLET LAUNCH                      COMING SOON AUGUST 28TH.”
          158
                 Way (@souljaboy), Twitter (Aug. 20, 2022), https://twitter.com/souljaboy/
     25   status/1428847986759462917?lang=en.
          159
     26          Id.
          160
                 Karony (@CptHodl), Twitter (Aug. 24, 2021), https://t.co/m9CrVLGy9L: “1
     27   million followers in under 6 months. This is a huge achievement. Looking forward
          to the #SAFEMOONWALLET launch on August 28th. Let’s evolve together!
     28   #SAFEMOON #SAFEMOONARMY”; id.: “Meetup at the billboard? Looking
                                          73
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      1    275.      The trading volume rose in the days leading up to the launch of the
      2 SafeMoon wallet from $13.5 million on both August 19 and 24 up to $54.6 million
      3 on August 28 – an increase of over 300%. That day, August 28, 2021, Portnoy
      4 tweeted: “#safemoon is going parabolic.” He had affirmed just ten days earlier that
      5 he continued to hold 4.5 billion SAFEMOON Tokens and stated on September 2, in
      6 an interview on Fox Business, that he was not going to sell his SAFEMOON Tokens.
      7    276.      On August 28, 2021, the Company repeatedly announced on its social
      8 media platforms that the launch of the SafeMoon wallet was scheduled for that day
      9 at 4PM EST. But when the moment for the launch arrived, the Company did not
     10 release the SafeMoon wallet as previously promised.
     11    277.      The Company released the following statement concerning the failed
     12 release of the SafeMoon wallet:
     13        Wallet Update
     14        SAFEMOONARMY – Thank you for bearing with us!
     15        We’ve experience unforeseen technical issues on launching all 3
     16        products at the same time (website buy & swap, android wallet & IOS
     17        wallet).
     18        We’re working around the clock to fix the issues and to ensure we give
     19        you the quality experience you deserve. So we can manage demand,
     20        will be releasing each product in a staggered approach (one by one) –
     21        starting with the website buy & swap function – today.
     22        We apologise for the delay. We hear all of you. We can’t wait to bring
     23        you all home.161
     24
     25
     26
        forward to #SAFEMOONWALLET launch on August 28th! #SAFEMOON is the
     27 #Evolution!”
        161
     28       @SafeMoon 2.0      , Twitter (Aug. 28, 2021), https://twitter.com/safe
        moon/status/1431737961796747267?s=20&t=asnTTweZ9AovC9VEdUFRwQ.
                                           74
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      1    278.        After two days without the promised release of the wallet function, the
      2 Company disseminated a second announcement on August 30, 2021, regarding the
      3 delay:
      4          Wallet Update
      5          What’s the hold-up? #SAFEMOON
      6          Here’s a #SAFEMOONWALLET update from CEO John Karony.
      7          Hype and FUD to one side, here is more detail on what happened over
      8          the last 48 hours:
      9          As you know, we worked extensively towards the wallet launch on the
     10          28th of August. However, the technical issues experienced at 4:00PM
     11          (BST) created unforeseen side effects that the product development
     12          teams have been unable to resolve yet (for re-approval from Apple &
     13          Google). No reasons for an unsuccessful launch were bought to my
     14          attention prior to 4PM, and for that I apologise as I promised you, our
     15          community a product worth waiting for. It’s still coming, we just have
     16          to wait a bit longer. If I had been made aware of the issues now known,
     17          the launch would not have gone ahead.
     18          Our aim is to deliver the safest wallet on the planet – we won’t launch
     19          any product unless it’s the best it could possibly be, for you.
     20          We have all been working around the clock to address the technical
     21          issues and have come to the conclusion that we need to delay the wallet
     22          launch. I have been reassured by SAFEMOON’s Global Head of
     23          Product [i.e., Defendant Arriaga] that this will be fixed swiftly and
     24          efficiently, and we have the utmost confidence it will.
     25          All SAFEMOON staff are on hand to support the Global Head of
     26          Product and make sure he has endless resources to deliver the wallet.
     27
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                                         75
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      1         The wallet launch is my utmost priority and I am committed to get you
      2         an update as soon as I can. We are all disappointed. But our focus
      3         remains on ensuring you get the wallet you deserve.
      4         Thank you for your continued support and patience. The wallet is
      5         coming and it will be worth the wait.
      6         We are family, we are SAFEMOON.162
      7 [Emphasis added.]
      8     279.      The price of the SAFEMOON Token, and its trading volume,
      9 plummeted in the wake of the failed launch of the wallet. The price went from a
     10 high of $0.00000355 to a low of $0.0000014 (a 60.5% decrease). The Company and
     11 the Executive Defendants nevertheless continued to dangle the prospect of the wallet
     12 out to investors in order to continue to unload more of their portion of the Float.
     13     280.      On September 6, 2021, the Company’s Twitter account reposted a tweet
     14 from Arriaga, telling investors that “#SAFEMOONWALLET is imminent!” In the
     15 caption to this re-tweet, the Company credited this statement from Arriaga as being
     16 from the “Dev himself”163 (i.e., the developer of the SafeMoon wallet). Smith
     17 reposted this announcement on his Twitter account, as well.164
     18     281.      The trading volume of SAFEMOON Tokens once again spiked as a
     19 result of the announcements by the Company itself and Arriaga, going from $12.5
     20 million on September 5, 2021 (the day before the promotions about the SafeMoon
     21 wallet) up to $38 million on September 10, 2021 – a 200% increase in trading
     22 volume.
     23
     24
     25   162
               @SafeMoon 2.0    , Twitter (Aug. 30, 2021), https://t.co/0GGN7mFQIS:
     26 “UPDATE    ON  THE #SAFEMOONWALLET                  #SAFEMOON.”
        163
               @SafeMoon 2.0    , Twitter (Sept. 6, 2021), https://twitter.com/safemoon/
     27 status/1434855369394860033?s=20&t=CTlBkiT2WMEr75TWa-S91A: “From the
        Dev himself the #SAFEMOONWALLET is IMMINENT                    .”
     28 164
               Id.
                                             76
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      1     282.      On September 9, 2021, the Company’s Chief Technology Officer,
      2 Hank Wyatt, announced his resignation on Twitter.165 Following his departure,
      3 Wyatt was interviewed about why the SafeMoon wallet failed to launch and the
      4 reasons for his departure.166 According to Wyatt, the development team for the
      5 SafeMoon wallet were hired by the “business leads not the developmental leads.”
      6     283.      Wyatt also explained how he found out about the SafeMoon project on
      7 the social media platform Discord in the early days of the Company’s formation.
      8 Wyatt disclosed that two “old Safemoon moderators” that Wyatt “knew” –
      9 apparently displeased with his departure from SafeMoon and, as a result, “set him
     10 up” with “targeted questions” – had secretly recorded two conversations “without
     11 [his] permission.”167 Apparently feeling threatened with a forced exposure, Wyatt
     12 admits to having invested $9,000 to join in the Company “in the beginning.” He
     13 learned about it on Discord and “went with it.”
     14     284.      In the recording, Wyatt informs those on the call that his next project –
     15 the Piggy Token project, which included Smith and Nagy – would make all of those
     16 insiders who had acquired the Piggy Tokens during a pre-sale event “filthy rich.”168
     17 Wyatt noted that with the Piggy Token, the creators would not be able to “rug” the
     18
     19
          165
               Wyatt (@Hankusun), Twitter (Sept. 9, 2021), https://twitter.com/Hankusun/
     20 status/1436043090754744331?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed
        %7Ctwterm%5E1436043090754744331%7Ctwgr%5E%7Ctwcon%5Es1_&ref_url
     21 =https%3A%2F%2Fcryptoslate.com%2Fsafemoon-cto-resigns-fueling-rumors-of-
        disquiet-within-the-company%2F: “Leaving my position on Safemoon was
     22 definitely a difficult decision, the hardest I’ve ever had to make. However, I’m
        excited for the future and can’t wait for the next chapter of my life to begin!”
     23 166
               Control Crypto. HANK TALKS FUTURE OF SAFEMOON! WHY HE QUIT,
     24 PIGGYBANK,          WALLET        LAUNCH        FAILURE,       DDOS        ATTACKS!,
        COINMARKETBAG (Sept. 30, 2021), https://coinmarketbag.com/hank-talks-future-
     25 of-safemoon-why-he-quit-piggybank-wallet-launch-failure-ddos-attacks/.
        167
               Id.
     26 168
            Henry Wyatt (@de_crypto_mole), Twitter (Sept. 12, 2021), https://twitter.com/
     27 de_crypto_mole/status/1436952213335707649?s=20&t=y5zpGnlvOvSFqBg23Sita
        w: “Hank from @safemoon outing the entire team on Piggy. This is sick and have
     28 taken advantage of the entire community. @PapasB0y @PapasB0y @LynnShelbyL
        @NotLotusEater @Not_Ryan_Dunn @darrenrobinson.”
                                                   77
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      1 liquidity (i.e., deplete the funds allocated to the liquidity pool), which was possible
      2 with SafeMoon.169
      3     285.      As for his work at the Company, Wyatt complained that he and Smith
      4 “did not get to code anymore” in their respective roles as officers of the Company.170
      5 Instead, according to Wyatt, as CTO, his job was to “manage things” which “didn’t
      6 take that much time.”171 Wyatt stated that Smith was only working “15 hours a
      7 week” on SafeMoon; thus, the two of them could devote “80 hours” to the Piggy
      8 Token and other non-SafeMoon projects.172
      9     286.      Wyatt also explained that he and Smith also had all of the marketing
     10 for Piggy Token completed, with several months-worth of social media posts already
     11 created and ready to disseminate.173 One of the other individuals asked Wyatt if
     12 these pre-fabricated media posts (“4 posts per day for the first two months were
     13 already” done) were going to be spell checked.174 This question referenced the
     14 announcement that SafeMoon had made regarding the “deliberately misspelled”
     15 event “Project Pheonix.” Wyatt responded by mocking the Company’s marketing
     16 errors, saying “Yeah, we don’t have a dumb, fat brit doing it” this time – presumably
     17 alluding to Phillips’ hamfisted promotional activities with SafeMoon.175
     18     287.      Wyatt went on threaten that it was in Karony’s “best interest” to pay
     19 Wyatt a $3 million severance package.176 Wyatt stated that he had the “keys” to the
     20 Company’s Discord account, so “if John wants to get spooky” and not pay the
     21 severance, Wyatt could “just rename it,” “delete every channel,” and reroute
     22
     23   169
                Id.
          170
     24         Id.
          171
                Id.
     25   172
                Id.
     26   173
                Id.
          174
     27         Id.
          175
                Id.
     28   176
                Id.
                                          78
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      1 individuals looking for SafeMoon to the Piggy token webpage instead.177 Wyatt
      2 claimed to be “forcing [Karony’s] hand” because Wyatt claimed to have ownership
      3 rights over “everything,” including the Company’s official Twitter account and,
      4 more importantly, the Company’s domain name and website.178 Wyatt joked that
      5 Karony could “his paperweight or he can pay be fair wages.”179 Wyatt disclosed his
      6 purpose for seeking the million-dollar payout from SafeMoon: “I want my house”
      7 and that he wanted the severance to cover the $500,000 he was planning on investing
      8 in the Piggy token project.180
      9     288.      In an interview with Wyatt, after the audio recordings were threatened
     10 to be leaked online, Wyatt attempted to do some damage control with respect to his
     11 recorded statements. Wyatt claimed the recording showed him making a comment
     12 about how he was displeased with SafeMoon because he “didn’t get a raise” and
     13 “didn’t want to work weekends.” After admitting this during the interview, Wyatt
     14 later expresses frustration at the amount of work that he was supposed to do at the
     15 Company and, in particular, with respect to the SafeMoon wallet. In response to a
     16 question on whether he left because it was too much work for him, Wyatt stated that
     17 he had been “dedicating all of his time at SafeMoon and didn’t want to do it anymore.
     18 I had done it for six months. That was enough for [him].” Later in the interview,
     19 Wyatt said that he “felt undervalued” by the Company.181
     20     289.      Wyatt later admitted that he sold a “decent amount” of his
     21 SAFEMOON Tokens “120 something days ago.” He further disclosed that he did
     22 not gain his SAFEMOON Token holdings from working at the Company, but rather
     23 that he acquired them through his own money and being “gifted some Safemoon
     24
     25   177
                Id.
     26   178
                Id.
          179
     27         Id.
          180
                Id.
     28   181
                See fn.166, supra.
                                          79
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      1 from friends.” With the interview taking place on or about September 30, 2021, this
      2 would place Wyatt’s SAFEMOON Tokens sales around late May/early June of
      3 2021. As the following chart shows, this would be around the same time that the
      4 price of SAFEMOON Tokens was rebounding briefly before plunging down further:
      5
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     16     290.     Upon information and belief, Wyatt knew or should have known that
     17 the SafeMoon wallet launch would not be occurring within the timeframe the
     18 Company announced and because of this, sold his SAFEMOON Tokens to
     19 unsuspecting investors before the further delays for the wallet launch were
     20 uncovered and the price of the SAFEMOON Tokens took a corresponding hit.
     21     291.     The day after Wyatt announced his resignation, on September 10, 2021,
     22 the Company released the following announcement182 that Haines-Davies was also
     23 stepping down from his position as COO and would be leaving SafeMoon:
     24
     25
     26
     27
     28   182
               Karony (@CptHodl), Twitter (Sept. 10, 2021), https://t.co/7Cz562GkgC:
          “We wish you well.”
                                            80
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            292.      The cryptocurrency news blogs speculated that, because the Company
     19
          did not give any details as to the circumstances behind Defendant Haines-Davies’
     20
          departure and given the time of his resignation, the reason Haines-Davies left the
     21
          Company was due to its failure to deliver the SafeMoon wallet on the promised
     22
          schedule.183 Haines-Davies’ Twitter profile timeline appears to confirm this. On
     23
          August 30, 2021, Haines-Davies reposted the Company’s wallet update message
     24
          regarding the “hold up” with delivering the wallet when promised. Haines-Davies’
     25
          next post was his September 10, 2021 announcement that he was leaving the
     26
     27   183
              Jack Haines, COO and Co-founder of SafeMoon Dumped the Project,
     28 NaijaBlog  (Sept. 10, 2021), https://naijablog.ng/2021/09/10/jack-haines-coo-and-
        co-founder-of-safemoon-dumped-the-project/.
                                                81
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      1 Company.184 In that post, Haines-Davies stressed that he needed to “remove”
      2 himself from “toxic environments.”
      3     293.      An article in the International Business Times titled SafeMoon
      4 Developers Flee at Slightest Sign of Trouble, Top Honchos Resign over Wallet
      5 Fiasco questions Defendant Haines for “flee[ing] at the slightest trouble instead of
      6 working towards correcting the missteps of SafeMoon” and whether he “was unable
      7 to handle work pressure for just six months as the COO of SafeMoon. . . .”185 The
      8 article further observed:
      9         When a company fails to deliver on a product and announces “technical
     10         issues” hours before the release while marketing the same product on
     11         billboards for weeks using investors money; the top heads are most
     12         likely asked to resign and the same has happened with SafeMoon.
     13         Along with Haines, Wyatt, a software engineer of the company, also
     14         resigned the same day.186
     15     294.      The price of the SAFEMOON Tokens dropped after this
     16 announcement, going from a close of $0.000000153 on September 9, 2021 to the
     17 low for the day of $0.00000119 on September 10, 2021.
     18     295.      In the wake of Haines-Davies’ departure, other executives at the
     19 Company left under similar circumstances.
     20     296.      For example, on September 10, 2021, Smith, in an apparent response to
     21 the string of high-profile departures from the Company, stated on his personal
     22 Twitter account: “THE SHOW GOES ON.”187 That same day, Smith posted a clip
     23
          184
              Haines-Davies (@jackhainesuk), Twitter (Sept. 10, 2021): “Dear
     24 #SAFEMOON https://t.co/eU64JoF9cI” / Twitter.
        185
     25       Vinod Dsouza, SafeMoon Developers Flee at Slightest Sign of Trouble, Top
        Honchos Resign over Wallet Fiasco, INTERNATIONAL BUSINESS TIMES (Nov. 8,
     26 2021),    https://www.ibtimes.sg/safemoon-developers-flee-slightest-sign-trouble-
        top-honchos-resign-over-wallet-fiasco-60161.
     27 186   Id.
        187
     28       Smith (@papacthulu), Twitter (Sept. 10, 2021), https://twitter.com/
        papacthulu/status/1436324460903243778?s=20&t=WJt3_7ruyHQtbxm2OykCHQ.
                                               82
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      1 from the movie “The Wolf of Wall Street,” wherein the main character defiantly
      2 announces, “I’m not leaving.”188
      3     297.     On September 11, 2021, Ginger posted a message on Twitter to the
      4 SafeMoon community: “#SAFEMOONARMY what if I told you your wallet was
      5 delayed because some of your devs were distracted making their own? What if it
      6 was a wallet that directly competed with Safemoon? He can’t leave Safemoon if he
      7 mentally checked out months ago. #followthewallets”189 Upon information and
      8 belief, Ginger was referencing Smith here and Smith’s failure to complete the
      9 SafeMoon wallet on time, due to his being too busy working on the Piggy token.
     10     298.     On November 5, 2021, Smith issued a statement on his personal Twitter
     11 account: “Bullish on the team, I love working @safemoon.”190 Karony publicly
     12 replied to this message with a GIF image signifying agreement and the power of
     13 brotherhood.191 Just under three weeks later, Karony announced that Smith was
     14 leaving the Company.192
     15     299.     Around the same time that numerous Company executives were
     16 abandoning SafeMoon rocketship, Karony made the following statement about the
     17 Company’s identity as a cryptocurrency project on the SafeMoon account on
     18 Discord: “SafeMoon is NOT token project. We are a tech company, that uses
     19
     20
     21
     22   188
                Smith (@papcthulu), Twitter (Sept. 10, 2021), https://twitter.com/
     23   papacthulu/status/1436324040650760195?s=20&t=WJt3_7ruyHQtbxm2OykCHQ.
          189
                Ginger (@TheGingerRBTC), Twitter (Sept. 11, 2021), https://twitter.com/
     24   TheGingerRBTC/status/1436865402831732738?s=20&t=A9Z3BOmDCPm1XRas
          cXTqPQ.
     25   190
                Smith (@papacthulu), Twitter (Nov. 5, 2021), https://twitter.com/
     26   papacthulu/status/1456818387322036230?s=20&t=G-394qt2e5FNZ9F6fecquw:
          “Bullish on the team, I love working at @safemoon.”
     27   191
                Karony (@CptHodl), Twitter (Nov. 5, 2021), https://t.co/96OYsVD1TJ.
          192
     28         Karony (@CptHodl), Twitter (Nov. 23, 2021), https://twitter.com/
          CptHodl/status/1463150393160990725?s=20&t=trjCS8pVW1C-M1f6iksEqw.
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      1 SafeMoon as the connecting agent in our ecosystem.”193 Karony followed that post,
      2 clarifying that SafeMoon as a “blockchain innovation company.”194
      3     300.      On November 22, 2021, the Company’s official Twitter account
      4 promoted the We’re All Gonna Make It coin” (“WAGMI”) – a highly speculative
      5 digital asset (similar to Dogecoin) that was trending at the time.195
      6     301.      Way again promoted SafeMoon’s activities, warning investors:
      7 “Safemoon just tweeted about WAGMI. Don’t miss the rocket.”196
      8     302.      In the following weeks, the price and trading volume of the
      9 SAFEMOON Tokens continued to fall despite the promotional efforts of
     10 Defendants. Something else had to be done to keep the funding in the liquidity pool
     11 and ill-gotten gains in Defendants’ wallets.
     12         Outright Theft Under the Veneer of a Token Swap
     13     303.      Not satisfied with the ill-gotten profits they already made throughout
     14 2021 from their SAFEMOON Tokens sales, the Executive Defendants, in particular,
     15 Karony, shifted to a different way to fleece their investors: the hard fork scam.
     16     304.      The hard fork scam is fairly straightforward despite the technological
     17 jargon. The term “hard fork” as it relates to blockchain technology describes a
     18 “radical change to a network’s protocol” and “requires all nodes or users to upgrade
     19 to the latest version of the protocol software.”197 Essentially, with a hard fork, the
     20
     21   193
                 A screenshot of Karony’s statements from his Discord account was uploaded
     22   on the SafeMoonInvesting subreddit account and can be found at:
          https://www.reddit.com/r/SafeMoonInvesting/comments/sxsggw/blockchain_innov
     23   ation_company/.
          194
                 Id.
     24   195
                 @SafeMoon 2.0         , Twitter (Nov. 22, 2021), https://twitter.com/
     25   safemoon/status/1461460219251380229?s=20&t=mwc81B1H_z3uloVjS68mcw:
          “WAGMI.”
     26   196
                 Way (@souljaboy), Twitter (Nov. 22, 2021), https://twitter.com/souljaboy/
          status/1462956016388083713?lang=en.
     27   197
                 Jake Frankenfield, Hard Fork (Blockchain), INVESTOPEDIA (June 24, 2021),
     28   https://www.investopedia.com/terms/h/hard-fork.asp#:~:text=What%20Is%20a%
          20Hard%20Fork,version%20of%20the%20protocol%20software.
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      1 blockchain will no longer proceed in one line, but rather it will have two branches:
      2 one that follows the previous protocol and one that follows the new version.
      3 “Generally, after a short time, those on the old chain will realize that their version
      4 of the blockchain is outdated or irrelevant and quickly upgrade to the latest
      5 version.”198
      6     305.       “The scammer only makes money with the hard fork scam if lots of
      7 people hear about it, so they trick people into spreading their scam by promising
      8 them additional free coins from the fork.”199 Those behind the scam will also require
      9 people to join the project’s various social media accounts, “which makes it look like
     10 there is more active community behind the project than there really is.”200 Those
     11 following these directives for the purpose of receiving additional tokens for “free”
     12 do not know the actual value of these coins until after launch.
     13     306.       While this first phase of a hard fork scam resembles a kind of pump and
     14 dump scheme wherein the scammer artificially inflates the price and volume in order
     15 to sell of their pre-sale holdings, the second phase is more akin to outright theft.
     16 Usually, the scammer will assure everyone that they can use their own wallets to be
     17 able to claim the hard fork, but they cannot hold the coins on an exchange. This is
     18 “setting up for a sleight of hand later which is designed to steal your secret keys” to
     19 open your wallets and steal the tokens within.201
     20     307.       As the name emphasizes, the private keys to an investor’s
     21 cryptocurrency wallet are meant to be kept “secret.” These keys are the final failsafe
     22 against theft of one’s cryptocurrency. “Most people are used to operating in the
     23 context where if a password is compromised, even for a bank account, usually the
     24
     25   198
              Id.
        199
     26       StellarGuard, Anatomy of a Stellar Scam: The Hard Fork, MEDIUM (Dec. 8,
        2018), https://medium.com/stellar-community/anatomy-of-a-stellar-scam-the-hard-
     27 fork-4ac89808fd38.
        200
              Id.
     28 201
              Id.
                                               85
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      1 damage is at least somewhat reversible. Crypto is different: if you share your private
      2 keys, you lose everything. There is no recourse for getting back your stolen bitcoin,
      3 ether, or other tokens.”202 This is a foundational truism for investing in digital assets,
      4 and given its vital importance, many in the crypto community believe that the “first
      5 rule of crypto” is to “never, ever, EVER share your private key.”203
      6     308.       On December 12, 2021, Karony posted the following message on his
      7 personal Twitter account: “Shoutout to our brilliant community, the product team
      8 and all #SAFEMOON employees for all the hard work these past 9 months, looking
      9 forward to the next 9 of evolution. Always out front! #SAFEMOONV2 is the
     10 #Evolution.” Karony also posted some frequently asked questions about the V2
     11 Migration and provided answers on the Company’s behalf.204
     12     309.       That same day, a developer by the name of SafeMoon LLC (the same
     13 name as one of the SafeMoon entities that was quietly created by Karony) announced
     14 and facilitated a hard fork of the SafeMoon protocol, which was referred to as the
     15 “V2 Migration.”
     16     310.       The V2 Migration related to the Company’s efforts to transfer the value
     17 of the V1 SAFEMOON Token and its associated liquidity pool into the newly
     18 minted V2 SAFEMOON token and its associated liquidity pool(s).                   The V1
     19 SAFEMOON Token was a part of the liquidity pool that was used when the
     20 Company launched. V2 SAFEMOON Token was created on April 24, 2021.
     21     311.       Notably, the smart contract that applies the 5% liquidity tax on all
     22 SAFEMOON Token transactions – which Defendants stated would serve as
     23
          202
     24          Dan Elitzer, Opinion – Friends Don’t Let Friends Do Bad Crypto, COINDESK
          (Nov. 17, 2017), https://www.coindesk.com/markets/2017/11/17/friends-dont-let-
     25   friends-do-bad-crypto/.
          203
                 Id.; William C., NEVER Share Your Private Keys!, MEDIUM (Aug. 3, 2018),
     26   https://medium.com/@deathd0tcom/never-share-your-private-keys-d117471fda07
          (“Remember, no one should ask you for your Private Keys and you should never
     27   share them with anyone!”).
          204
     28          Karony (@CptHodl), Twitter (Dec. 12, 2021), https://twitter.com/
          CptHodl/status/1470053508443475973?s=20&t=szGCN Kn90fZ3Mf17c_ZQzw.
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      1 automatically-generated liquidity for SAFEMOON Token transactions – also had a
      2 particular wallet address written into the code: the wallet address that supplied the
      3 V1 liquidity pool. This means that although swapping can (and does) occur on the
      4 V2 liquidity pool, the actual funding is still deposited into the V1 liquidity pool. If
      5 the V1 liquidity pool’s funds are not migrated to the V2 liquidity pool, then those
      6 funds become effectively useless for their intended purpose.
      7    312.       By designing the dueling liquidity pool structure like this, the Company
      8 nullified one of the key selling points within its whitepaper. Specifically, the
      9 Company’s change undercut its promised “solution” to the problem of liquidity
     10 provisioning as described in the Company’s whitepaper:
     11         Historically, developers created incentives aimed at users to provide
     12         liquidity which can be outweighed by risk due to the subjectivity of
     13         impermanent loss. As a solution, we propose utilizing a smart contract
     14         function to automatically capture liquidity to be used on the
     15         decentralized exchanges and held in custody independent from user
     16         possession.
     17                                  *      *      *
     18         Problems arise when the liquidity pool provider loses the incentive to
     19         add tokens into the pool, which occurs after the token pair is subjected
     20         to impermanent loss resulting from arbitrage.
     21         As a solution, Liquidity can be taken as a function of the smart contract
     22         using market activity from all swaps and transfers. A portion of these
     23         swaps and transfers will be captured by the smart contract and utilized
     24         with the function: “_swapAndLiquify.” For this to happen, the portion
     25         of the 5% fee from swap and transfers can be kept in a standalone pool
     26         within the contract itself and automatically converted to the liquidity
     27
     28
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      1         pool after the token count reaches a threshold, set at 500 billion
      2         tokens.205
      3     313.      The only transfer of value from the V1 liquidity pool to the V2 liquidity
      4 pool occurred on May 12, 2021 when the Company cashed in LP Tokens from the
      5 V1 liquidity pool and transferred that liquidity in the V2 liquidity pool.206
      6 Conversely, the SafeMoon LLC wallet address 0x79c4af has and continues to
      7 receive transfers of value from the V1 liquidity pool.207 Those funds then remain in
      8 that wallet instead of being transferred and/or converted into the V2 liquidity pool.
      9     314.      The Company promoted the V2 Migration as an offer to investors
     10 holding the VI SAFEMOON Tokens would be given a 1000:1 conversion rate of V2
     11 SAFEMOON Tokens.           Defendants encouraged investors to download a new
     12 SafeMoon wallet (which finally debuted after long delays and technical difficulties)
     13 and then directly transfer their V1 holdings into the new wallet.           After the
     14 SAFEMOON Tokens arrived in the new wallet safely, investors were directed by
     15 the Company to convert the V1 SAFEMOON Tokens into V2 SAFEMOON Tokens
     16 while inside the new wallet.
     17     315.      Unbeknownst to investors, when they complied with the Company’s
     18 instructions, they were also charged an undisclosed 10% processing fee or “tax”
     19 when making these transactions.208
     20     316.      After receiving complaints from investors who were surprised by the
     21 tax, the Company reduced the fee amount from 10% to 2%. This, in turn, caused an
     22 arbitrage-like event wherein investors could purchase the V1 SAFEMOON Tokens
     23
          205
                 See fn.18, supra.
     24   206
                 https://bscscan.com/tx/0xe8a786a9334553fc575bc0df8ddabdbd0e9296c23c
     25   07dac5be489dedd2bee912;         https://bscscan.com/token/0xff3dd404afba451328de
          089424c74685bf0a43c9?a=0x79c4af7c43f500b9ccba9396d079cc03dfcafda1#toke
     26   nAnalytics (last visited on June 27, 2022).
          207
                 https://bscscan.com/address/0x79c4af7c43f500b9ccba9396d079cc03dfcaf
     27   da1 (last visited on June 27, 2022).
          208
     28          See @SafeMoon 2.0           , Twitter (Dec. 18, 2021), https://twitter.com/
          safemoon/status/1472174876429586432?s=20&t=szGCNKn90fZ3Mf17c_ZQzw.
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      1 at a lower price than V2 SAFEMOON Tokens and then convert those V1
      2 SAFEMOON Tokens into exponentially more V2 SAFEMOON Tokens due to the
      3 1000:1 conversion rate minus the minimal 2% fee. The Company then increased the
      4 fee amount back to 10%, but this did not remove the dangers the Company’s
      5 previous attempt to encourage the migration from V1 to V2 tokens had created.
      6     317.      In the following days, the Company raised and lowered the fee
      7 percentages repeatedly.209 But the first phase of the hard fork scam and related
      8 growth strategy that the Karony devised with the V2 Migration had opened
      9 pandora’s box. Many investors had faithfully held on to their SAFEMOON Tokens
     10 despite the rug pull that Nagy, Smith, Haines, Wyatt, and the Promotor Defendants
     11 orchestrated in 2021 because of the Company’s and Karony’s repeated reassurances
     12 that the proverbial SafeMoon rocketship was still on course to the moon.
     13     318.      By the time the V2 Migration was under way, many of those faithful
     14 “hodlers” had suffered massive unrealized losses and the favorable conversion rate
     15 offered a way for investors to mitigate their losses by buying more V1 SAFEMOON
     16 Tokens in an effort to average down their respective dollar cost averages. The
     17 Company and Karony’s greed could not let this stand.
     18     319.      In response, the Company and Karony engaged in a media campaign
     19 push to have the remaining V1 SAFEMOON Token holders transfer to V2 and to
     20 stop buying more V1 SAFEMOON Tokens. They offered investors a “migration”
     21 portal to achieve this. The major problem was that, in order to use the migration
     22 portal, the Company required SafeMoon investors to break the “first rule of crypto.”
     23 V1 SAFEMOON Token holders were told to share their private keys to their existing
     24 wallets with SafeMoon’s barely-field tested, proprietary software wallet (which has
     25
     26
     27   209
              See @SafeMoon 2.0        , Twitter (Dec. 21, 2021), https://twitter.com/
        safemoon/status/1473406130965602311?s=20&t=szGCNKn90fZ3Mf17c_ZQzw:
     28 “The V1 contract tax rate will be changed to 20% (19% LP Generation, 1%
        Reflections).”
                                             89
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      1 had publicized issues, from its launch), or linking their existing wallets with
      2 SafeMoon’s website.
      3     320.      Approximately 3,000,000 wallet holders rejected the Company’s offer
      4 to use the migration portal because it required those investors to either expose their
      5 private keys or link their unlocked wallets, which often contain other tokens and
      6 digital assets, to the questionable SafeMoon wallet. Again, this was a situation that
      7 Karony and the Company did not want.
      8     321.      In a desperate response to investors gaining back some of the unrealized
      9 losses that had suffered at the hands of Defendants, Karony and the Company gave
     10 a final kick to all of those SafeMoon investors.
     11     322.      On December 29, 2021, at approximately 4:00 p.m. EST, SafeMoon
     12 changed the code line running in the SafeMoon smart contract that governs the
     13 transaction fee rate (AKA Tax) to 100%. The Company concurrently announced
     14 this on its official Twitter account, adding that “Migration from V1 to V2 will remain
     15 open indefinitely so nobody is left behind.”210 Karony responded to the Company’s
     16 tweet, saying that “the V1 tax will be changing to 100%. We are moving our full
     17 focus to V2 to evolve the #SAFEMOON ecosystem.”211 In other words, the
     18 Company implemented a 100% tax on every sale, purchase, or general transfer of
     19 V1 SAFEMOON Tokens from one wallet to another. In effect, the Company, at
     20 Karony’s direction, seized every V1 SAFEMOON Token they could from
     21 unsuspecting investors.
     22     323.      The Company did not provide any, much less sufficient, notice to
     23 investors of the impending full taxation prior to its implementation on December 29.
     24 Indeed, the Company’s website did not indicate any change had occurred until
     25 approximately ten hours later when a small, generalized banner was added, which
     26
          210
     27      @SafeMoon 2.0         , Twitter (Dec. 29, 2021), https://twitter.com/
        safemoon/status/1476198900717342724?s=20&t=szGCNKn90fZ3Mf17c_ZQzw.
     28 211  Karony (@CptHodl), Twitter (Dec. 29, 2021), https://twitter.com/
        CptHodl/status/1476206499898691589?s=20&t=szGCNKn90fZ3Mf17c_ZQzw.
                                            90
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      1 stated that V1 support had come to an end and directed investors to migrate to V2.
      2 On its face, this banner did not include any disclosure regarding the 100% taxation.
      3 Subsequently, sometime in January 2022, the banner was updated to include a sub
      4 icon “read more” which, when clicked on, led to a second banner than mentioned
      5 the taxation.
      6    324.         This hyper version of the hard fork scam took place over a 17-day
      7 period from December 12, 2021 to December 29, 2021, but investors unaware of
      8 Karony’s secret tax continued to suffer complete losses of their SAFEMOON
      9 Tokens afterwards. The Company’s change to the smart contract created a trading
     10 environment of uncertainties, which have been resulting in mounting losses, for
     11 existing tokens holders and those attempting to buy them.
     12    325.         SafeMoon did not take steps to ensure that investors who attempted to
     13 transact with V1 SAFEMOON Tokens would be protected against losing their full
     14 investment. It did not make a conversion of V1 to V2 tokens automatic. It did not
     15 post a warning within the SAFEMOON wallet interface. It did not implement a pop-
     16 up warning in the SAFEMOON wallet to alert investors who were attempting to
     17 transact in SAFEMOON V1 tokens that an such attempts were futile and would only
     18 result in confiscation of their tokens.
     19    326.         Many investors, of course, did not see SafeMoon’s random Twitter post
     20 or the subsequent discussion of it on social media in the short period between when
     21 the tax was announced and when it was implemented. Instead, those unsuspecting
     22 investors attempted to transact in V1 SAFEMOON Tokens, reasonably believing
     23 that they would be able to do so without issue.
     24    327.         Those investors who attempted to transact in SAFEMOON V1 tokens
     25 after imposition of the “100% tax” effectively had those tokens confiscated by the
     26 Company, losing their access, control, and ownership over their SAFEMOON V1
     27 tokens despite having a proprietary right to those tokens. Other investors faced the
     28 situation where, despite not even transferring their SAFEMOON V1 tokens and
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      1 being subjected to the 100% tax, their SAFEMOON V1 tokens were outright
      2 removed or deleted from their wallets (in part or in whole). The result was the same:
      3 investors lost most if not all of their investment in Safemoon.
      4     328.      SafeMoon, on the other hand, kept the funds that it seized from the
      5 original purchasers (and rightful owners) of those SAFEMOON V1 Tokens when it
      6 issued them. Upon information and belief, the wallets owned/controlled by Karony
      7 received some or all of those seized SAFEMOON V1 Tokens and cashed them out
      8 for his own personal use.
      9     329.      In January 2022, Safemoon investors who suffered a complete loss by
     10 the V1 to V2 migration tax filed the following petition212 requesting that the
     11 Company reimburse or refund the tokens that were improperly confiscated from
     12 investors during the migration:
     13         Dear Safemoon Developers and Core team,
     14               Many of our Safemoon community members have lost their
     15         tokens due to the 100% tax that had been imposed on V1 by the devs
     16         just days ago. While instructions were given on social media channels,
     17         they were not clear enough and many users missed them if they weren’t
     18         frequenting those channels. There was a lack of disclosure of the 100%
     19         tax across all apps, and the fees appeared normal to the user.
     20         SafeMoon’s own app, which the development team has absolute control
     21         over, did not provide sufficient warning to prevent users making this
     22         simple mistake, nor did it bar users from making this transaction.
     23               Imposing a 100% tax was an unprofessional and disappointing
     24         business decision which those affected in our community want
     25         rectified. In the traditional business world, a company would not be
     26
          212
              https://www.change.org/p/safemoon-development-and-core-team-reimburse-
     27 safemoon-community-for-losses-due-to-100-tax-during-compulsory-
        migration?utm_content=cl_sharecopy_31903683_en-US%3A7&recruiter=
     28 1244229397&utm_source=share_petition&utm_medium=copylink&utm_campaig
        n=share_petition (last visited on June 27, 2022).
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      1        allowed to do this. If Safemoon is serious about wanting mainstream
      2        adoption, it needs to look after it’s community and provide a fair
      3        platform, that is accessible to young and old, new and seasoned
      4        members of the cryptocurrency community.             To be considered a
      5        valuable asset, it needs to embody the value it’s name references ‒ to
      6        be safe.    Creating a poorly explained 100% tax consolidation
      7        environment, was anything but safe for it’s users.
      8              Some of the members out there who lost their tokens were
      9        dependant on them for their livelihoods. Maybe they were using those
     10        funds to survive the economic hardship of the pandemic, to feed their
     11        families or to pay off student loans.     We ask that the Safemoon
     12        community and team show humility rather than greed or quick
     13        judgement, and weigh this issue seriously.
     14              On behalf of those Safemoon users who were taxed at 100%, we
     15        ask for reimbursement of our funds.
     16              Critical questions need to be raised and examined:
     17            Why was an automatic swap not done?
     18            Why was 100% tax imposed, instead of other more community
     19             friendly options?
     20            Why was the 100% tax not mentioned on the consolidation page
     21             in the Safemoon app?

     22            How much money of people’s money was accrued in the 100%
                    tax?
     23
     24            What does Safemoon have to say about where all this 100% tax
                    has gone?
     25
     26            Is this ethical?

     27            How and when will our community members be reimbursed?
     28
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      1     330.      As of the filing of this amended complaint, 457 separate Safemoon
      2 investors have signed the petition.
      3         The Dump – SAFEMOON Token Price Plummets
      4     331.      Following the SAFEMOON Token’s launch and Defendants’
      5 promotional activities beginning in March 2021, the trading volume and price of
      6 SafeMoon surged.        By April 20, 2021, SAFEMOON Tokens already had a
      7 transaction volume of over $144 million, up approximately 1,747% in just over a
      8 month. That same day, the SAFEMOON Token reached its maximum price of
      9 $0.000011, which represents a rise of approximately 2,749,900% more than its
     10 initial launch price of $0.0000000004.
     11     332.      However, this astronomical rise was short-lived.             After the
     12 SAFEMOON Token price and trading volume spiked following the launch,
     13 Defendants began the “slow rug pull” on investors. This term refers to a situation in
     14 the cryptocurrency sector where the developers and insiders of a token deceive
     15 investors by encouraging them to purchase the token with promises of future
     16 success, while, at the same time, slowly selling off their own holdings as the trading
     17 volume from retail investors remains inflated.
     18     333.      On December 31, 2021, the price of the SAFEMOON Token hit a low
     19 of $0.0000006521 per token, an over 80% drop from its height during the Class
     20 Period, which it has not been able to recover. As of the filing of this Complaint, the
     21 trading volume for the SAFEMOON Token has plummeted to around only
     22 $60,000.213
     23     334.      The Promoter Defendants’ improper promotional activities generated
     24 the trading volume needed for all the Defendants to offload their SAFEMOON
     25 Tokens onto unsuspecting investors. While Plaintiff and Class members were
     26 buying the inappropriately promoted SAFEMOON Tokens, Defendants were able
     27
     28   213
                See fn. 18, supra.
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      1 to, and did, sell their SAFEMOON Tokens during the Class Period for substantial
      2 profits.
      3     335.      On or about December 1, 2021, Smith participated in telephonic debate
      4 with Ginger regarding what had occurred with the Piggy and Nobility tokens.
      5 During that debate, Ginger read a sworn statement he had prepared on November
      6 29, 2021, which read in relevant part: “On the 21st of May, at roughly 1AM I was
      7 asked to join a call with Thomas Smith and Trevor Church. During the call with
      8 Thomas and Trevor, many statements were made by Thomas, including, but not
      9 limited to, “Piggy is the perfect contract. I took the SafeMoon contract and improved
     10 it. The best thing about Piggy is the fact that nobody owns it. It can’t be sued. . . .
     11 What made SafeMoon special was that it was made to be a rug-pull. Not that we
     12 intented to pull, but the very feature that makes it ruggable is the feature that makes
     13 it function so well. What the contract needed was a team that would never rug. . . .
     14 In the beginning of SafeMoon, Kyle asked me to come on board along with Trevor.
     15 John is my fault. I brought him on. I’m sorry for that.”214
     16     336.      In response, Smith did not directly deny any of Ginger’s allegations,
     17 but rather stated there were “some inaccuracies here.” Smith also hinted that he had
     18 a “secret” about whether the Executive Defendants “defrauded” investors. Smith
     19 then claimed everything was “fine” and that Karony had texted Smith on November
     20 4th that the “FBI stuff went really well the matter is now closed.” Smith later
     21 clarified that the FBI was interested in the findings of the “Doxxlocker” due
     22 diligence report. The Doxxlocker report questioned certain transactions that sent
     23 approximately $68.4 million in SAFEMOON Tokens from the Protocol Deployer
     24 wallet to unrecognized wallets instead of returning those funds to the liquidity pool.
     25     337.      The SAFEMOON Token price still has not recovered and trading
     26 volume remains down, significantly.
     27
          214
     28         Ginger (RBTC Public), Ginger & Thomas Twitter Space Debate, YouTube
          (Dec. 1, 2021), https://youtu.be/abyQA4BOaXw.
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      1     338.      Meanwhile, Defendants have gone on to live the high life off of their
      2 ill-gotten gains. For example, Phillips, flush with millions in cash from the funds he
      3 extracted from Safemoon, jaunts around on private jets for dinner in neighboring
      4 countries and he purchased a “top of the fleet” Rolls Royce worth over $400,000.
      5 But experiencing this wealth was not enough, Phillips needed to also flaunt it on
      6 social media.
      7     339.      In May 2021, at the same time Defendants were pumping and dumping
      8 the SAFEMOON Tokens for millions of dollars, Phillips attributed his success to his
      9 so-called “work ethic”:
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     18     340.      A month later, Phillips bragged about how he “Jumped on the PJ with
     19 baby girl [aka Haines-Davies sister, @geehaines] to Scotland for a birthday bite!”:215
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                https://www.instagram.com/p/CQhJ2iqL8pM/?igshid=MDJmNzVkMjY=.
          The same is true for Haine-Davies, who,
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     11    341.       Phillips even began eating steak wrapped in 24k gold, and posting it on social

     12 media:
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     26    342.       Upon information and belief, Phillips’ lavish trip to Scotland for a
     27 “bite” to celebrate his girlfriend’s birthday, his over-the-top Rolls Royce, and his
     28 golden steak dinners were all funded by his ill-gotten gains from Safemoon.
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      1    343.       Phillips was not alone in showing off the wealth that he and the
      2 Defendants extracted from SAFEMOON Token investors. The same is true for
      3 Haines-Davies, who took to social media to post pictures of himself riding on private
      4 jets while wearing designer clothes and a Rolex watch and attending black-tie events
      5 where he is teased on social media about the woes of having to “spend all that
      6 #safemoon money.” For example:
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   15     344.       Smith also joined in the displays of Safemoon wealth acquired through
   16 misleading investors. In June 2021, when asked by an investor about an update on
   17 Safemoon, Smith responded by making a reference to a luxury sports car. Safemoon
   18 investors took this as a suggestion that the price of SAFEMOON Tokens would rise
   19 high enough for investors to purchase a McLaren.216
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               This is apparently a play on an inside joke among crypto investors that they
        will one day buy a “lambo” with their crypto riches once their token of choice rises.
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          345.      Much to investors’ disappointment, the SAFEMOON Token’s price
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        plummeted, leaving them with significant losses which were much less than enough
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        gains to spend on luxury items. Smith, however, made good on his promise to one
   14
        person: himself. After asking “wen mclaren,” Smith posted a picture of himself with
   15
        his newly-purchased, million-dollar McLaren, which he has subsequently suggested
   16
        was owed to him because of his upbringing and work on Safemoon:
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          346.      In addition to promoting and soliciting sales of SAFEMOON Tokens,
   27
        the Company itself has continuously sold SAFEMOON Tokens throughout the Class
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    1 Period. The Company was the original seller of every single SAFEMOON Token
    2 ever in circulation.
    3     347.       In early March 2021 alone, the Company created one quadrillion
    4 SAFEMOON Tokens out of thin air. Since launch, moreover, SafeMoon has sold
    5 SAFEMOON Tokens to raise funds for its business. For example, in a March 2021
    6 ask-me-anything session, the Company explained that they sold tokens because they
    7 “needed USDT to pay for business expenses” to “help develop the project and help
    8 the community.”217 As noted above, Karony has likewise admitted that SafeMoon
    9 reserves the right to withdraw SAFEMOON Tokens from liquidity pools created by
   10 SafeMoon, and sell those tokens, in order to pay for “development costs of future
   11 SafeMoon innovations.”
   12     348.       Further, each time that there is a transaction with SAFEMOON Tokens,
   13 the Company necessarily sells a portion of those tokens (to the extent that it does
   14 not siphon those Tokens). This is because, as explained above, as part of the protocol
   15 underlying SAFEMOON Tokens, 10% of each transaction is taxed and, purportedly,
   16 half of the amount taxed ‒ i.e., 5% ‒ is allocated to liquidity pools. Specifically, the
   17 Company swaps half of that 5% of SAFEMOON Tokens earmarked for liquidity
   18 pools for BNB, meaning that SafeMoon sells half of that 5% (i.e., 2.5%) on the
   19 market. The Company then stakes the BNB that it obtains on the market, plus the
   20 remaining 2.5% of SAFEMOON Tokens earmarked for liquidity pools, into the
   21 liquidity pools. For example, if someone sells 1,000 SAFEMOON Tokens, 100 of
   22 those Tokens will be taxed. Of those 100 Tokens, 50 will be allocated to the liquidity
   23 pools: 25 will be sold by SafeMoon on the open market for BNB, which will then
   24 be staked in the liquidity pools along with another 25 SAFEMOON Tokens. Since
   25 SAFEMOON Tokens were first released in early March 2021, the volume of trading
   26 in SAFEMOON Tokens has exceeded $7.5 billion. SafeMoon has thus sold (if its
   27
   28   217
              https://www.reddit.com/r/SafeMoon/comments/m87k9l/notes_from_
        tonights_live_ama/. (last visited Jun 28, 2022).
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    1 protocol works the way that SafeMoon has represented it works) at least
    2 $189 million in SAFEMOON tokens for BNB, and staked another $189 million
    3 worth of SAFEMOON tokens in liquidity pools.
    4         The SAFEMOON Token Is a Security that the Company and Executive
              Defendants Failed to Register Before Selling
    5
    6         A.    SAFEMOON Tokens Are Securities
    7    349.       Under Section 2(a)(1) of the Securities Act of 1933 (“Securities Act”),
    8 a “security” is defined to include an “investment contract.” 15 U.S.C. §77b(a)(1).
    9 An investment contract is “an investment of money in a common enterprise with
   10 profits to come solely from the efforts of others.” S.E.C. v. W.J. Howey Co., 328 U.S.
   11 293, 301 (1946). Specifically, a transaction qualifies as an investment contract and,
   12 thus, a security if it is: (1) an investment; (2) in a common enterprise; (3) with a
   13 reasonable expectation of profits; and (4) to be derived from the entrepreneurial or
   14 managerial efforts of others. See United Housing Found., Inc. v. Forman, 421
   15 U.S. 837, 852-53 (1975). This definition embodies a “flexible rather than a static
   16 principle, one that is capable of adaptation to meet the countless and variable schemes
   17 devised by those who seek the use of the money of others on the promise of profits,”
   18 and thereby “permits the fulfillment of the statutory purpose of compelling full and
   19 fair disclosure relative to the issuance of ‘the many types of instruments that in our
   20 commercial world fall within the ordinary concept of a security.’” W.J. Howey, 328
   21 U.S. at 299. Accordingly, in analyzing whether something is a security, “form should
   22 be disregarded for substance,” and the emphasis should be “on economic realities
   23 underlying a transaction, and not on the name appended thereto.” Forman, 421 U.S.
   24 at 849.
   25    350.       Investors who bought SAFEMOON Tokens invested money or other
   26 valuable consideration, in a common enterprise: namely SafeMoon. Investors had a
   27 reasonable expectation of profit based upon the efforts of the Defendants, including,
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    1 among other things, Defendant obtaining favorable listings of their SAFEMOON
    2 Tokens on cryptocurrency exchanges such as Pancakeswap.
    3               1.     SAFEMOON Token Investors Invested Money
    4    351.       Plaintiff and the Class invested fiat, including U.S. dollars, and digital
    5 currencies, such as Bitcoin and Ethereum, to purchase SAFEMOON Tokens.
    6    352.       The SAFEMOON Tokens were listed on cryptocurrency exchanges
    7 like Pancakeswap, which allowed retail investors to purchase SAFEMOON Tokens
    8 with traditional and other digital currencies.
    9    353.       Defendants sold SAFEMOON Tokens to the general public through
   10 global, online cryptocurrency exchanges during its so-called launch.
   11    354.       Every purchase of SAFEMOON Tokens by a member of the public is
   12 an investment contract.
   13               2.     SAFEMOON Token Investors Were Intertwined in a
                           Common Enterprise with Defendants
   14
   15    355.       Additionally, investors were passive participants in the SAFEMOON
   16 Tokens’ launch and the profits of each Plaintiff and the Class were intertwined with
   17 those of Defendants and of other investors. SafeMoon concedes that it uses the
   18 funds from the SAFEMOON liquidity pool to also fund its operations and
   19 promote projects on the SAFEMOON blockchain.
   20    356.       Defendants also were responsible for supporting the SAFEMOON
   21 Tokens, pooled investors’ assets, and controlled those assets.
   22    357.       Further, Defendants held and/or hold a significant stake in the
   23 SAFEMOON Tokens, and thus shared in the profits and risk of the project.
   24               3.     Investors Purchased the SAFEMOON Tokens with a
                           Reasonable Expectation of Profit from Owning Them
   25
   26    358.       Investors in the SAFEMOON Tokens, including Plaintiff and the Class,
   27 made their investment with a reasonable expectation of profits. The SAFEMOON
   28 Tokens were sold to investors prior to a network or “ecosystem” being fully
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    1 developed on which they could be used. For pre-functional tokens, such as the
    2 SAFEMOON Tokens, the primary purpose for purchasing SAFEMOON Tokens
    3 was to make a profit or accumulate additional “reflections” (i.e., additional tokens
    4 of value), rather than to utilize the SAFEMOON Tokens themselves for a task.
    5               4.      Investors Expected Profits from the SAFEMOON Tokens to
                            Be Derived from the Managerial Efforts of the Executive
    6                       Defendants
    7    359.       Investors’ profits in the SAFEMOON Tokens were to be derived from
    8 the managerial efforts of others ‒ specifically the Company and the Executive
    9 Defendant.         SAFEMOON Token investors relied on the managerial and
   10 entrepreneurial efforts of the Executive Defendants to manage, oversee, and/or
   11 develop the projects funded by sale of the SAFEMOON Tokens.
   12    360.       Purchasers of pre-functional tokens necessarily rely on the managerial
   13 efforts of others to realize value from their investments. The success of these
   14 managerial efforts in developing the networks on which these tokens will operate is
   15 the primary factor in their price, that is, until such tokens transition into being
   16 functional utility tokens.
   17    361.       Each of the SAFEMOON Tokens was a security at issuance because
   18 profit from the SAFEMOON Tokens would be derived primarily from the
   19 managerial efforts of SafeMoon’s teams developing the associated networks on
   20 which the SAFEMOON Tokens would function, rather than having their profit
   21 derived from market forces of supply and demand, such as might affect the price of
   22 a commodity such as gold (or Bitcoin).
   23    362.       Investors in SAFEMOON Tokens relied on the managerial and
   24 entrepreneurial efforts of SafeMoon and the Executive Defendants to manage,
   25 market, and develop the so-called SafeMoon ecosystem.
   26    363.       The Executive Defendants typically held themselves out to investors as
   27 experts in the blockchain and crypto field. Investors in the SAFEMOON Tokens
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    1 reasonably expected the SafeMoon development teams to provide significant
    2 managerial efforts after the SAFEMOON Tokens’ launch.
    3    364.       Investors in SAFEMOON Tokens thus reasonably expected the
    4 Company and Executive Defendants to provide significant managerial efforts
    5 after the token launch.
    6    365.       This dependency, however, on the managerial efforts of the Company
    7 and Executive Defendants was not apparent at issuance to a reasonable investor.
    8 Considering the limited available information about how these SAFEMOON Tokens
    9 were designed and intended to operate, if such an investor were even able to interpret
   10 the relevant law at the time, a reasonable investor lacked sufficient bases to conclude
   11 whether the SAFEMOON Tokens were securities until the platform at issue, and its
   12 relevant “ecosystem,” had been given time to develop. In the interim, the investor
   13 lacked the facts necessary to conclude ‒ let alone formally allege in court ‒ that the
   14 tokens she had acquired were securities. It was only after certain revelations that
   15 provided more information about Defendant’s intent, SafeMoon’s token economics,
   16 and how the Executive Defendants operated to hide their ownership in both the
   17 Company and the SAFEMOON Token, that an investor could reasonably determine
   18 that a token that was advertised as something other than a security was a security all
   19 along.
   20          B.   Investors Would Not Reasonably Have Understood that
                    SAFEMOON Tokens Were Securities
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   22    366.       In connection with the SAFEMOON Token launch, the Company and
   23 Executive Defendants made statements that reasonably led Plaintiff and Class
   24 members to conclude that the SAFEMOON Tokens were not securities.
   25    367.       As a threshold matter, the Company refused to register SAFEMOON
   26 Tokens with the SEC, which indicated to investors that these were not securities.
   27 No such valid exemption from registration requirements exists for SAFEMOON
   28 Tokens.
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    1     368.      Additionally, SafeMoon’s whitepaper refers to “new use cases” for the
    2 SAFEMOON Tokens,218 suggesting to investors that SAFEMOON Tokens were
    3 “utility tokens,” rather than “security tokens” (which would be securities that would
    4 have to be registered with the SEC).
    5     369.      At the time of the SAFEMOON Token launch, Defendants took
    6 advantage of the market’s lack of understanding and awareness concerning how
    7 cryptocurrency projects – particularly decentralized finance projects – work.
    8 Considering the new technology at issue and the Company’s other statements, many
    9 investors were understandably unaware that SAFEMOON Tokens had
   10 fundamentally different features than other cryptocurrencies, which the SEC has
   11 determined are not securities.
   12     370.      Karony himself stated on September 25, 2021, that “SafeMoon is NOT
   13 a token project. We are a tech company, that uses SafeMoon as the connecting agent
   14 in our ecosystem.” Karony echoed this sentiment in an article on December 21,
   15 2021, being quoted as saying: “SafeMoon is actually a tech company, it’s a
   16 blockchain innovation company.”219
   17     371.      Moreover, the SafeMoon project was advertised as developing
   18 revolutionary and cutting edge blockchain technology that was safer than existing
   19 products. Unbeknownst to investors, most of the products ultimately produced by
   20 the SafeMoon developers like Smith were simply knockoffs of other existing
   21 products.
   22     372.      In addition to claiming SafeMoon’s technical superiority over other
   23 cryptocurrencies, the Company also indicated that it would benefit financially and
   24 use the funds raised through SAFEMOON Token launch to continue to enhance the
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   27       See fn.18, supra.
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            Vanessa Armstrong, SafeMoon’s emphatic fanbase won’t let it fail, UTAH
   28 BUSINESS (Dec. 21, 2021), https://www.utahbusiness.com/the-safemoon-fanbase-
      wont-let-this-utah-based-crypto-fail/.
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    1 SafeMoon-related products (e.g., wallet and exchange) and support the growth of
    2 the project.
    3    373.        At the time of the SAFEMOON Token launch, Defendants took
    4 advantage of the market’s lack of understanding and awareness concerning how this
    5 investment contract worked. With promises that SAFEMOON Tokens would be
    6 better than other cryptocurrencies, many individuals were unaware that
    7 SAFEMOON          Tokens    had    fundamentally    different   features    than   other
    8 cryptocurrencies, including being more centralized than Bitcoin or Ethereum. One
    9 of these primary differences is that all SAFEMOON Tokens were issued by Nagy
   10 and the Company at creation at very little economic cost ‒ and enormous potential
   11 upside ‒ to them.
   12    374.        The creation of SAFEMOON Tokens by Nagy and Smith occurred
   13 through a centralized process, in contrast to Bitcoin and Ethereum. This would not
   14 have been apparent at issuance, however, to a reasonable investor. Rather, it was
   15 only after the passage of time and disclosure of additional information about the
   16 issuer’s intent and process of management to arise that a reasonable purchaser could
   17 know that he or she had acquired a security. Purchasers were thereby misled into
   18 believing that the SAFEMOON Token was something other than a security, when it
   19 was a security.
   20    375.        Accordingly, it was not apparent to a reasonable investor, at issuance,
   21 that the SAFEMOON Tokens were securities under the law, and a reasonable
   22 investor would not have believed they were securities.
   23         C.     Guidance from the SEC
   24              1.      The SEC’s 2019 Framework
   25    376.        On April 3, 2019, the SEC published its “Framework for ‘Investment
   26 Contract’ Analysis of Digital Assets” (the “Framework”) in which it “provided a
   27 framework for analyzing whether a digital asset is an investment contract and
   28 whether offers and sales of a digital asset are securities transactions.”
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    1     377.       The Framework described how to analyze the various facts surrounding
    2 an ICO in making the determination of whether a given digital asset is a security.
    3     378.       In particular, the Framework provides that the “inquiry into whether a
    4 purchaser is relying on the efforts of others focuses on two key issues: Does the
    5 purchaser reasonably expect to rely on the efforts of an [Active Participant or “AP”]?
    6 Are those efforts ‘the undeniably significant ones, those essential managerial efforts
    7 which affect the failure or success of the enterprise,’ as opposed to efforts that are
    8 more ministerial in nature?”
    9     379.       The Framework further notes that the “stronger the[ ] presence” of the
   10 following factors, “the more likely it is that a purchaser of a digital asset is relying
   11 on the ‘efforts of others.’”
   12     380.       The first factor the SEC looked at was whether an AP is responsible
   13 for the development, improvement (or enhancement), operation, or promotion of the
   14 network, particularly if purchasers of the digital asset expect an AP to be performing
   15 or overseeing tasks that are necessary for the network or digital asset to achieve or
   16 retain its intended purpose or functionality.
   17     381.       At the time of the SAFEMOON Token launch, Defendants actively
   18 marketed the token launch and the SafeMoon project, thereby necessitating the
   19 continued managerial efforts of the Company and Executive Defendants. Where
   20 the network or the digital asset is still in development and the network or digital asset
   21 is not fully functional at the time of the offer or sale, purchasers would reasonably
   22 expect an AP to further develop the functionality of the network or digital asset
   23 (directly or indirectly).
   24     382.       Another factor the Framework considers is whether the AP creates
   25 or supports a market for, or the price of, the digital asset. This includes, inter alia,
   26 whether the AP “(1) controls the creation and issuance of the digital asset; or
   27 (2) takes other actions to support a market price of the digital asset, such as by
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    1 limiting supply or ensuring scarcity through, for example, buybacks, “burning,” or
    2 other activities.”
    3     383.      As noted above (see supra, ¶252), all of the SAFEMOON tokens in
    4 circulation were created at the direction of Nagy and Smith. Additionally, Nagy and
    5 Smith also created the protocols by which the SAFEMOON Tokens are burned.
    6     384.      The framework further states that “An AP has a continuing
    7 managerial role in making decisions about or exercising judgment concerning the
    8 network or the characteristics or rights the digital asset represents[.]”
    9     385.      Here, the Company and Executive Defendants have discussed the long-
   10 term prospects on years-long time frames, continually noting how the SafeMoon
   11 ecosystem will “evolve” in the future.
   12     386.      The ability to determine whether and where the digital asset will trade
   13 is another factor discussed in the Framework. For example, “purchasers may
   14 reasonably rely on an AP for liquidity, such as where the AP has arranged, or
   15 promised to arrange for, the trading of the digital asset on a secondary market or
   16 platform.”
   17     387.      Here, SafeMoon’s whitepaper focuses extensively on the ability of the
   18 SAFEMOON Token smart contract to “automatically capture liquidity” and enable
   19 trading of the SAFEMOON Token.220
   20     388.      Another factor the Framework notes is whether the AP has the ability
   21 to determine who will receive additional digital assets and under what conditions.
   22 This could be, for example, “[m]aking or contributing to managerial level business
   23 decisions, such as how to deploy funds raised from sales of the digital asset.”
   24     389.      Here, the Company, along with the Controlling Defendants, are the
   25 arbiters of funding for SafeMoon project.
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              See fn.18, supra.
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    1     390.       The Company’s Twitter account also announced that Karony himself
    2 had locked up “$250 MILLION+ DOLLARS WORTH OF LP.” in the liquidity pool
    3 to fund future project and marketing campaigns.221
    4     391.       Making other managerial judgements or decisions that will directly or
    5 indirectly impact the success of the network or the value of the digital asset
    6 generally.
    7     392.       The Framework also remarks that purchasers would reasonably
    8 expect the AP to undertake efforts to promote its own interests and enhance the value
    9 of the network or digital asset, including, but not limited to, the instances where the
   10 AP “has the ability to realize capital appreciation from the value of the digital asset.
   11 This can be demonstrated, for example, if the AP retains a stake or interest in the
   12 digital asset.”    According to the SEC, in these instances, “purchasers would
   13 reasonably expect the AP to undertake efforts to promote its own interests and
   14 enhance the value of the network or digital asset.”
   15     393.       Here, several Defendants – including but not limited to Karony and
   16 Arriaga – retain a significant interest in the SafeMoon project even after selling off
   17 many SAFEMOON Tokens at the height of the token launch (see supra).
   18               2.     SEC’s Previous Statements and Findings
   19     394.       On May 7, 2021, on CNBC’s “Squawk Box” television program,
   20 chairman of the SEC Gary Gensler stated that “a lot of crypto tokens – I won’t call
   21 them cryptocurrencies for this moment – are indeed securities[.]”222 In addition
   22 to being the Chairman of the SEC, Mr. Gensler is also a world renowned expert on
   23 cryptocurrencies and blockchain technology, having taught the “Blockchain and
   24
   25
        221
            @SafeMoon 2.0           , Twitter (Apr. 21, 2021), https://twitter.com/
   26 safemoon/status/1384869489376907265?s=20&t=SNlPI ut6sbeeQ6RbNX8iw.
      222
   27       Jesse Point, SEC Chairman Gary Gensler says more investor protections are
      needed for bitcoin and crypto markets, CNBC (May 7, 2021), https://www.cnbc.com
   28 /2021/05/07/sec-chairman-gary-gensler-says-more-investor-protections-are-
      needed-for-bitcoin-and-crypto-markets.html.
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    1 Money” course at the Sloan School of Management at the Massachusetts Institute of
    2 Technology (“MIT”).223 [Emphasis added.]
    3     395.       In a June 14, 2018 speech entitled “Digital Asset Transactions: When
    4 Howey Met Gary (Plastic)” that is available on the SEC’s website,224 the following
    5 observations were made on “when a digital transaction may no longer represent a
    6 security offering”:
    7         If the network on which the token or coin is to function is sufficiently
    8         decentralized – where purchasers would no longer reasonably expect a
    9         person or group to carry out essential managerial or entrepreneurial
   10         efforts – the assets may not represent an investment contract.
   11         Moreover, when the efforts of the third party are no longer a key factor
   12         for determining the enterprise’s success, material information
   13         asymmetries recede. As a network becomes truly decentralized, the
   14         ability to identify an issuer or promoter to make the requisite
   15         disclosures becomes difficult, and less meaningful.
   16         And so, when I look at Bitcoin today, I do not see a central third party
   17         whose efforts are a key determining factor in the enterprise. The
   18         network on which Bitcoin functions is operational and appears to have
   19         been decentralized for some time, perhaps from inception.
   20     396.       A key factor in determining whether a digital asset is a security or not
   21 is whether the there is a centralized entity behind the digital asset.225
   22
   23
   24   223
               Lectures and Materials from Chairman Gensler’s MIT course are available to
   25   the public for free at: https://ocw.mit.edu/courses/sloan-school-of-management/15-
        s12-blockchain-and-money-fall-2018/video-lectures/session-1-introduction/.
   26   224
               William Hinman, Digital Asset Transactions: When Howey Met Gary
        (Plastic), Remarks at the Yahoo Finance All Markets Summit: Crypto, SEC (Speech)
   27   (June 14, 2018), https://www.sec.gov/news/speech/speech-hinman-061418.
        225
   28          Id. (noting that the “decentralized structure” of Bitcoin and Ethereum placed
        these digital assets outside the “disclosure regime of the federal securities laws”).
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    1     397.       As discussed above, the circumstances surrounding the creation of the
    2 SAFEMOON Token demonstrate that an exceedingly small number of centralized
    3 insiders maintained exclusive control over the SafeMoon project.
    4     398.       Finally, the SEC also already concluded that another virtual currency
    5 (i.e., DAO tokens) that substantially similar to SAFEMOON Tokens are “securities
    6 and therefore subject to the federal securities laws.” As stated by the SEC, “issuers
    7 of distributed ledger or blockchain technology-based securities must register offers
    8 and sales of such securities unless a valid exemption applies.”226
    9                               CLASS ALLEGATIONS
   10     399.       Plaintiff brings this action, individually, and on behalf of a nationwide
   11 class, pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or 23(b)(3),
   12 defined as follows:
   13         All persons who, during the Class Period, purchased SafeMoon’s
   14         SAFEMOON Tokens and were subsequently damaged thereby.
   15     400.       The Class Period is defined as the period between March 8, 2021 and
   16 the date of this filing.227
   17     401.       Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates,
   18 agents, employees, officers, and directors; (c) Plaintiff’s counsel and Defendants’
   19 counsel; and (d) the judge assigned to this matter, the judge’s staff, and any member
   20 of the judge’s immediate family. Plaintiff reserves the right to modify, change, or
   21 expand the various class definitions set forth above, based on discovery and further
   22 investigation.
   23     402.       Numerosity: Upon information and belief, the Class is so numerous
   24 that joinder of all members is impracticable. While the exact number and identity
   25
   26   226
            Press Release, SEC Issues Investigative Report Concluding DAO Tokens, a
   27 Digital  Asset, Were Securities, SEC (July 25, 2017), https://www.sec.gov
      /news/press-release/2017-131.
   28 227   Plaintiff reserves the right to expand or amend the Class Period based on
      discovery produced in this matter.
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    1 of individual members of the Class is currently unknown, such information being in
    2 the sole possession of SafeMoon and/or third parties and obtainable by Plaintiff only
    3 through the discovery process, Plaintiff believes, and on that basis alleges, that the
    4 Class consists of at least hundreds of people. The number of Class members can be
    5 determined based on SafeMoon’s and other third party’s records.
    6    403.       Commonality: Common questions of law and fact exist as to all
    7 members of the Class. These questions predominate over questions affecting
    8 individual Class members. These common legal and factual questions include, but
    9 are not limited to:
   10        a.     whether the SAFEMOON Tokens are securities under the Securities
   11               Act;
   12        b.     whether the sale of SAFEMOON Tokens violates the registration of the
   13               Securities Act;
   14        c.     whether    Defendants       improperly   and    misleadingly   marketed
   15               SAFEMOON Tokens;
   16        d.     whether Defendants’ conduct violates the state consumer protection
   17               statutes asserted herein;
   18        e.     whether Promoter Defendants aided and abetted violations of the state
   19               consumer protection statutes asserted herein;
   20        f.     whether Executive Defendants conspired to artificially inflate the price
   21               of the SAFEMOON Tokens and then sell their SAFEMOON Tokens to
   22               unsuspecting investors;
   23        g.     whether Defendants have been unjustly and wrongfully enriched as a
   24               result of their conduct;
   25        h.     whether the proceeds that Defendants obtained as a result of the sale of
   26               SAFEMOON Tokens, rightfully belongs to Plaintiff and Class
   27               members;
   28
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    1         i.      whether Defendants should be required to return money they received
    2                 as a result of the sale of SAFEMOON Tokens to Plaintiff and Class
    3                 members;
    4         j.      whether Executive Defendants breached the implied covenant of good
    5                 faith and fair dealing; and
    6         k.      whether Plaintiff and Class members have suffered damages, and, if so,
    7                 the nature and extent of those damages.
    8    404.         Typicality: Plaintiff has the same interest in this matter as all Class
    9 members, and Plaintiff’s claims arise out of the same set of facts and conduct as the
   10 claims of all Class members. Plaintiff’s and Class members’ claims all arise out of
   11 SafeMoon’s uniform misrepresentations, omissions, and unlawful, unfair, and
   12 deceptive acts and practices related to the sale of SAFEMOON Tokens.
   13    405.         Adequacy: Plaintiff has no interest that conflicts with the interests of
   14 the Class and are committed to pursuing this action vigorously. Plaintiff has retained
   15 counsel competent and experienced in complex consumer class action litigation.
   16 Accordingly, Plaintiff and Lead Counsel will fairly and adequately protect the
   17 interests of the Class.
   18    406.         Superiority: A class action is superior to all other available means of
   19 fair and efficient adjudication of the claims of Plaintiff and members of the Class.
   20 The injury suffered by each individual Class member is relatively small compared
   21 to the burden and expense of individual prosecution of the complex and extensive
   22 litigation necessitated by the Company’s conduct. It would be virtually impossible
   23 for individual Class members to effectively redress the wrongs done to them. Even
   24 if Class members could afford individualized litigation, the court system could not.
   25 Individualized litigation would increase delay and expense to all parties, and to the
   26 court system, because of the complex legal and factual issues of this case.
   27 Individualized rulings and judgments could result in inconsistent relief for similarly
   28 situated individuals.      By contrast, the class action device presents far fewer
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    1 management difficulties, and provides the benefits of single adjudication, economy
    2 of scale, and comprehensive supervision by a single court.
    3     407.       Defendants have acted or refused to act on grounds generally applicable
    4 to the Class, thereby making appropriate final injunctive relief and corresponding
    5 declaratory relief with respect to the Class as a whole.
    6                              FIRST CAUSE OF ACTION
    7                              Section 10(b) and Rule 10b-5
                                False and Misleading Statements
    8                   (Against the Company and Executive Defendants)
    9
          408.       Plaintiff restates and realleges all preceding allegations above as if fully
   10
        set forth herein.
   11
          409.       Plaintiff incorporates the allegations above.
   12
          410.       Plaintiff brings this claim for violations of Section 10(b) of the
   13
        Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b), and Rule
   14
        10b-5(b) promulgated thereunder, 17 C.F.R. §240.10b-5(b).
   15
          411.       Plaintiff brings this claim on behalf of all Class members who
   16
        purchased SAFEMOON Tokens from March 8, 2021 to the time of this filing.
   17
          412.       The SAFEMOON Tokens are securities within the meaning of Section
   18
        2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1). Moreover, the Company’s CEO,
   19
        Karony, has admitted that SafeMoon is not a token project. Instead, as a self-
   20
        described “tech company,” Defendants sold these securities to Plaintiff and the other
   21
        Class members during and after the March 2021 launch.
   22
          413.       Section 10(b) and Rule 10b-5(b) make it illegal, in connection with the
   23
        purchase or sale of any security, “for any person, directly or indirectly, by the use of
   24
        any means or instrumentality of interstate commerce, or of the mails or of any
   25
        facility of any national securities exchange . . . to make any untrue statement of a
   26
        material fact or to omit to state a material fact necessary in order to make the
   27
   28
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    1 statements made, in the light of the circumstances under which they were made, not
    2 misleading.”
    3    414.        Defendants carried out a plan, scheme, and course of conduct that
    4 SafeMoon intended to and did deceive the retail investors – Plaintiff and the other
    5 Class members – who acquired SAFEMOON Tokens pursuant to the March 2021
    6 launch offering and thereby caused them to purchase SAFEMOON Tokens at
    7 artificially inflated prices.
    8    415.        In connection with the March 2021 launch of SAFEMOON Tokens,
    9 Defendants disseminated, approved, and/or endorsed the false statements described
   10 herein, which these Defendants knew or recklessly should have known were
   11 materially misleading in that they contained material misrepresentations and failed
   12 to disclose material facts necessary in order to make the statements made, in light of
   13 the circumstances under which they were made, not materially misleading.
   14    416.        Defendants employed devices, schemes, and artifices to defraud; made
   15 untrue statements of material fact and omitted to state material facts necessary to
   16 make the statements made not misleading; and engaged in acts, practices, and a
   17 course of business that operated as a fraud and deceit upon the Class members that
   18 resulted in artificially high market prices for SAFEMOON Tokens in connection
   19 with the March 2021 launch, in violation of Section 10(b) of the Exchange Act and
   20 Rule 10b-5 promulgated thereunder.
   21         Misrepresentations and Omissions
   22    417.        Defendants’ untrue statements and omissions of material facts in
   23 connection with the sale of SAFEMOON Tokens include at least the following:
   24                a)    In the Long Whitepaper (published prior to the launch of
   25 SAFEMOON Tokens in March 2021), the Company represented that it had devised
   26 a “Step-by-Step Plan to Ensure 100% Safety,” and that, as step 3 of that plan, “LP
   27 Locked on DxLocker for 4 years.” In order to make this statement not misleading,
   28 the Company was required to, but did not, disclose that it was not using a mechanism
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    1 to lock funds in the liquidity pools such that those funds could not be accessed by
    2 the Company or the Executive Defendants.
    3               b)    On March 19, 2021, the Company stated: “The moon just became
    4 even more #SAFU. Now completed is the 4 year lock on the second LP. We now
    5 have 2 locked LP expiring on May 1, 2025.” In order to make this statement not
    6 misleading, the Company was required to, but did not, disclose that it was not using
    7 a mechanism to lock funds in the liquidity pools such that those funds could not be
    8 accessed by the Company or the Executive Defendants.
    9               c)    On March 19, 2021, in a now-deleted post on his official Twitter
   10 account, Phillips publicly stated: “I keep seeing #SafeMoon everywhere anyone
   11 know about it? Is it gonna pop? Or . . . has it got Big #Doge energy.”228 In order
   12 to make this statement not misleading Phillips was required to, but did not, disclose
   13 his connection to the Company and that the “buzz” about SafeMoon manufactured
   14 by Defendants themselves instead of being naturally created by investor interest.
   15               d)    On March 21, 2021, the Company released a statement via its
   16 official Twitter account, stating that 841,685,253,836 SAFEMOON Tokens “have
   17 been burnt in the last 24 hours alone. That’s over 800 billion tokens permanently
   18 removed from the circulating supply!” By stressing the “burn” of the SAFEMOON
   19 Token supply in a short period of time, the Company purposefully suggested to
   20 investors that the value of SAFEMOON Token would increase as more
   21 SAFEMOON Tokens are burned.             In this statement and thereafter, however,
   22 SafeMoon has never disclosed the details of the Company’s token burning protocols,
   23 which was material information. In order to make this statement not misleading,
   24 Defendants were obligated to (but did not) disclose that the Company could change
   25 the burn rate at will, thus there was no guarantee to investors that the supply of
   26 SAFEMOON Tokens would continue to depreciate from tokens being burned.
   27
        228
   28        See https://www.reddit.com/r/SafeMoon/comments/m8mjpk/safemoontweet
        _by_ben_phillips_benphillipsuk/ (last visited Feb. 16, 2022).
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    1               e)    On March 22, 2021, the Company announced that “over 1.1
    2 trillion tokens [were] permanently removed from the circulating supply” and that
    3 this amount of tokens were “burnt in the last 24 hours alone. By stressing the “burn”
    4 of the SAFEMOON Token supply in a short period of time, the Company
    5 purposefully suggested to investors that the value of SAFEMOON Token would
    6 increase as more SAFEMOON Tokens are burned. In this statement and thereafter,
    7 however, SafeMoon has never disclosed the details of the Company’s token burning
    8 protocols, which was material information. In order to make this statement not
    9 misleading, Defendants were obligated to (but did not) disclose that the Company
   10 could change the burn rate at will, thus there was no guarantee to investors that the
   11 supply of SAFEMOON Tokens would continue to depreciate from tokens being
   12 burned.
   13               f)    On March 27, 2021, Paul, speaking on behalf of the Company,
   14 promoted SAFEMOON in a tweet stoking investors’ fear of missing out on the next
   15 big thing (i.e., SAFEMOON Tokens).           In order to make this statement not
   16 misleading, Defendants were obligated to disclose that (1) Paul was a paid promotor
   17 working for the Company and (2) Paul was paid in SAFEMOON Tokens and could
   18 (and did) sell those tokens immediately with no restrictions.
   19               g)    On March 29, 2021, McCollum, speaking on behalf of the
   20 Company, promoted SAFEMOON in a tweet that suggested that the SAFEMOON
   21 Token would be just as profitable for investors as another more-popular token: Doge
   22 coin. In order to make this statement not misleading, Defendants were obligated to
   23 disclose that (1) McCollum was a paid promotor working for the Company and
   24 (2) McCollum was paid in SAFEMOON Tokens and could (and did) sell those
   25 tokens immediately with no restrictions.
   26               h)    On March 31, 2021, McCollum, speaking on behalf of the
   27 Company, promoted SAFEMOON in a tweet repeating “SAFEMOON” over and
   28 over again in an attempt to generate sales of the SAFEMOON Tokens. In order to
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    1 make this statement not misleading, Defendants were obligated to disclose that
    2 (1) McCollum was a paid promotor working for the Company and (2) McCollum
    3 was paid in SAFEMOON Tokens and could (and did) sell those tokens immediately
    4 with no restrictions.
    5               i)     On April 3, 2021, the Company announced that 396 trillion
    6 SAFEMOON Tokens were “burnt” and “gone.” That same day, Karony, speaking
    7 as the Company’s CEO, reposted the token announcement on his personal Twitter
    8 account and noted in the caption that the supply of SAFEMOON Tokens would
    9 receive “continual burns” and that the price of the SAFEMOON Tokens was at an
   10 all-time high (“ATH”) and would be going to the “moon” imminently. By stressing
   11 the “burn” of the SAFEMOON Token supply in a short period of time, the Company
   12 and Karony purposefully suggested to investors that the value of SAFEMOON
   13 Token would increase as more SAFEMOON Tokens are burned. In this statement
   14 and thereafter, however, SafeMoon has never disclosed the details of the Company’s
   15 token burning protocols, which was material information. In order to make this
   16 statement not misleading, Defendants were obligated to (but did not) disclose that
   17 the Company could change the burn rate at will, thus there was no guarantee to
   18 investors that the supply of SAFEMOON Tokens would continue to depreciate (and,
   19 in turn, increase the scarcity and value of the SAFEMOON Tokens) from “continual
   20 burns.”
   21               j)     On April 6, 2021, Keem, speaking on behalf of the Company,
   22 advised investors to “HODL da #SAFEMOON” because “12 months from now
   23 looks good.” In order to make this statement not misleading, Defendants were
   24 obligated to (but did not) disclose that (1) Keem was a paid promoter working for
   25 (not with) the Company, (2) Keem was paid in SAFEMOON Tokens and could (and
   26 did) sell those tokens immediately with no restrictions, and (3) Keem was not look
   27 “12 months from now” at the long-term growth prospects for Safemoon but rather
   28 was planning on selling (and did) at the first opportunity.
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    1               k)    On April 7, 2021, the Company’s official Twitter account posted
    2 a video update from Karony, wherein he stated, among other things, that the
    3 Company’s developers were using the “most innovative” features for the exchange.
    4 In order to make this statement not misleading, Defendants were obligated to (but
    5 did not) disclose that the Company had no intention of creating innovations for the
    6 SafeMoon exchange or wallet but rather planned on (and did) using a copied version
    7 of existing smart contracts and cryptocurrency coding.
    8               l)    On April 8, 2021, the Company, and Karony speaking on the
    9 Company’s behalf, stated: “400 TRILLON TOKENS BURNT GONE! NEVER
   10 COMING BACK.” By stressing the “burn” of the SAFEMOON Token supply in a
   11 short period of time, the Company purposefully suggested to investors that the value
   12 of SAFEMOON Token would increase as more SAFEMOON Tokens are burned.
   13 In this statement and thereafter, however, SafeMoon has never disclosed the details
   14 of the Company’s token burning protocols, which was material information. In order
   15 to make this statement not misleading, Defendants were obligated to (but did not)
   16 disclose that the Company could change the burn rate at will, thus there was no
   17 guarantee to investors that the supply of SAFEMOON Tokens would continue to
   18 depreciate from tokens being burned.
   19               m)    On April 17, 2021, Way, speaking on behalf of the Company,
   20 stated on his personal Twitter account that he had a public wallet address for
   21 SAFEMOON Tokens, signaling to investors that Way was investing his own money
   22 into SAFEMOON Tokens.           In order to make this statement not misleading,
   23 Defendants were obligated to disclose that (1) Way was a paid promotor working
   24 for the Company and (2) Way was paid in SAFEMOON Tokens and could (and did)
   25 sell those tokens immediately with no restrictions.
   26               n)    On April 18, 2021, Keem, speaking on behalf of the Company,
   27 urged investors to “CHECK YOUR #SAFEMOON RIGHT NOW!” because the
   28
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    1 “price is going through the damn roof!”, cheering them on “bro we’re rich!”229
    2 Keem went on to state: “Truly believe in #SAFEMOON & not for this quick
    3 boom. I’m long. People at @safemoon are doing some much good stuff. Love the
    4 roadmap. Huge community already. Feels like the start of something huge. In a
    5 world of 100,000 new crypto coins. This one sticks out!” In order to make these
    6 statements not misleading, Defendants were obligated to disclose that (1) Keem was
    7 a paid promotor working for the Company and (2) Keem was paid in SAFEMOON
    8 Tokens and could (and did) sell those tokens immediately with no restrictions.
    9               o)    On April 18, 2021, Witriol, speaking on behalf of the Company,
   10 posted a screenshot that showed the hashtag “#SAFEMOON” was trending in
   11 California and stated in the caption to that post: “This is only in California” and
   12 “#safemoonisthenewdoge coin.” In order to make these statements not misleading,
   13 Defendants were obligated to disclose that: (1) SafeMoon’s popularity specifically
   14 in California was not organically created (as suggested by Witriol) but rather
   15 artificially manufactured by Witriol himself and the other Defendants; and (2) the
   16 comparison to the heavily-traded Dogecoin was not based on any measurable
   17 similarities but rather it was simply meant to have investors believe that the
   18 SAFEMOON Token would be just as profitable for investors as Dogecoin.
   19               p)    On April 21, 2021, the Company and Haines-Davies stated in
   20 response to a drop in the price of the SAFEMOON Tokens: “That wasn’t a dip today
   21 . . . we went back to earth for a bigger rocket and more passengers.” In order to
   22 make these statements not misleading, Defendants were obligated to disclose that
   23 they were responsible for the downward selling pressure on the SAFEMOON
   24 Tokens and, as a result, that investors would be unable to receive any return on
   25 investment.
   26               q)    On April 21, 2021, Karony stated in a series of all-caps tweets:
   27 “THE LP LOCK IS NOT AUTOMATIC BUT AUTOMATED. AUTOMATED
   28
        229
              https://twitter.com/KEEMSTAR/status/1383976698098507785.
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    1 AND AUTOMATIC ARE NOT THE SAME THING. THIS IS ONE FOR BOTH
    2 SECURITY AND LONGEVITY OF #SAFEMOON. WE ARE FOCUSED ON
    3 THE FUTURE, AND UNDERSTAND THAT SITUATIONS ARISE WHICH
    4 MAY REQUIRE THE USE OF THE LP. USES INCLUDE: SEEDING OTHER
    5 EXCHANGES          AND     DEX’S,     DEVELOPMENT          COSTS      OF    FUTURE
    6 SAFEMOON INNOVATIONS.” In order to make this statement not misleading,
    7 Karony was obligated to disclose that the liquidity pools were not locked in an
    8 automatic fashion because the Company and the Executive Defendants wanted to,
    9 and did in fact, siphon funds from those pools (not because they wanted to reserve
   10 their right to use such funds to invest in “future Safemoon innovations”). He was
   11 likewise obligated to disclose that the funds were not “locked” in any meaningful
   12 way because they could be accessed by the Company and the Executive Defendants.
   13               r)     On April 21, 2021, the Company stated on its official Twitter
   14 account that SafeMoon was going to lock up $250 million of the SafeMoon liquidity
   15 pool. That same day, Karony stated: “We are locking away the current LP, which
   16 is a quarter of a billion+ dollars worth of tokens.” In order to make that statement
   17 not misleading at the time, Defendants were obligated to disclose that Karony and
   18 the Executive Defendants had not, in truth, locked the liquidity pool but were instead
   19 using the funds in the liquidity pool for non-business/personal purchases and
   20 expenses. Months later, on June 2, 2021, Arriaga admitted that the liquidity pool
   21 was not locked (in an automatic fashion or otherwise). Karony was likewise
   22 obligated to disclose that the funds were not “locked” in any meaningful way
   23 because they could be accessed by the Company and the Executive Defendants.
   24               s)     On May 3, 2021, the Company stated:
   25         In regards to owner control, we are a fair launch governed by a central
   26         board which is subject to governmental regulations and law. We are a
   27         legally registered entity in accordance to the law and jurisdiction in
   28         which we operate. SafeMoon is very different from other projects, and
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    1         our differences provide more security for the community vs.
    2         anonymous teams and projects. Risks in regard to “rug pulls” or
    3         anything else is mitigated due to the fact that every member of
    4         SafeMoon would be subject to litigation and likely a swift prison
    5         sentence. Additionally, outside of the law, our social lives would be in
    6         ruin, and we would not be able to show our faces in public again, let
    7         alone get another job. This should be taken into account when looking
    8         at the SafeMoon project as a whole.
    9 This statement thus suggested that the Company and the Executive Defendants
   10 would not siphon funds from the liquidity pools. In order to make this statement not
   11 misleading, the Company was obligated to disclose that it and the Executive
   12 Defendant had, and were in fact, siphoning funds from the liquidity pools.
   13               t)     On May 16, 2021, Karony, speaking on behalf of the Company,
   14 stated that SafeMoon was in “ongoing conversations about SafeMoon” with
   15 Gambia’s “Ambassador at-Large, Sankung Jawara, who has done the initial vetting
   16 of Safemoon.” Karony further stated that SafeMoon would be used as “another tool
   17 in [Gambia’s] forward-leaning, innovative efforts.”         In order to make these
   18 statements not misleading, Defendants were obligated to disclose that the Company
   19 was not in any meaningful discussions with the Gambian government about
   20 implementing SafeMoon into the country’s financial system but instead that the
   21 meeting with Gambia’s “Ambassador at-Large” was just a meet and greet that was
   22 arranged by Karony’s parents in order to give the appearance of authenticity to
   23 investors.
   24               u)     On May 18, 2021, Portnoy, acting as a representative of the
   25 Company, recommended to his followers: “If it is a Ponzi, get in on the ground floor.
   26 To the Moon, safely we go.” He further discloses that he had purchased $40,000 in
   27 SAFEMOON Tokens and that “he will not sell in the near future.” Within an hour
   28 of Portnoy’s post, the price of SAFEMOON Tokens rose about 18%. Portnoy
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    1 tweeted later that day: “Ps - #safemoon is up 25% since I adopted it” and “Rules of
    2 #SAFEMOON”: “Always tell people you bought it,” “Never sell it,” “Get pucks in
    3 deep,” and “Make memes.” In order to make these statements not misleading, the
    4 Company was obligated to disclose that: (1) many of the Executive Defendants,
    5 including, but not limited to Nagy, Smith, Haines-Davies, and Wyatt, as well as the
    6 Promotor Defendants had already sold off some or all of their SAFEMOON Token
    7 holdings when the trading volume was artificially inflated between March 2021 and
    8 May 2021; and (2) without continued artificial pumping of the volume, the
    9 SAFEMOON Tokens price would never recover, leaving investors stuck holding
   10 worthless tokens that no one wants to buy.
   11               v)    On May 24, 2021, Arriaga, operating on behalf of the Company,
   12 created the “FUD Hound” account on YouTube and published videos “debunking”
   13 and “exposing” critics of SAFEMOON. In particular, Arriaga posted six videos to
   14 the FUD Hound channel on the following dates: (1) May 24, 2021; (2) May 28,
   15 2021; (3) June 2, 2021; (4) June 7, 2021; (5) June 13, 2021; and (6) June 21, 2021.
   16 Each one of these videos contains misleading statements about SafeMoon’s growth
   17 prospects, the safety and functionality of SafeMoon’s technology, the Hashex audit’s
   18 findings, and the timing of milestones for the Company, etc. In order to make these
   19 videos as a whole, and the statements made therein, not misleading, the Company
   20 was obligated to disclose that Arriaga was working on behalf of the Company at the
   21 time these videos were made and released.
   22               w)    On June 1, 2021, the Company published a photo of puppies with
   23 SafeMoon badges photoshopped on, with accompanying text that read: “No rug pulls
   24 here.” In order to make this post not misleading, the Company was obligated to
   25 disclose that: (1) many of the Executive Defendants, including, but not limited to
   26 Nagy, Smith, Haines-Davies, and Wyatt, as well as the Promotor Defendants had
   27 already sold off some or all of their SAFEMOON Token holdings when the trading
   28 volume was artificially inflated between March 2021 and May 2021; and (2) without
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    1 continued artificially pumping of the volume, the SAFEMOON Tokens price would
    2 never recover, leaving investors stuck holding worthless tokens that no one wants to
    3 buy. This post was further misleading because the Company and the Executive
    4 Defendants had already engaged in a rug pull, by siphoning funds from the liquidity
    5 pools.
    6               x)    On June 5, 2021, Witriol, speaking on behalf of the Company,
    7 stated that there was a “low chance of a rug pull” of the SAFEMOON Tokens
    8 because Karony would “lose his credentials” with the U.S. Department of Defense.
    9 In order to make this post not misleading, the Company was obligated to disclose
   10 that: (1) many of the Executive Defendants, including, but not limited to Nagy,
   11 Smith, Haines-Davies, and Wyatt, as well as the Promotor Defendants had already
   12 sold off some or all of their SAFEMOON Token holdings when the trading volume
   13 was artificially inflated between March 2021 and May 2021; and (2) without
   14 continued artificially pumping of the volume, the SAFEMOON Tokens price would
   15 never recover, leaving investors stuck holding worthless tokens that no one wants to
   16 buy. This post was further misleading because the Company and the Executive
   17 Defendants had already engaged in a rug pull, by siphoning funds from the liquidity
   18 pools.
   19               y)    On June 7, 2021, Karony, speaking on behalf of the Company,
   20 stated that the Company had “identified glaring security gaps with a lot of wallet
   21 providers” and was in the process of “integrating game changing encryption into the
   22 wallet.” Karony further stated that, “The SafeMoon wallet will be one of / if not the
   23 strongest wallets on the market. #SAFEMOON is the #Evolution! In order to make
   24 these statements not misleading, Defendants were obligated to (but did not) disclose
   25 that: (1) the Company had no intention of creating innovations for the SafeMoon
   26 wallet that would make it safer or have better encryption than other pre-existing
   27 wallets; (2) the Company intended to (and did) use a copied version of existing
   28 wallets with no additional security features; and (3) that the Company used the
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    1 SafeMoon wallet to collect investors’ personal data without first obtaining informed
    2 consent.230
    3               z)    On June 11, 2021, Karony, speaking on behalf of the Company,
    4 stated that the Company was “smashing out our internal deadlines.” Karony also
    5 hinted at imminent release dates for promised features for “the Wallet, exchange and
    6 more importantly Operation Pheonix.” In order to make these statements not
    7 misleading, Defendants were obligated to (but did not) disclose that: (1) the
    8 Company, up to that point, had made little (if any) progress with developing the
    9 SafeMoon wallet (much less the innovative, military-grade encrypted wallet that
   10 Karony promised) or exchange; and (2) that this lack of progress would delay to
   11 promised launch date for the wallet and exchange.
   12               aa)   On June 13, 2021, Karony, speaking on behalf of the Company,
   13 stated that Smith was “involved with the Doge Coin x SpaceX partnership.” In order
   14 to make these statements not misleading, Defendants were obligated to (but did not)
   15 disclose that: (1) the Smith’s so-called involvement was merely serving as the
   16 moderator for the Doge coin Facebook account Company, and not in any leadership
   17 or developer roles; and (2) Smith had no direct contact or relationship with Elon
   18 Musk or Space X.
   19               bb)   On August 14, 2021, the Company stated that the “Full Launch”
   20 of the SafeMoon Wallet would occur on August 28, 2021 and that the wallet would
   21 be “available on Android and iOS.”         In order to make these statements not
   22 misleading, Defendants were obligated to (but did not) disclose that: (1) the lack of
   23 progress with the development of the SafeMoon wallet would likely (and did) delay
   24 its “full launch” beyond August 28, 2021; and (2) the SafeMoon wallet would not
   25 be available on both Android and iOS at the time of launch.
   26
   27
        230
            Upon information and belief, the Company is, without consent, using this
   28 information to identify investors for targeted marketing for SafeMoon’s financial
      products and/or selling their investors’ personal data to third-party purchasers.
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    1               cc)    On August 19, 2021 and August 24, 2021, Karony, speaking on
    2 behalf of the Company, stated: “Looking forward to #SAFEMOONWALLET
    3 launch on August 28th!”        In order to make these statements not misleading,
    4 Defendants were obligated to (but did not) disclose that the lack of progress with the
    5 development of the SafeMoon wallet would likely (and did) delay its “full launch”
    6 beyond August 28, 2021.
    7               dd)    On November 22, 2021, Way, speaking on behalf of the
    8 Company, stated: “Safemoon just tweeted about WAGMI. Don’t miss the rocket.”
    9 In order to make this statement not misleading, Defendants were obligated to
   10 disclose that: (1) Way was a paid promotor working for the Company; and (2) Way
   11 was paid in SAFEMOON Tokens and could (and did) sell those tokens immediately
   12 with no restrictions.
   13               ee)    On December 12, 2021, Karony, speaking on behalf of the
   14 Company, stated: “Shoutout to our brilliant community, the product team and all
   15 #SAFEMOON employees for all the hard work these past 9 months, looking forward
   16 to the next 9 of evolution. Always out front! #SAFEMOONV2 is the #Evolution.”
   17 Karony also posted some frequently asked questions about the V2 Migration and
   18 provided answers on the Company’s behalf. In order to make these statements not
   19 misleading, Defendants were obligated to disclose that the primary purpose of the
   20 V2 migration was not due to purported technological innovations by the Company’s
   21 “team” but rather it was purposefully designed as a vehicle to extract value from
   22 investors and transfer that to the Company and Karony.
   23        Materiality
   24    418.       The forgoing misrepresentations and omissions were each material.
   25 These representations related to critical issues concerning the security of
   26 SAFEMOON tokenholders’ investments. Indeed, if the foregoing representations
   27 were true (and the Company had in fact locked SAFEMOON Tokens in liquidity
   28
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    1 pools), then the Company and the Executive Defendants would not have been able
    2 to access or withdraw those tokens.
    3    419.       These misrepresentations and omissions related to, among other things:
    4 (i) the extent to which the Defendants and other insiders were restricted from selling
    5 substantial amounts of SAFEMOON Tokens on crypto-asset exchanges in the weeks
    6 immediately following the March 2021 launch; (ii) the extent to which Defendants
    7 and its insiders intended to sell their SAFEMOON Token holdings over that same
    8 period; and (iii) the extent to which Defendants and its insiders did in fact sell
    9 substantial amounts of their SAFEMOON Tokens crypto-asset exchanges over that
   10 same period. If a reasonable investor knew that the Company and the Executive
   11 Defendants could in fact abscond with those tokens (or did in fact abscond with those
   12 tokens), then that investor would reasonably expect the price of SAFEMOON
   13 Tokens to be substantially lower, given that the investment would be much riskier.
   14    420.       Accordingly, there is a substantial likelihood that the disclosure of the
   15 omitted facts would have been viewed by the reasonable investor as having
   16 significantly altered the “total mix” of information made available.
   17         Scienter
   18    421.       The Company and Executive Defendants acted with scienter in
   19 engaging in the forgoing misconduct, in that they either had actual knowledge of the
   20 misrepresentations and omissions of material facts set forth herein, or acted with
   21 reckless disregard for the truth in that they failed to ascertain and to disclose such
   22 facts, even though such facts were available to them.
   23    422.       Indeed, the Company and the Executive Defendants created and
   24 controlled the software that determined whether they would have the ability to retain
   25 control over funds staked in liquidity pools and whether they could draw on those
   26 funds. They have likewise admitted that they intentionally decided to retain control
   27 over funds supposedly “locked” in liquidity pools because they wanted to provide
   28 themselves with flexibility to pay for expenses that could arise in the future.
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    1    423.        Defendants knew before the March 2021 launch that any applicable
    2 vesting periods would not preclude the Executive Defendants or their friends and
    3 family dumping massive quantities of SAFEMOON Tokens on the market and
    4 SafeMoon intended to transfer billions of the newly issued SAFEMOON Tokens to
    5 project insiders, and that it, along with those insiders, intended to dump tens of
    6 millions of these tokens on crypto-asset exchanges, such that SafeMoon and its
    7 insiders intended to profit massively from the offering, while outside investors
    8 would be precluded from doing so.
    9    424.        Indeed, Defendants necessarily knew what restrictions were imposed
   10 on their own tokens, as well as the tokens that they issued and allocated to current
   11 and former team members, and to outside investors. These Defendants likewise
   12 knew that they, along with current and former team members, held a significant
   13 amount of the total SAFEMOON Token supply in circulation, and that if that portion
   14 of the Float were sold, the price of SAFEMOON Tokens would likely collapse. It
   15 was thus highly unreasonable for Defendants to conceal information relating to
   16 selling restrictions imposed on their and their insiders’ tokens.
   17    425.        In addition, starting on March 5, 2021, Executive Defendants siphoned
   18 funds from the liquidity pools. Smith even admitted in an April 21, 2022 interview
   19 that “when the organization started, [Karony] leveraged to have [the liquidity pools]
   20 unlocked.” The Executive Defendants thus knew that funds from the liquidity pools
   21 were being siphoned from the outset.
   22    426.        Defendants’ failure to disclose such information, coupled with their
   23 imposition of various taxes on transactions on outside investors but not on
   24 themselves as well as undisclosed use of the Promotor Defendants to marketing
   25 SAFEMOON Tokens to unsuspecting investors, demonstrates that these Defendants
   26 intended that they and their insiders would sell substantial amounts of SAFEMOON
   27 Tokens at significant profits high the price was artificially inflated on and during the
   28 weeks and months that followed the March 2021 launch.
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    1     427.       The Company and the Executive Defendants had the motive not to
    2 disclose these facts because such disclosure would have been self-defeating. They
    3 controlled a significant proportion of SAFEMOON Tokens, and such a disclosure
    4 would decrease the value of those assets. In other words, they had an incentive to
    5 ensure that the price of SAFEMOON Tokens remained inflated.
    6     428.       These Defendants executed on that plan, too, by (along with current and
    7 former team members) selling trillions of SAFEMOON Tokens on the market during
    8 that period.
    9     429.       Defendants knew that they had sold SAFEMOON Tokens on the
   10 market on and in the months that followed March 8, 2021. They likewise know that
   11 their current and former team members sold SAFEMOON Tokens: in addition to
   12 stating that such individuals had sold, these Defendants know which SAFEMOON
   13 TOKENS they allocated to team members and can therefore track the transaction
   14 history of that SAFEMOON TOKENS on the blockchain.
   15         Reliance, Economic Loss, and Loss Causation
   16     430.       As a result of the publication and dissemination of the materially false
   17 and misleading information and failure to disclose material facts, as set forth above,
   18 the price of the SAFEMOON Tokens upon issuance on March 8, 2021, and for a
   19 period of time, thereafter, was artificially inflated.
   20     431.       In ignorance of the fact that the price of SAFEMOON Tokens was
   21 artificially inflated, and relying directly or indirectly on the false, misleading, and
   22 materially incomplete statements that Defendants made and approved, or upon the
   23 integrity of the market in which the SAFEMOON Tokens were sold, or on the
   24 absence of material adverse information that these Defendants knew or recklessly
   25 should have known of but failed to disclose in public statement, Plaintiff and the
   26 other Class members acquired SAFEMOON Tokens at artificially high prices and
   27 were damaged thereby.
   28
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    1    432.       As a direct and proximate result of Defendants’ wrongful conduct,
    2 Plaintiff and the other Class members suffered damages in connection with the
    3 respective purchases of SAFEMOON Tokens and are entitled to an award
    4 compensating them for such damages.
    5    433.       Indeed, the price of SAFEMOON TOKENS dropped significantly as
    6 Defendants disclosed, and the market discovered, the truth concerning the
    7 SAFEMOON project and its prospects. For example, following the release of the
    8 HashEX report on May 22, 2021, the price of SafeMoon tokens dropped
    9 approximately 30% from an opening of $0.00000568 on May 22, 2021 to a close of
   10 $0.00000396 on May 23, 2021. Furthermore, the price of SAFEMOON TOKENS
   11 went from a high of $0.00000355 on August 28, 2021 in advance of the Wallet
   12 Release to a low of $0.00000119 on September 10, 2021 in the wake of the failed
   13 wallet launch and executive departures.
   14    434.       On December 31, 2021, the price of the SAFEMOON Token hit a low
   15 of $0.0000006521 per token, an over 80% drop from its height during the Class
   16 Period, which it has not been able to recover.
   17    435.       Worse still, after briefly recovering some of these losses, the price fell
   18 again to fall in 2022.
   19    436.       For example, on the news that the Company and the Executive Team
   20 did in fact draw on the liquidity pools (on April 18, 2022, April 21, 2022, and April
   21 28, 2022), the price of SAFEMOON Tokens (V2) further plummeted. Specifically,
   22 the price of such Tokens fell from $0.0008177 on April 17, 2022, to $0.0006161 on
   23 April 18, 2022, and to $0.0004777 by the end of April 2022.
   24    437.       In addition, as a direct and proximate result of Defendants’ wrongful
   25 conduct, SafeMoon has generated and retained ill-gotten in connection with the
   26 March 2021 launch of SAFEMOON Tokens, such that Plaintiff and the other Class
   27 members are entitled to the disgorgement of SafeMoon’s ill-gotten gain from such
   28 misconduct.
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    1                           SECOND CAUSE OF ACTION
    2                             Section 10(b) and Rule 10b-5
                                        Scheme Liability
    3                  (Against the Company, the Executive Defendants,
                                 and the Promoter Defendants)
    4
    5    438.        Plaintiff restates and realleges all preceding allegations above as if fully
    6 set forth herein.
    7    439.        Plaintiff incorporates the allegations above.
    8    440.        Plaintiff brings this claim for violations of Section 10(b) of the
    9 Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b), and Rule
   10 10b-5(b) promulgated thereunder, 17 C.F.R. §240.10b-5(b).
   11    441.        Plaintiff brings this claim on behalf of all Class members who
   12 purchased SAFEMOON Tokens from March 8, 2021 to the time of this filing.
   13    442.        The SAFEMOON Tokens are securities within the meaning of Section
   14 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1). Moreover, the Company’s CEO,
   15 Karony, has admitted that SafeMoon is not a token project. Instead, as a self-
   16 described “tech company,” Defendants sold these securities to Plaintiff and the other
   17 Class members during and after the March 2021 launch.
   18    443.        Section 10(b) and Rule 10b-5(b) make it illegal, in connection with the
   19 purchase or sale of any security, “for any person, directly or indirectly, by the use of
   20 any means or instrumentality of interstate commerce, or of the mails or of any
   21 facility of any national securities exchange: (a) [t]o employ any device, scheme, or
   22 artifice to defraud; (b) [t]o make any untrue statement of a material fact or to omit
   23 to state a material fact necessary in order to make the statements made, in the light
   24 of the circumstances under which they were made, not misleading; or (c) [t]o engage
   25 in any act, practice, or course of business which operates or would operate as a fraud
   26 or deceit upon any person.” (Id.)
   27    444.        Defendants carried out a plan, scheme, and course of conduct that
   28 SafeMoon intended to and did deceive the retail investors – Plaintiff and the other
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    1 Class members – who acquired SAFEMOON Tokens pursuant to the March 2021
    2 launch offering thereafter, and thereby caused them to purchase SAFEMOON
    3 Tokens at artificially inflated prices.
    4    445.       In connection with the March 2021 launch of SAFEMOON Tokens,
    5 Defendants disseminated, approved, and/or endorsed the false statements described
    6 herein, which these Defendants knew or recklessly should have known were
    7 materially misleading in that they contained material misrepresentations and failed
    8 to disclose material facts necessary in order to make the statements made, in light of
    9 the circumstances under which they were made, not materially misleading.
   10    446.       Defendants employed devices, schemes, and artifices to defraud; made
   11 untrue statements of material fact and omitted to state material facts necessary to
   12 make the statements made not misleading; and engaged in acts, practices, and a
   13 course of business that operated as a fraud and deceit upon the Class members that
   14 resulted in artificially high market prices for SAFEMOON Tokens in connection
   15 with the March 2021 launch and thereafter, in violation of Section 10(b) of the
   16 Exchange Act and Rule 10b-5 promulgated thereunder.
   17    447.       Specifically, the Company, the Executive Defendants, and the
   18 Promoter Defendants engaged in a pump-and-dump scheme, whereby: (i) the
   19 Company provided consideration to the Promoter Defendants in exchange for their
   20 promotion of SAFEMOON Tokens; (ii) the Promoter Defendants promoted
   21 SAFEMOON Tokens on their social media platforms without disclosing that they
   22 had been given consideration to post such promotions; (iii) the Company and the
   23 Executive Defendants “re-tweeted” or otherwise broadcasted the Promoter
   24 Defendants’ promotions of SAFEMOON Tokens without disclosing that the
   25 Promoter Defendants had received consideration from the Company to post such
   26 promotions; (iv) such promotions (both when posted by the Promoter Defendants
   27 and when re-posted by the Company and the Executive Defendants) artificially
   28 inflated the demand for, and thus the price of, SAFEMOON Tokens; (v) the
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    1 Executive Defendants and Promoter Defendants sold their SAFEMOON Tokens at
    2 those inflated prices; and (vi) such sales caused the price of SAFEMOON Tokens to
    3 decrease over time.
    4     448.      Examples of the Promoter Defendants misleading promotions include
    5 the following statements:
    6               a.    On March 19, 2021, in a now-deleted post on his official Twitter
    7 account, Phillips publicly stated: “I keep seeing #SafeMoon everywhere anyone
    8 know about it? Is it gonna pop? Or . . . has it got Big #Doge energy.”231 In order
    9 to make this statement not misleading Phillips was required to, but did not, disclose
   10 his connection to the Company and that the “buzz” about SafeMoon manufactured
   11 by Defendants themselves instead of being naturally created by investor interest.
   12               b.    On March 27, 2021, Paul, speaking on behalf of the Company,
   13 promoted SAFEMOON in a tweet stoking investors’ fear of missing out on the next
   14 big thing (i.e., SAFEMOON Tokens).           In order to make this statement not
   15 misleading, Defendants were obligated to disclose that (1) Paul was a paid promotor
   16 working for the Company and (2) Paul was paid in SAFEMOON Tokens and could
   17 (and did) sell those tokens immediately with no restrictions.
   18               c.    On March 29, 2021, McCollum, speaking on behalf of the
   19 Company, promoted SAFEMOON in a tweet that suggested that the SAFEMOON
   20 Token would be just as profitable for investors as another more-popular token: Doge
   21 coin. In order to make this statement not misleading, Defendants were obligated to
   22 disclose that (1) McCollum was a paid promotor working for the Company and
   23 (2) McCollum was paid in SAFEMOON Tokens and could (and did) sell those
   24 tokens immediately with no restrictions.
   25               d.    On March 31, 2021, McCollum, speaking on behalf of the
   26 Company, promoted SAFEMOON in a tweet repeateding “SAFEMOON” over and
   27
        231
   28         See    https://www.reddit.com/r/SafeMoon/comments/m8mjpk/safemoon_
        tweet_by_ben_phillips_benphillipsuk/ (last visited Feb. 16, 2022).
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    1 over again in an attempt to generate sales of the SAFEMOON Tokens. In order to
    2 make this statement not misleading, Defendants were obligated to disclose that:
    3 (1) McCollum was a paid promotor working for the Company: and (2) McCollum
    4 was paid in SAFEMOON Tokens and could (and did) sell those tokens immediately
    5 with no restrictions.
    6               e.     On April 6, 2021, Keem, speaking on behalf of the Company,
    7 advised investors to “HODL da #SAFEMOON” because “12 months from now
    8 looks good.” In order to make this statement not misleading, Defendants were
    9 obligated to (but did not) disclose that: (1) Keem was a paid promoter working for
   10 (not with) the Company; (2) Keem was paid in SAFEMOON Tokens and could (and
   11 did) sell those tokens immediately with no restrictions; and (3) Keem was not
   12 looking “12 months from now” at the long-term growth prospects for Safemoon but
   13 rather was planning on selling (and did) at the first opportunity.
   14               f.     On April 17, 2021, Way, speaking on behalf of the Company,
   15 stated on his personal Twitter account that he had a public wallet address for
   16 SAFEMOON Tokens, signaling to investors that Way was investing his own money
   17 into SAFEMOON Tokens.            In order to make this statement not misleading,
   18 Defendants were obligated to disclose that: (1) Way was a paid promotor working
   19 for the Company; and (2) Way was paid in SAFEMOON Tokens and could (and
   20 did) sell those tokens immediately with no restrictions.
   21               g.     On April 18, 2021, Keem, speaking on behalf of the Company,
   22 urged investors to “CHECK YOUR #SAFEMOON RIGHT NOW!” because the
   23 “price is going through the damn roof!,” cheering them on “bro we’re rich!”232
   24 Keem went on to state: “Truly believe in #SAFEMOON & not for this quick
   25 boom. I’m long. People at @safemoon are doing some much good stuff. Love the
   26 roadmap. Huge community already. Feels like the start of something huge. In a
   27 world of 100,000 new crypto coins. This one sticks out!” In order to make these
   28
        232
              https://twitter.com/KEEMSTAR/status/1383976698098507785.
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    1 statements not misleading, Defendants were obligated to disclose that: (1) Keem
    2 was a paid promotor working for the Company; and (2) Keem was paid in
    3 SAFEMOON Tokens and could (and did) sell those tokens immediately with no
    4 restrictions.
    5    449.         Indeed, far from reflecting sincere endorsements regarding the
    6 prospects of the Company or SAFEMOON Tokens, the foregoing statements
    7 reflected paid celebrity endorsements.
    8    450.         As explained above, such endorsements ‒ many of which were re-
    9 tweeted by the Company and the Executive Defendants ‒ caused the price and
   10 trading volume of SAFEMOON Tokens to increase substantially throughout March
   11 2021, April 2021, and May 2021.
   12    451.         The price of SAFEMOON Tokens, as explained above, likewise
   13 decreased as the Executive Defendants and Promoter Defendants offloaded their
   14 SAFEMOON Tokens to retail investors.
   15    452.         The Company, the Executive Defendants, and the Promoter Defendants
   16 acted with scienter in connection with the foregoing scheme.            Indeed, they
   17 necessarily knew that: (i) the Promoter Defendants received consideration for their
   18 social-media promotions of the Company and SAFEMOON Tokens; (ii) such
   19 promotions did not reflect the sincere beliefs of the Promoter Defendants; and
   20 (iii) they sold SAFEMOON Tokens in the period of and immediately following such
   21 promotions.
   22    453.         Plaintiff and the Class relied on such promotions in deciding whether
   23 to purchase SAFEMOON Tokens (including because the price of SAFEMOON
   24 Tokens incorporated such promotions), and further relied on the reasonable
   25 assumption that they were trading in an efficient market free of manipulation.
   26    454.         As a direct and proximate cause of Defendants’ conduct, Plaintiff and
   27 the Class have suffered damages in connection with their purchases of SAFEMOON
   28 Tokens.
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    1                              THIRD CAUSE OF ACTION
    2                   Unregistered Offering and Sale of Securities in
                    Violation of Sections 5 and 12(a)(1) of the Securities Act
    3                               (Against All Defendants)
    4     455.       Plaintiff restates and realleges all preceding allegations above as if fully
    5 set forth herein.
    6     456.       Plaintiff, on behalf of itself and all others similarly situated, realleges
    7 and incorporates herein by reference each and every allegation contained in the
    8 preceding paragraphs of this complaint, and further alleges as follows:
    9     457.       Defendants, and each of them, by engaging in the conduct described
   10 above, directly or indirectly, made use of means or instruments of transportation or
   11 communication in interstate commerce or of the mails, to offer to sell or to sell
   12 securities, or to carry or cause such securities to be carried through the mails or in
   13 interest commerce for the purpose of sale or for delivery after sale.
   14     458.       SAFEMOON Tokens are securities within the meaning of Section
   15 2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1).
   16     459.       Plaintiff and members of the Class purchased SAFEMOON Token
   17 securities.
   18     460.       No registration statements have been filed with the SEC or have been
   19 in effect with respect to any of the offerings alleged herein. No exemption to the
   20 registration requirement applies.
   21     461.       The U.S. Supreme Court has held that statutory sellers under §12(a)(1)
   22 also include “the buyer’s immediate seller” and any person who actively solicited
   23 the sale of the securities to plaintiff and did so for financial gain. See Pinter v. Dahl,
   24 486 U.S. 622, 644 n.21 & 647 (1988); accord, e.g., Steed Finance LDC v. Nomura
   25 Sec. Int’l, Inc., No. 00 Civ. 8058, 2001 WL 1111508, at *7 (S.D.N.Y. Sept. 20,
   26 2001). That is, §12(a)(1) liability extends to sellers who actively solicit the sale of
   27 securities with a motivation to serve their own financial interest or those of the
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    1 securities owner. Pinter, 486 U.S. at 647; Capri v. Murphy, 856 F.2d 473, 478 (2d
    2 Cir. 1988). Defendants are all statutory sellers.
    3    462.       By reason of the foregoing, each of the Defendants have violated
    4 Sections 5(a), 5(c), and 12(a) of the Securities Act, 15 U.S.C. §§77e(a), 77e(c), and
    5 771(a).
    6    463.       As a direct and proximate result of Defendants’ unregistered sale of
    7 securities, Plaintiff and the Class have suffered damages in connection with their
    8 SAFEMOON Token purchases.
    9                           FOURTH CAUSE OF ACTION
   10                    Violation of Sections 15 of the Securities Act
                             (Against the Executive Defendants)
   11
   12    464.       Plaintiff, on behalf of itself and all others similarly situated, realleges
   13 and incorporates herein by reference, each and every allegation contained in the
   14 preceding paragraphs of this Complaint, and further alleges as follows:
   15    465.       This Count is asserted against the Executive Defendants (collectively,
   16 the “Control Person Defendants”) under Section 15 of the Securities Act, 15 U.S.C.
   17 §77o.
   18    466.       The Control Person Defendants, by virtue of their offices, ownership,
   19 agency, agreements or understandings, and specific acts were, at the time of the
   20 wrongs alleged herein, and as set forth herein, controlling persons within the
   21 meaning of Section 15 of the Securities Act. The Control Person Defendants, and
   22 each of them, had the power and influence and exercised the same to cause the
   23 unlawful offer and sale of SAFEMOON Tokens securities as described herein.
   24    467.       The Control Person Defendants, separately or together, possess,
   25 directly or indirectly, the power to direct or cause the direction of the management
   26 and policies of SafeMoon, through ownership of voting securities, by contract,
   27 subscription agreement, or otherwise.
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    1    468.       The Control Person Defendants also have the power to direct or cause
    2 the direction of the management and policies of SafeMoon.
    3    469.       The Control Person Defendants, separately or together, have sufficient
    4 influence to have caused SAFEMOON Tokens and/or the Company to submit a
    5 registration statement.
    6    470.       The Control Person Defendants, separately or together, jointly
    7 participated in SafeMoon’s failure to register SAFEMOON Tokens.
    8    471.       By virtue of the conduct alleged herein, the Control Person Defendants
    9 are liable for the wrongful conduct complained of herein and are liable to Plaintiff
   10 and the Class for rescission and/or damages suffered.
   11                            FIFTH CAUSE OF ACTION
   12                   Violation of Sections 20(a) of the Exchange Act
                              (Against the Executive Defendants)
   13
   14    472.       Plaintiff, on behalf of itself and all others similarly situated, realleges
   15 and incorporates herein by reference, each and every allegation contained in the
   16 preceding paragraphs of this Complaint, and further alleges as follows:
   17    473.       This Count is asserted against the Executive Defendants (collectively,
   18 the “Control Person Defendants”) under Section 20(a) of the Exchange Act, 15
   19 U.S.C. §78t(a).
   20    474.       The Control Person Defendants, by virtue of their offices, ownership,
   21 agency, agreements or understandings, and specific acts were, at the time of the
   22 wrongs alleged herein, and as set forth herein, controlling persons within the
   23 meaning of Section 15 of the Securities Act. The Control Person Defendants, and
   24 each of them, had the power and influence and exercised the same to cause the
   25 unlawful scheme to artificially increase the price of SAFEMOON Tokens described
   26 above.
   27    475.       The Control Person Defendants, separately or together, possess,
   28 directly or indirectly, the power to direct or cause the direction of the management
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    1 and policies of SafeMoon, through ownership of voting securities, by contract,
    2 subscription agreement, or otherwise.
    3    476.        The Control Person Defendants also have the power to direct or cause
    4 the direction of the management and policies of SafeMoon.
    5    477.        The Control Person Defendants, separately or together, have sufficient
    6 influence to have caused SAFEMOON Tokens and/or the Company to engage in the
    7 fraudulent conduct described above.
    8    478.        The Control Person Defendants, separately or together, jointly
    9 participated in the Company’s fraudulent conduct described above.
   10    479.        By virtue of the conduct alleged herein, the Control Person Defendants
   11 are liable for the wrongful conduct complained of herein and are liable to Plaintiff
   12 and the Class for rescission and/or damages suffered.
   13                              SIXTH CAUSE OF ACTION
   14                                  Aiding and Abetting
                                     California Common Law
   15                             (Against Promoter Defendants)
   16    480.        Plaintiff restates and realleges all preceding allegations above as if fully
   17 set forth herein.
   18    481.        Plaintiff Vlad Iacob is a resident and citizen of the State of California.
   19    482.        Under California law, aiding and abetting requires not agreement, but
   20 simply assistance. The elements of aiding and abetting liability have cited the
   21 elements of the tort, as they are set forth in the RESTATEMENT (SECOND) OF TORTS
   22 §876, and have omitted any reference to an independent duty on the part of the aider
   23 and abettor.
   24    483.        Under California law, “[l]iability may . . . be imposed on one who aids
   25 and abets the commission of an intentional tort if the person: (a) knows the other’s
   26 conduct constitutes a breach of duty and gives substantial assistance or
   27 encouragement to the other to so act; or (b) gives substantial assistance to the other
   28 in accomplishing a tortious result and the person’s own conduct, separately
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    1 considered, constitutes a breach of duty to the third person.” Neilson v. Union Bank
    2 of Cal., N.A., 290 F. Supp. 2d 1101, 1118 (C.D. Cal. 2003) (citations omitted).
    3    484.        “Unlike a conspirator, an aider and abettor does not ‘adopt as his or her
    4 own’ the tort of the primary violator. Rather, the act of aiding and abetting is distinct
    5 from the primary violation; liability attaches because the aider and abettor behaves
    6 in a manner that enables the primary violator to commit the underlying tort.” Id.
    7    485.        The Promoter Defendants have previous knowledge and experience
    8 with making misleading promotional statements (with Defendant Mayweather
    9 having nearly an identical experience with a previous fraudulent cryptocurrency
   10 promotion), and, as such, knew or should have known that the marketing strategy
   11 employed by the Executive Defendants for the SAFEMOON Tokens was unlawful,
   12 deceitful, fraudulent, and/or violated the terms of the California, Florida, and New
   13 York state statutes described in this Complaint.
   14    486.        By promoting the SAFEMOON Tokens on their social media platforms
   15 and through their reported conduct, the Promotor Defendants provided assistance
   16 that was a substantial factor causing the SAFEMOON Token price to both surge and
   17 do so long enough to allow all Defendants to sell their SAFEMOON Tokens for
   18 huge profits at the expense of their followers and investors. Without the help of the
   19 Promoter Defendants’ activities, the Executive Defendants would have been unable
   20 to use the misleading marketing strategy devised by Haines-Davies, Arriaga, and
   21 Witriol, and Defendants would not have been able to commit the violations of
   22 California state consumer protection statutes alleged herein.
   23    487.        As a direct and proximate result of Promotor Defendants’ unlawful,
   24 unfair, and deceptive practices, Plaintiff and Class members suffered damages. The
   25 Executive Defendants’ activities with the Promoter Defendants caused Plaintiff and
   26 the Class members to purchase and/or hold the SAFEMOON Tokens when they
   27 otherwise would not have done so.
   28
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    1    488.       Plaintiff seeks to enjoin further unlawful, unfair, and/or fraudulent acts
    2 or practices by SafeMoon, to obtain monetary damages, restitution and disgorgement
    3 of all monies generated as a result of such practices, and for all other relief allowed
    4 under California law.
    5                          SEVENTH CAUSE OF ACTION
    6                                    Conversion
                                 (California Common Law)
    7             (Against the Company and Individual Defendant Karony)
    8    489.       Plaintiff restates and realleges all preceding allegations above as if fully
    9 set forth herein.
   10    490.       Plaintiff Vlad Iacob is a resident and citizen of the State of California.
   11    491.       At all relevant times, Plaintiff and the class maintained a possessory
   12 interest in the V1 SAFEMOON Tokens in their respective wallets at the time of the
   13 V1 to V2 migration in December 2021.
   14    492.       Through creating and implementing the 100% tax on V1 SAFEMOON
   15 Tokens being migrated to V2 SAFEMOON Tokens, the Company, under Karony’s
   16 leadership, targeted and restricted Plaintiff and the class from accessing all the
   17 SAFE/MOON Tokens in their respective personal wallets. In doing so, the Company
   18 and Karony assumed control over Plaintiff’s property, without authorization.
   19    493.       Plaintiff asked the Company to return and/or reimburse the V1
   20 Safemoon Tokens that were improperly seized as a part of the compulsory migration
   21 from V1 to V2.
   22    494.       To date, neither the Company nor Individual Defendant Karony has
   23 returned the confiscated V1 SAFEMOON Tokens (or the equivalent value in V2
   24 SAFEMOON Tokens or other currencies) to Plaintiff or the class.
   25    495.       Accordingly, Plaintiff seeks compensatory damages and punitive
   26 damages.
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    1                             EIGHTH CAUSE OF ACTION
    2                        Violation of the Racketeer Influenced
                          and Corrupt Organizations Act (“RICO”)
    3                               18 U.S.C. §1961, et seq.
                   (Against Executive Defendants and Promoter Defendants
    4                              Paul, Phillips, and Keem)
    5     496.       Plaintiff restates and reallege all preceding allegations above as if fully
    6 set forth herein.
    7     497.       This claim is brought on behalf of the class against Defendants for
    8 actual damages, treble damages, and equitable relief under 18 U.S.C. §1964 for
    9 violations of 18 U.S.C. §1962, et seq. Defendants are “person[s]” within the
   10 meaning of 18 U.S.C. §1961(3) who conducted the affairs of an enterprise through
   11 a pattern of racketeering activity, in violation of 18 U.S.C. §1962(c).
   12     498.       Plaintiff and the members of the class are each “persons,” as that term
   13 is defined in 18 U.S.C. §1961(3) who were injured in their business or property as a
   14 result of Defendants’ wrongful conduct.
   15         The SAFEMOON Token Enterprise
   16     499.       Under 18 U.S.C. §1961(4), a RICO “enterprise” may be an association-
   17 in-fact that, although it has no formal legal structure, has: (i) a common purpose;
   18 (ii) relationships among those associated with the enterprise; and (iii) longevity
   19 sufficient to pursue the enterprise’s purpose.
   20     500.       Defendants formed such an association-in-fact enterprise, namely, the
   21 SAFEMOON Token Enterprise that included the Executive Defendants, along with
   22 Promoter Defendants Paul, Phillips, and Keem. For the purpose of this claim, these
   23 Defendants are collectively referred to as the “RICO Defendants.”
   24     501.       The SAFEMOON Token Enterprise are ongoing and continuing
   25 business organizations consisting of “persons” within the meaning of 18 U.S.C.
   26 §1961(3) that created and maintained systematic links for a common purpose: to
   27 ensure that the RICO Defendants could sell off their SAFEMOON Token holdings
   28 to retail investors at artificially inflated prices without their fraud being detected.
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    1    502.       To accomplish this purpose, the SAFEMOON Token Enterprise
    2 periodically and systematically promoted the SAFEMOON Tokens ‒ either
    3 affirmatively or through half-truths and omissions ‒ to retail investors, including
    4 Plaintiff and the class, that the SAFEMOON Tokens had real utility (as opposed to
    5 pure speculation). The SAFEMOON Token Enterprise concealed from investors,
    6 like Plaintiff and the Class members, that the SAFEMOON Tokens were not the
    7 sound investment that the RICO Defendants claimed.            This scheme of the
    8 SAFEMOON Token Enterprise translated into increased volume and more
    9 SAFEMOON Token investors buying at artificially inflated prices (and therefore,
   10 more profits) for the RICO Defendants.
   11    503.       The persons engaged in the SAFEMOON Token Enterprise are
   12 systematically linked through contractual relationships, financial ties, and
   13 continuing coordination of activities, as spearheaded by the Executive Defendants
   14 and Promoter Defendant Phillips. There is regular communication between the
   15 RICO Defendants, in which information is shared. Typically, this communication
   16 occurred, and continues to occur, through the use of the wires and the mail in which
   17 RICO Defendants share information regarding various timing and content of
   18 promotional activities for the SAFEMOON Tokens. The RICO Defendants through
   19 their administration, funding, and execution of the scheme to misleadingly market
   20 the SAFEMOON Tokens each functioned as a continuing unit for the purposes of
   21 implementing, respectively, the SAFEMOON Token pump and dump scheme and,
   22 as set forth above, when issues arise during the scheme, the scheme’s participants
   23 agreed to take actions to hide the scheme and continue its existence.
   24    504.       At all relevant times, Executive Defendants were aware of the Promoter
   25 Defendants’ conduct, were knowing and willing participants in that conduct, and
   26 reaped profits from that conduct. Executive Defendants concealed the members of
   27 the Safemoon leadership and founding team, which allowed the unidentified co-
   28 conspirators to sell their portion of the Float without any scrutiny or complaint.
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    1 Executive Defendants represented to investors that Safemoon had staying power,
    2 long-term value, and tremendous growth potential. But they knew that the conduct
    3 of the Promotor Defendants was artificially inflating the price of the SAFEMOON
    4 Tokens. Executive Defendants also knew, but did not disclose, that both the trading
    5 volume and price action for the SAFEMOON Tokens would plummet if the
    6 promotional activities ceased. Promotor Defendants Phillips, Paul, and Keem also
    7 knew that their promotional activities artificially caused spikes in the SAFEMOON
    8 Token price and trading volume, but likewise would not disclose the fraud. By
    9 failing to disclose this information, the RICO Defendants perpetuated the
   10 SAFEMOON Token Enterprise’s scheme, and reaped substantial profits.
   11     505.       During the time that the SAFEMOON Tokens were being launched and
   12 were first publicly marketed to retail investors, the Executive Defendants were aware
   13 of the promotional activities of Phillips, Paul, and Keem, were knowing and willing
   14 participants in that conduct, and reaped profits from that conduct. The Executive
   15 Defendants knew that using misleading marketing would result in lawsuits and even
   16 criminal charges. Accordingly, the Executive Defendants concealed the identities
   17 of the Safemoon founders and insiders in order to escape detection and punishment
   18 for their participation in the SAFEMOON Token Enterprise. The RICO Defendants
   19 knew, but did not disclose, that they were promoting the SAFEMOON Tokens, then
   20 turning around and selling off their holdings as retail investors, like Plaintiff and the
   21 Class members, were buying in. The Executive Defendants knew, but did not
   22 disclose, that they were allowing the Promoter Defendants to engage in this fraud to
   23 the detriment of retail investors.
   24     506.       The RICO Defendants participated in the conduct of the SAFEMOON
   25 Token Enterprise, sharing the common purpose of inflating the price and trading
   26 volume of SAFEMOON Tokens in order to sell their respective portion of the Float
   27 for substantial profit, through a pattern of racketeering activity within the meaning
   28 of 18 U.S.C. §§1961(1) and (5), which includes multiple instances of mail fraud in
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    1 violation of 18 U.S.C. §1341, and multiple instances of wire fraud in violation of 18
    2 U.S.C. §1343.       In the SAFEMOON Token Enterprise, the RICO Defendants
    3 knowingly made material misstatements to retail investors in furtherance of the
    4 fraudulent scheme regarding:
    5                a.     the ownership interests and identities of the Safemoon founders;
    6                b.     the timing and amount of SAFEMOON Token sales made by the
    7 RICO Defendants; and
    8                c.     the RICO Defendants’ intent to sell their SAFEMOON Tokens
    9 after artificially inflating the price.
   10    507.        The Executive Defendants alone could not have accomplished the
   11 purpose of the SAFEMOON Token Enterprise without the assistance of the
   12 Promoter Defendants. For the Executive Defendants to profit from the scheme, the
   13 Promoter Defendants needed to use their influence to mislead investors into buying
   14 the SAFEMOON Tokens. And the Promoter Defendants did so. They then, through
   15 misrepresentations and failures to disclose material information, failed to disclose to
   16 investors that the Promoter Defendants were simultaneously selling their
   17 SAFEMOON Tokens at inflated prices. Without these misrepresentations, the
   18 SAFEMOON Token Enterprise could not have achieved its common purpose.
   19    508.        The SAFEMOON Token Enterprise engaged in and affected interstate
   20 commerce because, inter alia, it created the SAFEMOON Tokens that were paid for
   21 by thousands of Class members throughout the United States.
   22    509.        The foregoing evidence that the RICO Defendants were each willing
   23 participants in the SAFEMOON Token Enterprise, that the SAFEMOON Token
   24 Enterprise had a common purpose and interest in the objective of the scheme, and
   25 functioned within a structure designed to effectuate the Enterprise’s purpose, i.e.,
   26 through the Executives’ creation of the SAFEMOON Tokens, coupled with the
   27 Promoter Defendants’ misleading promotion of the SAFEMOON Tokens.
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    1    510.       During the Relevant Period, the RICO Defendants exerted control over
    2 the SAFEMOON Token Enterprise and participated in the operation or management
    3 of the affairs of the SAFEMOON Token Enterprise, directly or indirectly, in the
    4 following ways:
    5               a.     The RICO Defendants concealed the identities of the leadership
    6 team behind Safemoon and the individuals that own/controlled key SAFEMOON
    7 Token wallet addresses in order to get away with improperly promoting the
    8 SAFEMOON Tokens to investors;
    9               b.     The RICO Defendants concealed that they were causing the
   10 SAFEMOON Token price to artificially inflate in order to allow themselves to sell
   11 off their respective SAFEMOON Token holdings at that inflated price; and
   12               c.     The Executive Defendants expected and intended that the
   13 Promoter Defendants Paul, Phillips, and Keem would (and did) distribute through
   14 the U.S. Mail and interstate wire facilities, communications that failed to disclose
   15 that the RICO Defendants were pumping up price and trading volume of
   16 SAFEMOON Tokens artificially.
   17    511.       The scheme had a hierarchical decision-making structure that was
   18 headed by the Executive Defendants.           They controlled the minting of the
   19 SAFEMOON Tokens and directed Promotor Defendants Paul, Phillips, and Keem
   20 to misleadingly promote the SAFEMOON Tokens to their social media audiences.
   21    512.       The scheme devised and implemented by the RICO Defendants, as well
   22 as other members of the SAFEMOON Token Enterprise, amounted to a common
   23 course of conduct intended to (a) allow the RICO Defendants to artificially inflate
   24 the price of and trading volume for the SAFEMOON Tokens; and (b) sell their
   25 respective portion of the Float for a profit at the expense of Plaintiff and the Class
   26 members.
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    1         RICO Defendants’ Pattern of Racketeering Activity
    2    513.       The RICO Defendants conducted and participated in the conduct of the
    3 affairs of the SAFEMOON Token Enterprise through a pattern of racketeering
    4 activity, including acts that are indictable under 18 U.S.C. §1341, relating to mail
    5 fraud, and 18 U.S.C. §1343, relating to wire fraud. The pattern of racketeering
    6 activity by the SAFEMOON Token Enterprise likely involved thousands of separate
    7 instances of use of the U.S. Mail or interstate wire facilities in furtherance of the
    8 unlawful HSP pricing scheme. Each of these fraudulent mailings and interstate wire
    9 transmissions constitutes “racketeering activity” within the meaning of 18 U.S.C.
   10 §1961(1)(B). Collectively, these violations constitute a “pattern of racketeering
   11 activity,” within the meaning of 18 U.S.C. §1961(5), through which the RICO
   12 Defendants intended to defraud Plaintiff, members of the class, and other intended
   13 victims.
   14    514.       Each instance of racketeering activity alleged herein was related, had
   15 similar purposes, involved the same or similar participants and methods of
   16 commission, and had similar results affecting similar victims, including Plaintiff and
   17 members of the class. The RICO Defendants calculated and intentionally crafted
   18 the SAFEMOON Token Enterprise to ensure their own profits remained high,
   19 without regard to the effect such behavior had on Plaintiff and members of the class
   20 who would were buying the SAFEMOON Tokens at artificially inflated prices.
   21    515.       By intentionally and artificially inflating the SAFEMOON Token
   22 prices, and then subsequently failing to disclose such practices to the investors, the
   23 RICO Defendants engaged in a fraudulent and unlawful course of conduct
   24 constituting a pattern of racketeering activity.
   25    516.       The pattern of racketeering activity alleged herein was continuing until
   26 June 27, 2021.
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    1         The RICO Defendants’ Use of the U.S. Mail and Interstate Wire
              Facilities
    2
    3     517.       The SAFEMOON Token Enterprise engaged in and affected interstate
    4 commerce because it transmitted and published false and misleading information
    5 concerning the growth potential for Safemoon across state lines.
    6     518.       During the Class Period, the SAFEMOON Token Enterprise’s unlawful
    7 conduct and wrongful practices were carried out by an array of employees, working
    8 across state boundaries, who necessarily relied upon frequent transfers of
    9 documents, communications, information, products, and funds by the U.S. Mail and
   10 interstate wire facilities.
   11     519.       The nature and pervasiveness of the fraudulent token promotion
   12 scheme, which was orchestrated by Executive Defendants, necessarily required
   13 those headquarters to communicate directly and frequently by U.S. Mail and
   14 interstate wire facilities.
   15     520.       Many of the precise dates of the SAFEMOON Token Enterprise’s uses
   16 of the U.S. Mail and interstate wire facilities (and corresponding RICO predicate
   17 acts of mail and wire fraud) have been hidden and cannot be alleged without access
   18 to the Executive Defendants’ or Promoter Defendants Paul, Phillips, and Keem.
   19 Indeed, an essential part of the successful operation of the Enterprise alleged herein
   20 depended upon secrecy. However, Plaintiff can generally describe the occasions on
   21 which the RICO predicate acts of mail fraud and wire fraud occurred, and how those
   22 acts were in furtherance of the scheme; Plaintiff describes this below.
   23     521.       The RICO Defendants’ use of the U.S. Mail and interstate wire facilities
   24 to perpetrate the fraudulent promotion scheme involved thousands of
   25 communications throughout the class period including, inter alia:
   26                a.    Communications on official Safemoon accounts on various
   27 social media platforms, including, but not limited to: Twitter, Reddit, Telegram, and
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    1 Discord to investors, which occurred on a regular basis as investors like Plaintiff and
    2 Class members purchased SAFEMOON Tokens;
    3               b.     Written representations and telephone calls between the
    4 Executive Defendants and Promotor Defendants Paul, Phillips, and Keem regarding
    5 the promotion of SAFEMOON Tokens and the financial benefits to the RICO
    6 Defendants for doing so;
    7               c.     Written representations and telephone calls between any of the
    8 RICO Defendants and Promoter Defendants Portnoy, Way, and McCollum
    9 regarding the promotion of SAFEMOON Tokens and the financial benefits to the
   10 RICO Defendants for doing so;
   11               d.     Written representations and telephone calls between the RICO
   12 Defendants and the moderators of the Safemoon social media accounts regarding the
   13 promotion of SAFEMOON Tokens and the financial benefits to the RICO
   14 Defendants for doing so;
   15               e.     Emails between the Executive Defendants and Promotor
   16 Defendants Paul, Phillips, and Keem agreeing to or effectuating the implementation
   17 of the SAFEMOON Token fraud scheme;
   18               f.     Written and oral communications directed to retail investors that
   19 fraudulently misrepresented the growth potential for the SAFEMOON Tokens that
   20 were designed to conceal the scheme and deter investigations into the SAFEMOON
   21 Token Enterprise; and
   22               g.     Receipts of increased profits sent through the U.S. Mail and
   23 interstate wire facilities ‒ the wrongful proceeds of the scheme.
   24    522.       In addition to the above-referenced RICO predicate acts, it was
   25 foreseeable to the Executive Defendants that Promoter Defendants Paul, Phillips,
   26 and Keem would distribute publications through the U.S. Mail and by interstate wire
   27 facilities, and in those publications, conceal that the SAFEMOON Token price was
   28 fraudulently inflated.
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    1         Motive and Common Purpose
    2    523.       The RICO Defendants’ motive and purpose in creating and conducting
    3 the scheme and the Enterprise(s) was to increase the price and trading volume for
    4 the SAFEMOON Tokens so that they could sell off their portion of the Float for
    5 grossly inflated prices. Each person joined in that common purpose because each
    6 person made more money the higher the SAFEMOON Token price rose and, as
    7 trading volume increased, the RICO Defendants would be able to sell off in the
    8 increased liquidity.
    9         Damages Caused by the RICO Defendants Marketing Fraud
   10    524.       The RICO Defendants violations of federal law and its pattern of
   11 racketeering activity have directly and proximately caused Plaintiff and Class
   12 members to be financially injured as a result of purchasing the SAFEMOON Tokens.
   13    525.       As described above, when the RICO Defendants executed the
   14 SAFEMOON Token promotional scheme, the result was an artificial increase in both
   15 price and trading volume. When the SAFEMOON Token price and trading volume
   16 is artificially inflated, investors like Plaintiff and the class overpay due to a
   17 fraudulent price.
   18    526.       Plaintiff’s injuries, and those of the Class members, were proximately
   19 caused by the RICO Defendants’ racketeering activity. But for the misleading
   20 statements and omissions made by the RICO Defendants, Plaintiff and others
   21 similarly situated would have paid less for the SAFEMOON Tokens.
   22    527.       Plaintiff’s injuries were directly caused by the RICO Defendants’
   23 racketeering activity. The RICO Defendants’ racketeering activity inflated the
   24 SAFEMOON Token price, which was ultimately paid for by Plaintiff and the other
   25 class members.
   26    528.       Plaintiff and those similarly situated were most directly harmed by the
   27 fraud, and there is no other Plaintiff or class of plaintiffs better situated to seek a
   28
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    1 remedy for the economic harms to consumers from the RICO Defendants’ fraudulent
    2 scheme.
    3    529.       By virtue of these violations of 18 U.S.C. §1962(c), the RICO
    4 Defendants are liable to Plaintiff for three times the damages they have sustained,
    5 plus the cost of this suit, including reasonable attorneys’ fees.
    6                             NINTH CAUSE OF ACTION
    7                               Common Law Conspiracy
                                    (Against All Defendants)
    8
    9    530.       Plaintiff restates and realleges all preceding allegations above as if fully
   10 set forth herein.
   11    531.       Beginning in March 2021, and continuously thereafter up to and
   12 including the date of the filing of the Complaint, the Executive Defendants did
   13 engage in the formation and operation of a conspiracy with the Promotor Defendants
   14 to misleadingly promote the SAFEMOON Tokens to retail investors in order to
   15 artificially inflate the price and trading volume so that Defendants could sell their
   16 respective SAFEMOON Tokens for substantial profits.
   17    532.       As alleged above, each Defendant acted in furtherance of the
   18 conspiracy by, among other things, concealing the identity and ownership interests
   19 of, and association with, the Safemoon leadership team; falsely promoting the
   20 SAFEMOON Tokens as sound investments with significant growth potential; and
   21 making misleading statements about the Defendants holding their SAFEMOON
   22 Tokens along with the retail investors who bought, while, in truth, the Defendants
   23 were selling their SAFEMOON Tokens for substantial profits.
   24    533.       As a proximate result of said conspiracy, as described in the foregoing
   25 paragraphs, Plaintiff suffered, continues to suffer, and will suffer in the future, the
   26 damages alleged herein.
   27    534.       For Defendants’ conduct in the alleged conspiracy, Plaintiff seeks
   28 compensatory damages against all Defendants, and each of them, jointly and
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    1 severely, in an as-yet undetermined amount; punitive damages, injunctive relief
    2 enjoining Defendants from continuing to falsely and misleadingly promote the
    3 SAFEMOON Tokens; and divestiture of all money wrongfully obtained, whether
    4 directly or indirectly, as part of the alleged conspiracy
    5                            TENTH CAUSE OF ACTION
    6 Violation of Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                              Ch. 501, §211(1), Fla. Stat. Ann.
    7                            (Against All Defendants)
    8    535.       Plaintiff restates and realleges all preceding allegations above as if fully
    9 set forth herein.
   10    536.       Plaintiff Combs is a resident of the State of Florida.
   11    537.       Chapter 501, Fla. Stat., FDUTPA is to be liberally construed to protect
   12 the consuming public, such as Plaintiff in this case, from those who engage in unfair
   13 methods of competition, or unconscionable, deceptive, or unfair acts or practices in
   14 the conduct of any trade or commerce.
   15    538.       Plaintiff is a “consumer” within the meaning of Fla. Stat. §501.203(7).
   16    539.       By soliciting investor funds in the manner in which they did,
   17 Defendants engaged in “trade and commerce” within the meaning of Fla. Stat.
   18 §501.203(8).
   19    540.       While FDUTPA does not define “deceptive” and “unfair,” it
   20 incorporates by reference the Federal Trade Commission's interpretations of these
   21 terms. The FTC has found that a “deceptive act or practice” encompasses “a
   22 representation, omission or practice that is likely to mislead the consumer acting
   23 reasonably in the circumstances, to the consumer’s detriment.”
   24    541.       The federal courts have defined a “deceptive trade practice” as any act
   25 or practice that has the tendency or capacity to deceive consumers and have defined
   26 an “unfair trade practice” as any act or practice that offends public policy and is
   27 immoral, unethical, oppressive, unscrupulous, or substantially injurious to
   28 consumers.
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    1    542.       Defendants engaged in business acts and practices deemed “deceptive”
    2 because of the conduct, statements, and omissions described above, including, but
    3 not limited to, the following:
    4               (a)   knowingly      and   intentionally   concealing   the   Executive
    5 Defendants’ specific roles and ownership interests in Safemoon; and
    6               (b)   knowingly and intentionally using and/or failing to disclose the
    7 use of the Promotor Defendants to “instill trust” in uninformed investors to promote
    8 the financial benefits of a highly speculative and risky investment in SAFEMOON
    9 Tokens, in an effort to manipulate and artificially inflate the price and trading
   10 volume of the SAFEMOON Tokens and allow Defendants to sell their SAFEMOON
   11 Tokens at those inflated prices.
   12               (c)   knowingly and intentionally using and/or failing to disclose that
   13 the V1 to V2 Migration would likely result in the total loss of the investors’
   14 SAFEMOON Tokens via the V1 to V2 migration scheme.
   15               (d)   knowingly and intentionally using and/or failing to disclose that
   16 the Company was not using a mechanism to lock funds in the liquidity pools as
   17 promised but instead created a backdoor by which the Company or the Executive
   18 Defendants could access those funds.
   19    543.       These acts and omissions constitute both deceptive and unfair trade
   20 practices because the false representations and omissions made by Defendants have
   21 a tendency or capacity to deceive consumers, such as Plaintiff, into investing in the
   22 SAFEMOON Tokens to their collective financial detriment. Such conduct is
   23 immoral, unethical, oppressive, unscrupulous, or substantially injurious to
   24 consumers.
   25    544.       As a result of Defendants’ deceptive trade practices, Plaintiff was
   26 deceived into retaining functionally worthless cryptocurrencies and/or investing
   27 their cryptocurrency and/or fiat currency with a company that functioned solely as
   28 an engine of fraud – thus causing significant economic damage to Plaintiff.
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    1     545.       The materially false statements and omissions as described above, and
    2 the fact that this was a misleading investment, were unfair, unconscionable, and
    3 deceptive practices perpetrated on Plaintiff which would have likely deceived a
    4 reasonable person under the circumstances.
    5     546.       Defendants were on notice at all relevant times that the false
    6 representations of material facts described above were being communicated to
    7 prospective investors (such as Plaintiff) by their authorized agents.
    8     547.       As a result of the false representations and violations of the laws
    9 described above, Plaintiff has been damaged by, among other things losing the true
   10 value of their invested cryptocurrency.
   11     548.       Plaintiff has also been damaged in other and further ways subject to
   12 proof at trial.
   13     549.       Therefore, Defendants engaged in unfair and deceptive trade practices
   14 in violation of Florida Statute Section 501.201, et seq.
   15     550.       Plaintiff seeks to enjoin further unlawful, unfair, and/or fraudulent acts
   16 or practices by Defendants, to obtain restitution and disgorgement of all monies
   17 generated as a result of such practices, and for all other relief allowed under Florida
   18 law.
   19     551.       Pursuant to Florida Statute Sections 501.211(1) and 501.2105, Plaintiff
   20 is entitled to recover from Defendants the reasonable amount of attorneys’ fees
   21 Plaintiff has had to incur in representing their interests in this matter.
   22
                                ELEVENTH CAUSE OF ACTION
   23
                                   Unjust Enrichment/Restitution
   24                       (California Common Law, in the Alternative)
                                      (Against All Defendants)
   25
          552.       Plaintiff restates and realleges all preceding allegations above as if fully
   26
        set forth herein.
   27
          553.       Plaintiff Vlad Iacob is a resident and citizen of the State of California.
   28
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    1    554.       Plaintiff and members of the Class conferred a monetary benefit on
    2 Defendants by raising the price and trading volume of the SAFEMOON Tokens,
    3 which allowed Defendants to sell their SAFEMOON Tokens to Plaintiff and Class
    4 members at inappropriately and artificially inflated prices.
    5    555.       Defendants received a financial benefit from the sale of their
    6 SAFEMOON Tokens at inflated prices and are in possession of this monetary value
    7 that was intended to be used for the benefit of, and rightfully belongs to, Plaintiff
    8 and members of the Class.
    9    556.       Plaintiff seeks restitution in the form of the monetary value of the
   10 difference between the purchase price of the SAFEMOON Tokens and the price
   11 those SAFEMOON Tokens sold for.
   12                                PRAYER FOR RELIEF
   13         WHEREFORE, Plaintiff, individually, and on behalf of all others similarly
   14 situated, respectfully requests that this Court:
   15         A.    Determine that the claims alleged herein may be maintained as a class
   16 action under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
   17 certifying one or more of the Classes defined above;
   18         B.    Appoint Plaintiff as a representative of the Class and Lead Counsel as
   19 Class counsel;
   20         C.    Declare that the Company and Executive Defendants offered and sold
   21 unregistered securities in violation of Sections 5(a), 12(a), and 15 of the Securities
   22 Act;
   23         D.    Declare that Defendants made fraudulent misstatements and omission
   24 with scienter in violation of Section 10b of the Securities Exchange Act;
   25         E.    Award all actual, general, special, incidental, statutory, rescission,
   26 punitive, and consequential damages and restitution to which Plaintiff and the Class
   27 members are entitled;
   28         F.    Award post-judgment interest on such monetary relief;
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    1         G.    Grant appropriate injunctive and/or declaratory relief;
    2         H.    Award reasonable attorneys’ fees and costs; and
    3         I.    Grant such further relief that this Court deems appropriate.
    4                                    JURY DEMAND
    5         Plaintiff, individually, and on behalf of the putative Class, demands a trial by
    6 jury on all issues so triable.
    7 DATED: June 28, 2022              SCOTT+SCOTT ATTORNEYS AT LAW LLP
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   23
   24                                   Additional Counsel for Plaintiffs

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    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on June 28, 2022, I electronically filed the foregoing with
    3 the Clerk using CM / ECF, which will send notification via electronic means to all
    4 counsel of record.
    5 DATED: June 28, 2022                    SCOTT+SCOTT ATTORNEYS AT
                                              LAW LLP
    6
                                              s/ John T. Jasnoch
    7                                         John T. Jasnoch
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